        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 1 of 33



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                 v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant




  UNITED STATES’ SUPPLEMENTAL MEMORANDUM IN AID OF SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully submits its Supplemental Memorandum in Aid of

Sentencing for defendant Michael T. Flynn. In its initial sentencing memorandum, the

government recommended that the defendant receive a sentence at the low end of the Guidelines

range. See Government’s Memorandum in Aid of Sentencing, United States v. Flynn, No. 17-cr-

232 (D.D.C. Dec. 4, 2018) (Doc. 46) (“Gov’t Sent’g Mem.”). At that time, the government

represented that the defendant had accepted responsibility, and it filed a motion for a downward

departure pursuant to Section 5K1.1 of the United States Sentencing Guidelines (“U.S.S.G.” or

“Guidelines”).

       At the initial sentencing hearing in December 2018, the Court raised concerns about

proceeding to sentencing without “fully understanding the true extent and nature” of the

defendant’s assistance. Hearing Transcript at 31, United States v. Flynn, No. 17-cr-232 (D.D.C.

Dec. 18, 2018) (“12/18/2018 Hearing Tr.”). Upon a motion of the defendant predicated on a

desire to “complete his cooperation” in the case of United States v. Bijan Rafiekian, No. 18-cr-

457, in the U.S. District Court for the Eastern District of Virginia (“EDVA”), the Court

continued his sentencing. 12/18/2018 Hearing Tr. at 46-47.
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 2 of 33



       The defendant is now scheduled to be sentenced almost exactly three years from the date

of his primary criminal conduct – lying to the FBI – and the intervening years have included

periods where the defendant has sought to assist and aid the government, and periods where the

defendant has sought to thwart the efforts of the government to hold other individuals,

principally Bijan Rafiekian, accountable for criminal wrongdoing. Given the serious nature of

the defendant’s offense, his apparent failure to accept responsibility, his failure to complete his

cooperation in – and his affirmative efforts to undermine – the prosecution of Bijan Rafiekian,

and the need to promote respect for the law and adequately deter such criminal conduct, the

government recommends that the court sentence the defendant within the applicable Guidelines

range of 0 to 6 months of incarceration.

I.     Background

       On December 1, 2017, the defendant entered a plea of guilty to a single count of

“willfully and knowingly” making material false statements to the Federal Bureau of

Investigation (“FBI”) regarding his contacts with the Government of Russia’s Ambassador to the

United States (“Russian Ambassador”) during an interview with the FBI on January 24, 2017

(“January 24 interview”), in violation of 18 U.S.C. § 1001(a)(2). See Information, United States

v. Flynn, No. 17-cr-232 (D.D.C. Nov. 30, 2017) (Doc. 1); Statement of Offense at ¶¶ 3-4, United

States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 1, 2017) (Doc. 4) (“SOF”). In addition, at the time

of his plea, the defendant admitted making other material false statements and omissions in

multiple documents that he filed on March 7, 2017, with the Department of Justice (“DOJ”)

pursuant to the Foreign Agents Registration Act (“FARA”), which pertained to his work for the

principal benefit of the Government of Turkey. See SOF at ¶ 5. These additional material false

statements are relevant conduct that the Court can and should consider in determining where

within the Guidelines range to sentence the defendant.
                                                  2
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 3 of 33



       The defendant was initially scheduled to be sentenced by this Court on December 18,

2018, even though the defendant had not completed his cooperation. The parties sought to hold

the hearing at that time because the defendant had expressed a desire to be sentenced as soon as

possible. The government assented to his request because the sole outstanding area of

cooperation pertained to the Rafiekian case, and the defendant had already testified under oath

before a federal grand jury in that matter. The government expected that, in the event the

Rafiekian case went to trial, the defendant would testify at trial consistent with that grand jury

testimony and the Statement of Offense.

       In anticipation of that hearing, the parties filed sentencing memoranda. As part of its

submission, the government requested that the Court grant a downward departure for providing

substantial assistance to the government. The government provided a detailed accounting of the

defendant’s assistance to the government in several ongoing investigations, including the

investigation by the Special Counsel’s Office (“SCO”). See Addendum to Government’s

Memorandum in Aid of Sentencing, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 19,

2019) (Doc. 146) (“Addendum”). Notably, only the assistance he had provided in the Rafiekian

case was deemed “substantial.” Id. at 2. The government recognized that “some of that benefit

[of the defendant’s substantial assistance] may not be fully realized at this time,” but it

represented that the government and the defendant “agree that sentencing at this time is

nonetheless appropriate because sufficient information is available to allow the Court to

determine the import of the defendant’s assistance to his sentence.” Id. at 2. In addition to

asking the Court to credit the defendant with providing substantial assistance, the government

recommended that the defendant receive credit for accepting responsibility. For the reasons

detailed below, the government now withdraws both requests.



                                                  3
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 4 of 33



       The defendant was not sentenced at the December 18 hearing. The Court first engaged in

an “extension . . . of the plea colloquy.” Hearing Transcript at 5, United States v. Flynn, No. 17-

cr-232 (D.D.C. Dec. 18, 2018) (“12/18/2018 Hearing Tr.”). Based upon the defendant’s

responses, the Court found that the defendant entered his earlier guilty plea while “competent

and capable.” Id. at 16. The Court then engaged in a colloquy with the government, during

which the government represented that “based on the totality of the assistance that the defendant

had provided at that point,” it believed that a motion for a downward departure based on his

substantial assistance was warranted. Id. at 27. The government further stated that based not

only on “the assistance he provided, but the nature of the investigations . . . , that the defendant

had provided the vast majority of cooperation that could be considered,” concluding that the

Court “was in a position to consider the vast majority of not just the cooperation, but the

potential benefit of that cooperation.” Id. (emphasis added). The Court inquired whether the

defendant could have been charged as a co-defendant in the Rafiekian case, and the government

affirmed that the defendant could have been charged with various offenses in connection with his

false statements in his FARA filings, consistent with his Statement of Offense. Id. at 28.

       With respect to sentencing, the Court reminded the defendant that he could be sentenced

to a term of imprisonment, and reminded the defendant of the government’s representation that

some of the benefit of his cooperation “may not be fully realized at this time.” Id. at 30. The

Court then asked whether the defendant therefore wished to fully complete his cooperation with

the government in order to improve potentially his sentence. Id. at 30-34, 44. The defendant

noted that any remaining cooperation consisted of testifying at the Rafiekian trial, and requested

that the Court continue the sentencing hearing. Id. at 46-47.

       It is within the government’s sole discretion to determine whether the defendant has

“substantially assisted” the government. In light of the complete record, including actions
                                                  4
          Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 5 of 33



subsequent to December 18, 2018, that negate the benefits of much of the defendant’s earlier

cooperation, the government no longer deems the defendant’s assistance “substantial.”

       Based on the defendant’s conduct since the time of the December 18, 2018, sentencing

hearing, the government also does not believe the defendant should receive credit for acceptance

of responsibility. Indeed, the government has reason to believe, through representations by the

defendant’s counsel, that the defendant has retreated from his acceptance of responsibility in this

case regarding his lies to the FBI. For that reason, the government asks this Court to inquire of

the defendant as to whether he maintains those apparent statements of innocence or whether he

disavows them and fully accepts responsibility for his criminal conduct.

II.    Factual Summary of the Defendant’s Conduct Relevant to Sentencing

       The underlying facts in this case should not be in dispute. As the Court has noted, the

defendant admitted to the underlying criminal conduct “when he entered his guilty pleas in this

case.” See Memorandum Opinion at 4, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 16,

2019) (Doc. 144) (“Mem. Opinion”). At sentencing, just one year ago, the defendant reiterated

that he “d[id] not take issue” with the government’s description of that conduct. See Defendant’s

Memorandum in Aid of Sentencing at 7, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 11,

2018) (Doc. 50) (“Def. Sent’g Mem.”). In his recent filings and statements, however, the

defendant has disputed that conduct and the underlying facts. Accordingly, the government

below highlights relevant facts for purposes of sentencing. As described in the Statement of

Offense, this case is about multiple false statements that the defendant made to various DOJ

entities. The defendant’s first series of false statements occurred during an interview with the

FBI about his communications with the Russian Ambassador. The defendant also made a second

series of false statements in his FARA filings that pertain to his work for the Government of

Turkey.
                                                 5
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 6 of 33



       i.      False Statements to the FBI About Communications with the Russian Ambassador

       In July 2016, the FBI opened an investigation into the Russian government’s efforts to

interfere in the 2016 presidential election, including the nature of any links or coordination

between the Russian government and individuals associated with the campaign of then-candidate

Donald J. Trump (“FBI counterintelligence investigation”). The inquiry included examining

relationships between individuals associated with the campaign and the Russian government, as

well as identifying actions of such individuals that would have benefited the Russian

government. During the presidential election, the defendant served as a surrogate and national

security advisor for the campaign of Donald J. Trump. See SOF at ¶ 1. After the election, the

defendant became a senior member of the President-Elect’s transition team and was chosen to

become the National Security Advisor. Id.

       On December 28, 2016, then-President Barack Obama signed an executive order that

implemented a series of sanctions against Russia in response to that government’s actions to

interfere with the 2016 presidential election; concurrently, the Obama Administration expelled

35 Russian government officials and closed two Russian government-owned compounds in the

United States (collectively, “sanctions”). See SOF at ¶ 3; SPECIAL COUNSEL ROBERT S.

MUELLER III, REPORT ON THE INVESTIGATION INTO RUSSIAN INTERFERENCE IN THE 2016

PRESIDENTIAL ELECTION (Mar. 2019) (“Special Counsel Report”), Vol. I. at 168-69. The U.S.

Intelligence Community assessed that Russian President Vladimir Putin “ordered an influence

campaign in 2016 aimed at the US presidential election[,]” with a goal of “undermin[ing] public

faith in the US democratic process.” INTELLIGENCE CMTY. ASSESSMENT, “ASSESSING RUSSIAN

ACTIVITIES AND INTENTIONS IN RECENT US ELECTIONS,” at ii (Jan. 6, 2017).

       That evening, the Russian Ambassador texted the defendant, “can you kindly call me

back at your convenience.” Special Counsel Report, Vol. I. at 169. At the time, the defendant
                                                 6
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 7 of 33



was on vacation, while multiple senior officials from the transition team were with President-

Elect Trump in Palm Beach, Florida. See SOF at ¶ 3. When the sanctions were announced

publicly on December 29, 2016, the defendant texted a transition team member: “Russian

AMBO reaching out to me today.” Special Counsel Report, Vol. I. at 170. The defendant then

spoke to K.T. McFarland, the incoming Deputy National Security Advisor who was in Palm

Beach, to discuss what to communicate to the Russian Ambassador about the sanctions. That

conversation included a discussion that the transition team did not want Russia to escalate the

situation, and that the defendant would relay such a message to the Russian Ambassador. See

SOF at ¶ 3. Immediately after speaking with McFarland, the defendant spoke with the Russian

Ambassador and discussed the sanctions, among other topics. Id. With respect to the sanctions,

the defendant requested that Russia not escalate the situation and only respond in a reciprocal

manner. Id. After the conversation, the defendant reported to McFarland his discussion of

sanctions with the Russian Ambassador. Id.

       The next day, Putin released a statement that Russia would not take retaliatory measures

in response to the sanctions at that time. Id. On December 31, 2016, the Russian Ambassador

called the defendant and told him the request had been received at the highest levels and that

Russia had chosen not to retaliate to the sanctions in response to the request. See Special

Counsel Report, Vol. I. at 171. Later that day, the defendant spoke with McFarland and relayed

his conversation with the Russian Ambassador. See SOF at ¶ 3.

       In the days that followed, the Russian government’s actions to interfere in the election

remained a significant topic for the transition team and the public. On January 6, 2017, the U.S.

Intelligence Community briefed the President-Elect and members of his national security team—

including the defendant—on a joint assessment that concluded with high confidence that Russia



                                                 7
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 8 of 33



had interfered in the election. See Special Counsel Report, Vol. II. at 27. A declassified version

of the assessment was publicly released that same day.

       A few days later, on January 12, 2017, the Washington Post (“Post”) published a story

alleging that the defendant had spoken with the Russian Ambassador on December 29, 2016, the

day the sanctions were announced. See David Ignatius, Why did Obama Dawdle on Russia’s

hacking?, WASH. POST (Jan. 12, 2017). The Post story queried whether the defendant’s actions

had undercut the sanctions and violated the Logan Act. In response, the defendant had K.T.

McFarland contact the Post on January 13 and convey false information about his

communications with the Russian Ambassador. See Government’s Reply to Defendant’s

Memorandum in Aid of Sentencing at 2, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 14,

2018) (Doc. 56) (“Gov’t Reply to Def. Sent’g Mem.”).

       Over the next two weeks, the defendant repeated the same false statements about the

sanctions to multiple members of the transition team, including Vice President-Elect Michael

Pence, who repeated those false statements on national television.1 On January 23, 2017, the

White House Press Secretary recounted that he had recently spoken with the defendant, and the

defendant had again denied speaking to the Russian Ambassador about sanctions. See White

House Briefing by Sean Spicer – Full Transcript, Jan. 23, 2017, CBS NEWS (Jan. 24, 2017).

       The following day, as part of the FBI counterintelligence investigation, the FBI

interviewed the defendant about his conversations with the Russian Ambassador. During the



1
       See, e.g., Face the Nation transcript January 15, 2017: Pence, Manchin, Gingrich, CBS
NEWS (Jan. 15, 2017) (Vice President Pence recounting that defendant told him he did not
discuss sanctions with the Russian ambassador); Meet The Press 01/15/17, NBC NEWS (Jan. 15,
2017) (Priebus recounting that he had talked to the defendant and “[t]he subject matter of
sanctions or the actions taken by the Obama [sic] did not come up in the conversation [with the
Russian ambassador]”).

                                                8
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 9 of 33



interview, the defendant disclosed some communications that he had had with Russian

government officials, but omitted his communications with the Russian Ambassador about the

sanctions. See Notice (Official Record of January 24 Interview Report), United States v. Flynn,

No. 17-cr-232 (D.D.C. June 6, 2019) (Doc. 85). The defendant also omitted references to his

communications with the Russian Ambassador in December 2016 about requesting that Russia

vote against or delay a United Nations Security Council resolution. Id. The defendant’s request

was contrary to the position of the then-current administration, and was relevant to the FBI’s

investigation. When the interviewing agents attempted to refresh the defendant’s recollection

about his conversations with the Russian Ambassador about the sanctions, the defendant

continued to deny that such conversations had occurred. Id. It was material to the FBI’s

counterintelligence investigation to know the full extent of the defendant’s communications with

the Russian Ambassador, and why he lied to the FBI about those communications.

       On February 8, 2017, the defendant spoke to the Post, and again denied that he had

discussed sanctions with the Russian Ambassador. The next day, the Post reported that U.S.

officials stated that the defendant had discussed sanctions with the Russian Ambassador. See

Greg Miller, et al., National security adviser Flynn discussed sanctions with Russian

ambassador, despite denials, officials say, WASH. POST (Feb. 9, 2017). The defendant then

changed his story, and started claiming that “he couldn’t be certain that the topic [of sanctions]

never came up.” Id. Four days later, on February 13, 2017, President Trump asked for the

defendant’s resignation, and the defendant complied.

       ii.     False Statements to the DOJ About his Work for the Government of Turkey

       The defendant’s false statements to the DOJ pertain to work that he and his company, the

Flynn Intel Group (“FIG”), performed for the Government of Turkey. On July 15, 2016, a coup

d’état was attempted in Turkey. The Government of Turkey maintained that a cleric living in the
                                                 9
         Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 10 of 33



United States, Fethullah Gulen, was responsible for the failed coup. Just twelve days later, the

defendant and Rafiekian (Vice Chairman of FIG) began exchanging emails with Ekim Alptekin,

a Turkish national with connections to high-level Government of Turkey officials, about

assisting the Government of Turkey’s effort to obtain custody of Gulen. See Attachment 1

(selected trial exhibits from United States v. Bijan Rafiekian, No. 18-cr-457, 2019 WL 4647254

(E.D. Va. Sept. 24, 2019)), Ex. 8B.2 The decision to hire the defendant and his company was

based in part on the defendant’s work for and relationship with then-presidential candidate

Trump.

         The defendant, Rafiekian, and Alptekin devised a campaign pertaining to Gulen, which

they called the “Truth” campaign, with the direction, support, and authorization of the

Government of Turkey. For example, on August 8, 2016, Alptekin reported that he had just had

a “long meeting with [the Turkish] Minister of Economy upon the referral of [Turkish Minister

of Foreign Affairs Mevlut] Cavusoglu. I explained what we can offer. He agreed to discuss in

general lines at the council of ministers today and subsequently with [Turkish Prime Minister

Binali] Yildirim in more detail.” See Attachment 1, Ex. 14A. Just two days later, Alptekin

informed the defendant and Rafiekian that he had just “finished in Ankara after several meetings

today with Min of Economy and [Minister of Foreign Affairs] Cavusoglu. I have a green light to

discuss confidentiality, budget and the scope of the contract.” See Attachment 1, Ex. 16. On

September 8, 2016, Alptekin reported that he “will send the agreement // just left [Prime

Minister]’s office.” See Attachment 1, Ex. 67J. That same day, the defendant and Alptekin

signed a contract that would pay FIG $600,000 for 90 days of work. See Attachment 1, Ex. 58.



2
        Exhibits in Attachment 1 are not consecutively numbered, and are referred to by the
exhibit number used in the Rafiekian trial.

                                                10
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 11 of 33



       One of the first actions that the defendant and Rafiekian took after signing the contract

and receiving payment was attending a meeting in New York City with Turkish ministers. On

September 19, 2016, the defendant, Rafiekian, Alptekin, and two other FIG associates met with

Turkish Minister of Foreign Affairs Cavusoglu and the Turkish Minister of Energy. See In re

Grand Jury, Testimony of Michael T. Flynn (June 26, 2018) (“Grand Jury Tr.”) at 22-25

(Attachment 2); Attachment 1, Ex. 61. The conversation centered on Gulen and the Government

of Turkey’s efforts to obtain custody of Gulen. See, e.g., Attachment 1, Ex. 26B (talking points

for the meeting).

       After receiving feedback from those Turkish officials, work on the project began.3

During September and October 2016, members of the team lobbied a member of Congress, a

Congressional staffer, and a state government official about Gulen, including the prospect of

holding Congressional hearings on Gulen. See Attachment 1, Exs. 30A, 30B, 61. The team also

discussed publishing an op-ed about Gulen. During a meeting towards the end of the project, on

November 2, 2016, Alptekin expressed frustration with the team’s lack of progress. In response,

later that day, Rafiekian emailed Alptekin a draft of an op-ed that urged the United States to

extradite Gulen. See Attachment 1, Ex. 45A. In that email, Rafiekian wrote, “A promise made

is a promise kept.” Id. The next day, Rafiekian emailed the defendant that Rafiekian had asked

an editor to “review and edit my 1000 word draft to make sure it is tight before I send it out to

you.” Attachment 1, Ex. 47. Four days later, on November 8, 2016, the day of the presidential



3
        The Government of Turkey provided supervision and direction throughout the project.
For example, the defendant sent a text message on October 22, 2016, explaining that he had just
talked to Alptekin who thought FIG’s social media analysis was “worth talking to [Minister of
Foreign Affairs Cavusoglu] about as well as all the other talking points.” Attachment 1, Ex. 40.
The district judge in Refiekian ruled that this exhibit was not admissible as a coconspirator
statement, based in part on the defendant’s decision to intervene against the government, in a
legal, evidentiary argument. See infra, at 24-25.
                                                 11
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 12 of 33



election, the op-ed, credited as authored by the defendant, was published in The Hill. See

Attachment 1, Ex. 50; see also Grand Jury Tr. at 31-32. The op-ed blamed Gulen for the

attempted coup and urged the U.S. government to deny him refuge in the United States. At no

point during FIG’s lobbying efforts or in the op-ed did the defendant disclose his affiliation with

the Government of Turkey.

       Following the publication of the defendant’s op-ed, the FARA Unit of the DOJ sent the

defendant a letter requesting information in order to determine whether the defendant had an

obligation to register as an agent of a foreign government under FARA. See Attachment 1, Ex.

90. From December 2016 to March 2017, the defendant worked with attorneys from the law

firm of Covington & Burling (“Covington”) to determine whether he and his company had an

obligation to register and to draft such registration documents. On March 7, 2017, the defendant

and Rafiekian filed multiple documents with the DOJ pursuant to FARA. See Attachment 1, Ex.

56 (Registration Statement); Ex. 58 (Exhibits A and B); Ex 61 (Supplemental Statement); Ex. 64

(Short Form Registration Statement – Flynn); Ex. 65 (Short Form Registration Statement –

Rafiekian). All but one of the filings was signed by the defendant. Id.

       The FARA filings contained multiple false statements and made at least one material

omission, including:

       1.      The filings affirmatively stated that FIG did not know whether or the
               extent to which the Republic of Turkey was involved in the Turkey
               project. See Attachment 1, Ex. 58 (Registration Statement, Exhibit A).

       2.      The filings omitted that officials from the Republic of Turkey provided
               supervision and direction over the Turkey project. See, e.g., Attachment
               1, Ex. 56 (Registration Statement, Para. 7 & 8).

       3.      The filings affirmatively stated that FIG “understood the engagement to be
               focused on improving U.S. business organizations’ confidence regarding
               doing business in Turkey.” See Attachment 1, Ex. 61 (Supplemental
               Statement, Attachment).


                                                12
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 13 of 33



       4.      The filings affirmatively stated that the defendant published the op-ed “on
               his own initiative;” and it was not undertaken at the direction or control of
               a foreign principal. See Attachment 1, Ex. 61 (Supplemental Statement,
               Paragraph 13).
These false statements were described in the Statement of Offense, and at the time of his initial

guilty plea, the defendant admitted under oath that these statements were material and false. See

SOF at ¶ 5.

       The evidence and the defendant’s sworn testimony before the grand jury in the Rafiekian

case demonstrate overwhelmingly that these three affirmative statements are false, and that the

omitted statement is true. With respect to #1 and #2, the defendant’s and Rafiekian’s

communications with Alptekin show that work on the project did not begin until the Government

of Turkey approved the work and the budget. See, e.g., Attachment 1, Exs. 14A, 16, 40, 67J.

The defendant also testified before the grand jury that the project “was always on behalf of

elements within the Turkish government,” and Turkish officials were involved throughout the

project. See Grand Jury Tr. at 5-12. With respect to #3, the defendant denied before the grand

jury that the project focused on improving U.S. business organizations’ confidence regarding

doing business in Turkey. See, e.g., Grand Jury Tr. at 9 (“Q: Was any work done regarding

business opportunities and investment in Turkey? A: Not that I’m aware of.”). And with respect

to #4, the emails between the defendant, Rafiekian, and Alptekin show that the op-ed was drafted

immediately after Alptekin expressed frustration with the lack of progress on the project, and

Rafiekian indicated that the op-ed was part of his “promise” to Alptekin. See, e.g., Attachment

1, Exs. 45A, 47. The defendant likewise testified before the grand jury that Rafiekian drafted the

op-ed, that it was a deliverable for the project, and that it was necessary because FIG “needed to




                                                13
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 14 of 33



show [they] had done something because [they] really hadn’t done much by that point.” Grand

Jury Tr. at 31-32.4

III.   Sentencing Recommendation and Analysis

       The defendant’s multiple lies to various DOJ entities warrant a sentence within the

Guidelines range that is “‘sufficient, but not greater than necessary, to comply with’ the purposes

of federal sentencing, in light of the Guidelines and other § 3553(a) factors.” Freeman v. United

States, 564 U.S. 522, 529 (2011) (citing 18 U.S.C. § 3553(a)).

       “Federal sentencing law requires the district judge in every case to impose ‘a sentence

sufficient, but not greater than necessary, to comply with’ the purposes of federal sentencing, in

light of the Guidelines and other § 3553(a) factors.” Freeman, 564 U.S. at 529 (citing 18 U.S.C.

§ 3553(a)). When weighing the § 3553(a) factors as part of its calculus of an appropriate

sentence, the Court should consider not only the nature and circumstances of the offense and the

history and characteristics of the defendant, but also the applicable sentencing objectives—that

is, that the sentence: (1) reflect the seriousness of the offense; (2) promote respect for the law; (3)

provide just punishment; (4) afford adequate deterrence; (5) protect the public; and (6)

effectively provide the defendant with needed educational or vocational training and medical

care. See 18 U.S.C. §§ 3553(a)(1) and (2). Furthermore, the sentence should reflect “the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).




4
        Rafiekian was not charged in EDVA with making false statements in the FARA filings,
which is the relevant conduct as to defendant Flynn that the government highlights in this
submission, and to which the defendant admitted in the Statement of Offense. Instead, Rafiekian
was charged with being an agent of the Government of Turkey without notifying the Attorney
General, in violation of 18 U.S.C. § 951, and conspiring to do so and to violate FARA, in
violation of 18 U.S.C. § 371.
                                                  14
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 15 of 33



       In United States v. Booker, 543 U.S. 220 (2005), the Supreme Court ruled that the

Guidelines are no longer mandatory. However, “[a]s a matter of administration and to secure

nationwide consistency, the Guidelines should be the starting point and the initial benchmark”

for determining a defendant’s sentence. Gall v. United States, 552 U.S. 38, 49 (2007) (citations

omitted). The Supreme Court has “recognized that, in the ordinary case, the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough v. United States, 552 U.S. 85, 109 (2007)

(quoting Rita v. United States, 551 U.S. 338, 350 (2007)). As one member of this Court has

held, “Booker requires judges to engage in a two-step analysis to determine a reasonable

sentence.” United States v. Doe, 412 F. Supp. 2d 87, 90 (D.D.C. 2006) (Bates, J.). Accordingly,

after reviewing the Guidelines calculation, “the [court] should then consider all of the § 3553(a)

factors to determine whether they support the sentence requested by a party. In so doing, [the

court] may not presume that the Guidelines range is reasonable . . . [but] must make an

individualized assessment based on the facts presented.” Gall, 552 U.S. 38 at 49-50 (citations

omitted).

       A.      United States Sentencing Guidelines Calculation

       The government submits that under the Guidelines, the appropriate total offense level is

six, which based on the defendant’s criminal history category of I, results in a Guidelines range

of 0 to 6 months of incarceration and a fine of $1000-$9500. With respect to other relevant

Guidelines provisions, the Court should consider the defendant’s lies to the DOJ in connection

with his FARA filings as relevant conduct for the purpose of determining his sentence within the

applicable Guidelines range under U.S.S.G. §§ 1B1.3 and 1B1.4. Based on the assertions made

in recent defense filings, and absent the defendant clearly and credibly disavowing those

assertions during a colloquy with the Court at the sentencing hearing, the defendant is not
                                                15
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 16 of 33



entitled to credit under U.S.S.G. § 3E1.1(a) for accepting responsibility. Finally, the government

is no longer moving for a departure under U.S.S.G. § 5K1.1 for providing substantial assistance

to the government.

       i.      Base Offense Level

       The government agrees with the Presentence Report (“PSR”) that the appropriate

Guidelines for the criminal conduct at issue here, violating 18 U.S.C. § 1001, is U.S.S.G. §

2B1.1(a)(2), results in a base offense level of six. See PSR at ¶ 27. That conclusion also reflects

the parties’ Guidelines calculation in the plea agreement. See Plea Agreement at 2, United States

v. Flynn, No. 17-cr-232 (D.D.C. Dec. 1, 2017) (Doc. 3) (“Plea Agmt”).

       ii.     Relevant Conduct Analysis

       In fashioning its sentence, the Court must consider all relevant criminal conduct. Under

the Guidelines, “the sentencing range for a particular offense is determined on the basis of all

‘relevant conduct’ in which the defendant was engaged and not just with regard to the conduct

underlying the offense of conviction.” Witte v. United States, 515 U.S. 389, 393 (1995) (citing

U.S.S.G. § 1B1.3, “[c]onduct that is not formally charged or is not an element of the offense of

conviction may enter into the determination of the applicable guideline sentencing range.”

U.S.S.G. § 1B1.3, comment, backg’d). Section 1B1.4 of the Guidelines further provides: “[i]n

determining the sentence to impose within the Guidelines range, or whether a departure from the

Guidelines is warranted, the court may consider, without limitation, any information concerning

the background, character and conduct of the defendant, unless otherwise prohibited by law.”

U.S.S.G. § 1B1. 4 (citing 18 U.S.C. § 3661). Courts may consider such relevant conduct in

determining the sentence within the range prescribed by the base offense level. See United

States v. Dorcely, 454 F.3d 366, 276 (D.C. Cir. 2006) (upholding as reasonable the District

Court’s reliance on acquitted conduct in sentencing the defendant to 24 months in a false
                                                16
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 17 of 33



statements case); see also United States v. Pinnick, 47 F.3d 434, 438 (D.C. Cir. 1995) (citing

United States v. Wood, 924 F.2d 399, 403 (1st Cir. 1991) (the court may consider conduct related

to other offenses when selecting the specific sentence within that range)).

       Here, in determining where within the Guidelines range to sentence the defendant, the

Court should consider not just the defendant’s lies to the FBI regarding his contact with the

Russian Ambassador, but also his lies to the DOJ in his FARA filings concerning his work on

behalf of the Government of Turkey. See SOF at ¶ 5. His lies pertaining to FARA constitute

relevant conduct under Section 1B1.3(a)(1)(A) (“all acts and omissions committed, aided,

abetted, counseled, commanded, induced, procured, or willfully caused by the defendant”).

Those lies are particularly relevant here, as they demonstrate a pattern of lies to DOJ entities that,

collectively, deprived the DOJ of the ability to learn about foreign governments’ efforts to

influence the public and our government.

       The defendant’s false statements to the FBI were significant. When it interviewed the

defendant, the FBI did not know the totality of what had occurred between the defendant and the

Russians. Any effort to undermine the recently imposed sanctions, which were enacted to punish

the Russian government for interfering in the 2016 election, could have been evidence of links or

coordination between the Trump Campaign and Russia. Accordingly, determining the extent of

the defendant’s actions, why the defendant took such actions, and at whose direction he took

those actions, were critical to the FBI’s counterintelligence investigation.

       For similar reasons, the defendant’s materially false statements and omissions in his

FARA filings are relevant conduct, and should be considered by the Court in determining where

within the applicable Guidelines range to sentence the defendant.5 The purpose of FARA is to


5
       The defendant now asserts that the FARA paragraph in the Statement of Offense,
Paragraph 5, is “meaningless” because the word “willful” was not included in the Statement of
                                                 17
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 18 of 33



provide transparency on efforts by foreign entities, in particular foreign governments, to

influence the American public and our government. FARA ensures that the public and our

government know when foreign actors are behind activity intended to influence policy or

opinion, so that policymakers and the public can properly evaluate the activity. Here, the

defendant was working under the “supervision and direction” of the Government of Turkey, but

never made such disclosures. SOF ¶5. During the entirety of the defendant’s time as the

National Security Advisor and a senior advisor to the Presidential Transition Team, the public

and our government did not know about his relationship with the Government of Turkey. When

he published an op-ed seeking to remove a U.S. resident from the United States, the public was

not informed that he and his company had been paid to do so at the behest of the Government of

Turkey. Instead, he falsely represented in his FARA filings that the op-ed was written at his own


Offense when describing the defendant’s false statements to the FARA Unit. See Defendant’s
Response to the Court’s Order of July 9 and Government’s Filing of July 10 at 7, United States v.
Flynn, 17-cr-232 (D.D.C. July 11, 2019) (Doc. 98) (“Def. Resp. to Court”) (“Nowhere, however,
did [the defendant] sign or recite that he willfully allowed the filing to proceed”); SOF at ¶ 5.
The defendant’s new position on the FARA offense is contradicted by his prior statements, his
prior conduct, and the evidence. As the government noted in its reply to the defendant’s original
sentencing memo, the defendant “chose to make” those false statements after receiving an
explicit warning that providing false information was a federal offense. See Gov’t Reply to Def.
Sent’g Mem. at 5. The defendant did not object when the government represented at the
defendant’s initial sentencing hearing that the Statement of Offense represented the defendant’s
“unlawful” conduct, or that he could have been indicted in EDVA for that conduct. See
12/18/2018 Hearing Tr. at 27-28, 35. The defendant’s lack of objection at that time was not
surprising in light of the evidence. One year earlier, he told the FBI that he had seen FIG’s
FARA application prior to it being filed. See June 25, 2018, Interview of Defendant at 4
(Attachment 3). When one of the defendant’s attorneys who was helping him prepare the filings
sent the defendant an email with a draft of the FARA filings, which requested that he review the
filings, the defendant responded, “Yes, approved, this is as discussed.” July 3, 2019 Interview of
Robert Kelner at 5 (Attachment 4). Multiple Covington attorneys similarly informed the FBI
that the defendant reviewed the FARA filings. See June 21, 2018 Interview of Brian Smith at 6
(Attachment 5); June 21, 2018 Interview of Robert Kelner at 7 (Attachment 6). And when the
defendant signed five of the FARA filings, he affirmed, “under penalty of perjury,” that he “read
the information” in the filings, was “familiar with the contents thereof[,] and that such contents
are in their entirety true and accurate.” See Attachment 1, Ex. 56 p. 6; Ex. 58 pp. 2, 5; Ex 61 p.
9; Ex. 64 p. 2.
                                                18
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 19 of 33



initiative. And when individuals hired by his company lobbied federal and state officials, those

individuals never disclosed that their activity was all being done under the “supervision and

direction” of the Government of Turkey.

        Accordingly, the defendant’s false statements regarding his work for the Government of

Turkey are relevant conduct for purposes of sentencing.

        iii.    Based on the Current Record, the Defendant Has Failed to Accept Responsibility

        Based on statements made in recent defense filings, the defendant has not accepted

responsibility for his criminal conduct, and therefore is not entitled to any such credit unless he

clearly and credibly disavows those statements in a colloquy with the Court. The Guidelines

provide for a two-level reduction “[i]f the defendant clearly demonstrates acceptance of

responsibility for his offense.” U.S.S.G. § 3E1.1(a) (emphasis added). A “defendant who enters

a guilty plea is not entitled to an adjustment . . . as a matter of right.” United States v. Saani, 650

F.3d 761, 767 (D.C. Cir. 2011) (quoting U.S.S.G. § 3E1.1 cmt. n.3). The defendant bears the

burden of convincing the Court that he is entitled to a downward adjustment for acceptance of

responsibility. See United States v. McLean, 951 F.2d 1300, 1302 (D.C. Cir. 1991). The plea

agreement mirrors the Guidelines, conditioning credit for accepting responsibility on the

defendant “clearly demonstrat[ing] acceptance of responsibility, to the satisfaction of the

Government, through [the defendant’s] allocation, adherence to every provision of this

Agreement, and conduct between entry of the plea and imposition of sentence.” Plea Agmt at 2

(emphasis added). The defendant has made no such demonstration, clear or otherwise.6

        At the time of the defendant’s initial sentencing hearing on December 18, 2018, the

government supported the defendant receiving credit for accepting responsibility because the


6
       The PSR was prepared over one year ago, on November 20, 2018. On December 26,
2019, the government informed the Probation Office that due to the defendant’s recent conduct,
                                                  19
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 20 of 33



defendant appeared to have accepted responsibility for all of his criminal conduct. During the

hearing, the Court engaged in a dialogue with the defendant concerning arguments in his

sentencing memorandum that appeared to challenge the circumstances of the January 24

interview. See 12/18/2018 Hearing Tr. at 6-7. However, when questioned by the Court, the

defendant declined to challenge the circumstances of that interview. Id. at 8. When pressed by

the Court about whether he wanted to proceed with his guilty plea “[b]ecause you are guilty of

this offense,” the defendant unequivocally responded, “Yes, Your Honor.” Id. at 16. And when

the Court asked whether he was “continuing to accept responsibility for [his] false statements,”

the defendant replied, “I am, Your Honor.” Id. at 10. The defendant’s recent conduct and

statements dramatically differ from those representations to the Court, which he made under

oath.

        Six months later, in June 2019, the defendant began retracting those admissions and

denying responsibility for his criminal conduct. Far from accepting the consequences of his

unlawful actions, he has sought to blame almost every other person and entity involved in his

case, including his former counsel. Most blatantly, the defendant now professes his innocence.

See, e.g., Reply in Support of His Motion to Compel Production of Brady Material and to Hold

the Prosecutors in Contempt at 2, 6, United States v. Flynn, 17-cr-232 (D.D.C. Oct. 22, 2019)

(Doc. 129-2) (“Reply”) (“When the Director of the FBI, and a group of his close associates, plot

to set up an innocent man and create a crime . . . ;” alleging that text messages provided by the

government “go to the core of Mr. Flynn’s . . . innocence”). With respect to his false statements

to the FBI, he now asserts that he “was honest with the agents [on January 24, 2017] to the best



it did not believe the defendant was entitled to a two-level reduction for accepting responsibility
pursuant to U.S.S.G. § 3E1.1(a). As of the date of this filing, the government has not had the
opportunity to meet with the Probation Office to explain its position.
                                                 20
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 21 of 33



of his recollection at the time.” Reply at 23. Such a claim is far from accepting responsibility

for his actions. As the defendant admitted in his plea agreement and before this Court, during

the January 24 interview the defendant knew he was lying to the FBI, just as he knew he was

lying to the Vice President of the United States.

       The defendant has also chosen to reverse course and challenge the elements and

circumstances of his false statements to the FBI. See, e.g., June 6, 2019 Sidney Powell Letter to

the Attorney General (Doc. 122-2) (“Powell Letter to AG”). The defendant now claims that his

false statements were not material, see Reply at 27-28, and that the FBI conducted an “ambush-

interview” to trap him into making false statements, see Reply at 1. The Circuit Court recently

stated in United States v. Leyva, 916 F.3d 14 (D.C. Cir. 2019), cert. denied, No. 19-5796, 2019

WL 5150737 (U.S. Oct. 15, 2019), that “[i]t is not error for a district court to ‘require an

acceptance of responsibility that extended beyond the narrow elements of the offense’ to ‘all of

the circumstances’ surrounding the defendant’s offense.” Id. at 28 (citing United States v.

Taylor, 937 F.2d 676, 680-81 (D.C. Cir. 1991)). A defendant cannot “accept responsibility for

his conduct and simultaneously contest the sufficiency of the evidence that he engaged in that

conduct.” Id. at 29. Any notion of the defendant “clearly” accepted responsibility is further

undermined by the defendant’s efforts over the last four months to have the Court dismiss the

case. See Reply at 32.7




7
        Even where defendants have asserted a defense of entrapment, it is permissible for a
court to bar a defendant from receiving an acceptance of responsibility reduction. See United
States v. Layeni, 90 F.3d 514, 524 (D.C. Cir. 1996) (no error where court used entrapment
arguments to find a defendant had not accepted responsibility); United States v. Hoenscheidt, 7
F.3d 1528, 1532 (10th Cir. 1993) (no error where sentencing court acknowledged entrapment
defense does not necessarily bar Section 3E1.1 reduction and “used his entrapment arguments to
find [he] had not accepted responsibility”).

                                                 21
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 22 of 33



       iv.     The Defendant Has Not Substantially Assisted the Government

       At the time of his initial sentencing on December 18, 2018, the government represented

to the Court that the defendant had provided substantial assistance. As described in the

Addendum to its original sentencing memorandum, at that time the government represented that

the defendant had assisted in three investigations, but only deemed his assistance in the Rafiekian

case as “substantial.” See Addendum at 2. In reference to the Rafiekian case, the government

informed the Court that “the defendant’s cooperation and assistance have been critical to [the

government’s] investigation;” that the defendant had interviewed multiple times with the

prosecutors, “testified before the Grand Jury in EDVA, and provided materials that substantially

aided its investigation;” and that the defendant’s assistance had “cemented” the prosecutors’

decision to charge Rafiekian and Alptekin. Id. at 2-3.

        In reference to the SCO’s investigation, the government stated that the defendant had

assisted the SCO’s investigation on “a range of issues,” through the course of 19 interviews, and

it provided three examples of such assistance. Id. at 3-5. The government also highlighted the

timeliness of the defendant’s assistance, stating: “The usefulness of the defendant’s assistance is

connected to its timeliness. The defendant began providing information to the government not

long after the government first sought his cooperation. His early cooperation was particularly

valuable because he was one of the few people with long-term and firsthand insight regarding

events and issues under investigation by the SCO. Additionally, the defendant’s decision to

plead guilty and cooperate likely affected the decisions of related firsthand witnesses to be

forthcoming with the SCO and cooperate.” Id. at 5.

       Although the government noted that “some of th[e] benefit” of the defendant’s assistance

“may not be fully realized at th[at] time,” it proceeded to sentencing because it believed the

defendant’s anticipated testimony in the Rafiekian case had been secured through his grand jury
                                                22
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 23 of 33



testimony and the Statement of Offense.8 The Court, however, expressed that “courts are

reluctant to proceed to sentencing unless and until cooperation has been completed . . . [b]ecause

the Court wants to be in a position to fully evaluate someone’s efforts to assist the government.”

12/18/2018 Hearing Tr. at 26. The Court’s concern that the parties had prematurely proceeded to

sentencing was prescient.

       The defendant retained new counsel in June 2019. Less than three weeks before the

Rafiekian trial, as prosecutors were in the process of preparing for the defendant’s testimony, his

new counsel proffered a new version of events surrounding the FARA filings. That version of

events was, in the view of the Rafiekian prosecutors, among other things, contradicted by the

defendant’s sworn grand jury testimony, statements he had made to the FBI in several

interviews, and the testimony of other expected trial witnesses. In light of that view, the

Rafiekian prosecutors made a rational, strategic decision not to call the defendant as a witness,

and promptly disclosed the proffered new version of events to Rafiekian’s counsel.9

       The most serious charge against Bijan Rafiekian was acting as an agent of a foreign

government without notifying the Attorney General, in violation of 18 U.S.C. § 951. The

contested issue at trial with respect to that charge was whether Rafiekian knew that the

Government of Turkey was exercising direction and control over the Turkey project. The

defendant’s anticipated testimony at trial would have provided the best and most direct evidence


8
      While the defendant provided information that was “useful” to the SCO investigation,
Addendum at 4, his assistance in that investigation was never “substantial.”
9
       Rafiekian’s counsel characterized the “new Flynn version of events” as “an unbelievable
explanation, intended to make Flynn look less culpable than his signed December 1, 2017
Statement of Offense and consistent with his position at his sentencing hearing. In short, Flynn
wants to benefit off his plea agreement without actually being guilty of anything.” See
Defendant’s Memorandum Regarding Correction at 5, United States v. Bijan Rafiekian, No. 18-
cr-457 (E.D. Va. July 5, 2019) (Doc. 262).

                                                 23
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 24 of 33



of that allegation, to include that his knowledge of the Government of Turkey’s role came from

what Rafiekian told him. See Grand Jury Tr. at 5, 6, 12-13.10

       Once the Rafikeian prosecutors made the rational, strategic determination not to call the

defendant as a witness, the government moved to designate the defendant as a coconspirator in

order to admit an exhibit as a statement of a coconspirator pursuant to FED. R. EVIDENCE

801(d)(2)(E). See Notice of Correction to the Record at 2, United States v. Bijan Rafiekian, No.

18-cr-457 (E.D. Va. July 3, 2019) (Doc. 261); see also Hearing Transcript at 23-25, United

States v. Bijan Rafiekian, No. 18-cr-457 (E.D. Va. July 12, 2019) (Doc. 309). This designation

would have permitted the introduction at the Rafiekian trial of a single email, Exhibit 40,

discussed supra at 11, authored by the defendant, which would have provided some evidence of

the direction and control exercised over the project by the Government of Turkey.11

Remarkably, the defendant, through his counsel, then affirmatively intervened in the Rafiekian

case and filed a memorandum opposing the government’s theory of admissibility on the grounds

that the defendant was not charged or alleged as a coconspirator. See Flynn Memorandum

Opposing Designation, United States v. Bijan Rafiekian, No. 18-cr-457 (E.D. Va July 8, 2019)

(Doc. 270). This action was wholly inconsistent with the defendant assisting (let alone




10
        The import of such testimony is evidenced by the district judge’s decision to overturn the
guilty verdict in the case, which was based in part on his finding that there was “no substantial
evidence that Rafiekian agreed to operate subject to the direction or control of the Turkish
government.” United States v. Rafiekian, No. 18-cr-457, 2019 WL 4647254, at *12 (E.D. Va.
Sept. 24, 2019). The district judge’s decision to overturn the verdict is currently on appeal to the
Fourth Circuit. United States v. Rafekian, No. 19-4803 (4th Cir. Oct. 31, 2019).
11
       Because the Court found that there was insufficient evidence that Rafiekian was, himself,
a member of a conspiracy, this document was entered into evidence only to show that it had been
received by Rafiekian, not for its truth.

                                                 24
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 25 of 33



substantially assisting) or cooperating with the government in that case.12 Accordingly, while the

defendant initially helped the prosecutors in EDVA bring the Rafiekian case, he ultimately

hindered their prosecution of it.

       The Guidelines provide for a downward departure, upon “motion of the government,” if

the “defendant has provided substantial assistance in the investigation or prosecution of another

person who has committed an offense.” U.S.S.G. § 5K1.1. As the Guidelines make clear, the

discretion to seek such a departure rests with the government. The plea agreement is explicit on

that point, stating that the “[g]overnment determines” whether the defendant “has provided such

substantial assistance” to merit a departure, and that such a determination “is within the sole

discretion of the Government and not reviewable by the Court.” Plea Agmt at 9 (emphasis




12
        Any claim by the defendant that the Rafiekian prosecution was aided by his agreement to
waive the attorney-client privilege and the attorney work-product doctrine regarding his
attorneys’ preparation and filing of the FARA documents would be unfounded. The defendant
explicitly did not waive any privileges or protections with respect to the preparation and filing of
the FARA documents. No waiver occurred because the government (and the defendant’s
attorneys) did not believe a waiver for such information was necessary—information provided to
a lawyer for the purposes of a public filing is not privileged. The district judge in Rafiekian
agreed with that conclusion, and permitted the defendant’s attorneys to testify about what the
defendant and Rafiekian told them because those statements were not privileged or protected as
opinion work product. See United States v. Rafiekian, No. 18-cr-457, 2019 WL 3021769, at *2,
17-19 (E.D. Va. July 9, 2019).

                                                 25
         Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 26 of 33



added).13 Here, in the sole exercise of its discretion, the government withdraws its prior motion

for a downward departure pursuant to Section 5K1.1.14

         B. Analysis of Factors Enunciated in 18 U.S.C. § 3553(a)

         The factors enunciated in Section 3553(a) all favor the imposition of a sentence within

the Guidelines range. The defendant’s offense is serious, his characteristics and history present

aggravating circumstances, and a sentence reflecting those factors is necessary to deter future

criminal conduct. Similarly situated defendants have received terms of imprisonment.

         i.     Nature and Circumstances of the Offense

         Public office is a public trust. The defendant made multiple, material and false

statements and omissions, to several DOJ entities, while serving as the President’s National

Security Advisor and a senior member of the Presidential Transition Team. As the government

represented to the Court at the initial sentencing hearing, the defendant’s offense was serious.

See Gov’t Sent’g Mem. at 2; 12/18/2018 Hearing Tr. at 32 (the Court explaining that “[t]his

crime is very serious”).

         The integrity of our criminal justice depends on witnesses telling the truth. That is

precisely why providing false statements to the government is a crime. As the Supreme Court has

noted:


13
        The government does not believe it is prudent or necessary to relitigate before this Court
every factual dispute between the defendant and the Rafiekian prosecutors. The above
explanation of the decision not to call the defendant as a witness in the Rafiekian trial is provided
as background for the Court to understand the basis for the government’s decision to exercise its
discretion to determine that the defendant has not provided substantial assistance to the
government. The government is not asking this Court to make factual determinations concerning
the defendant’s interactions with the Rafiekian prosecutors, other than the undisputed fact that
the defendant affirmatively litigated against the admission of evidence by the government in that
case.
14
      The government notes its decision to withdraw its motion for substantial assistance has
no impact on the applicable Guidelines range, which will remain 0 to 6 months of incarceration.
                                                  26
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 27 of 33



       In this constitutional process of securing a witness’ testimony, perjury simply has
       no place whatsoever. Perjured testimony is an obvious and flagrant affront to the
       basic concepts of judicial proceedings. Effective restraints against this type of
       egregious offense are therefore imperative. The power of subpoena, broad as it is,
       and the power of contempt for refusing to answer, drastic as that is -- and even the
       solemnity of the oath -- cannot insure truthful answers. Hence, Congress has made
       the giving of false answers a criminal act punishable by severe penalties; in no other
       way can criminal conduct be flushed into the open where the law can deal with it.

United States v. Mandujano, 425 U.S. 564, 576 (1975); see also Nix v. Whiteside, 457 U.S. 157,

185 (1986) (“[t]his Court long ago noted: ‘All perjured relevant testimony is at war with justice,

since it may produce a judgment not resting on truth.’”) (quoting In re Michael, 326 U.S. 224, 227

(1945)). All persons carry that solemn obligation to tell the truth, especially to the FBI.

       The defendant’s repeated failure to fulfill his obligation to tell the truth merits a sentence

within the applicable Guidelines range. As the Court has already found, his false statements to

the FBI were material, regardless of the FBI’s knowledge of the substance of any of his

conversations with the Russian Ambassador. See Mem. Opinion at 51-52. The topic of

sanctions went to the heart of the FBI’s counterintelligence investigation. Any effort to

undermine those sanctions could have been evidence of links or coordination between the Trump

Campaign and Russia. For similar reasons, the defendant’s false statements in his FARA filings

were serious. His false statements and omissions deprived the public and the Trump

Administration of the opportunity to learn about the Government of Turkey’s covert efforts to

influence policy and opinion, including its efforts to remove a person legally residing in the

United States.

       The defendant’s conduct was more than just a series of lies; it was an abuse of trust.

During the defendant’s pattern of criminal conduct, he was the National Security Advisor to the

President of the United States, the former Director of the Defense Intelligence Agency, and a

retired U.S. Army Lieutenant General. He held a security clearance with access to the


                                                 27
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 28 of 33



government’s most sensitive information. The only reason the Russian Ambassador contacted

the defendant about the sanctions is because the defendant was the incoming National Security

Advisor, and thus would soon wield influence and control over the United States’ foreign policy.

That is the same reason the defendant’s fledgling company was paid over $500,000 to work on

issues for Turkey. The defendant monetized his power and influence over our government, and

lied to mask it. When the FBI and DOJ needed information that only the defendant could

provide, because of that power and influence, he denied them that information. And so an

official tasked with protecting our national security, instead compromised it.

       ii.     History and Characteristics of the Offender

       The defendant’s extensive military record, as described in his prior sentencing

submission, presents a clear factor in mitigation. See Def. Sent’g Mem. at 7-12. However, that

extensive record and government service, at the highest levels of the national security apparatus,

and his “many years” of working with the FBI, should have made him particularly aware of the

harm caused by providing false statements to the government. See id. at 13. That work also

exposed him to the threat posed by foreign governments, in particular Russia, seeking to covertly

influence our government and democracy.

       iii.    The Need for Adequate Deterrence and to Promote Respect for the Law

       The sentence should adequately deter the defendant from violating the law, and to

promote respect for the law. It is clear that the defendant has not learned his lesson. He has

behaved as though the law does not apply to him, and as if there are no consequences for his

actions. That has been reinforced by his failure to accept responsibility and by his affirmative

litigation against the admission of evidence proffered by the government in the Rafiekian case.

       The sentence should also to deter others from lying to the government. The FBI protects

our homeland from terrorism, espionage, cyber-based attacks, and all other manner of threats.
                                                28
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 29 of 33



Lying to the FBI, in any context, cannot be tolerated. That is particularly true in a

counterintelligence investigation targeting efforts by a foreign government to interfere in our

democratic process—a threat that continues to this day. Our criminal justice system depends on

the solemn obligation of witnesses to tell the truth, regardless of their motives to do otherwise.

Minimizing the seriousness of the defendant’s actions would tempt future witnesses to flout that

obligation. Similarly, FARA is at the focal point of the government’s efforts to combat covert

foreign influence. That is particularly the case for senior government officials, who should be

held to a higher standard when it comes to being honest and transparent, especially when those

officials hold positions of trust and power.

       iv.     Avoiding Unwarranted Sentencing Disparities

       It goes without saying that this case is unique. See 12/18/2018 Hearing Tr. at 43 (Court

noting that “[t]his case is in a category by itself”). Few courts have sentenced a high-ranking

government official and former military general for making false statements. And the

government is not aware of any case where such a high-ranking official failed to accept

responsibility for his conduct, continued to lie to the government, and took steps to impair a

criminal prosecution. Accordingly, while Section 3553(a)(6) requires the court to consider “the

need to avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct,” there are no similarly situated defendants.

       Although other persons investigated by the SCO pleaded guilty to lying to the FBI and

were sentenced to varying terms of incarceration, those individuals and their conduct are easily

distinguishable. See id. at 42-43 (“The Court’s of the opinion that those two cases aren’t really

analogous to this case. I mean, neither one of those individuals was a high-ranking government

official who committed a crime while on the premises of and in the West Wing of the White

House.”). Alex van der Zwaan lied to the SCO, pled guilty to violating 18 U.S.C. § 1001, and
                                                 29
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 30 of 33



was sentenced to 30 days incarceration and a fine of $20,000. See United States v. van der

Zwaan, No. 18-cr-31 (ABJ). George Papadopoulos likewise lied to the SCO, pled guilty to

violating 18 U.S.C. § 1001, and was sentenced to serve 14 days incarceration, to perform 200

hours of community service, and pay a fine of $9,500. See United States v. Papadopoulos, No.

17-cr-182 (RDM). Neither defendant was a high-ranking government official, held a position of

trust vis-à-vis the United States, held a security clearance, had a special understanding of the

impact of providing misleading information to investigators, or denied responsibility for his

unlawful conduct.

        The most recent sentencing pertaining to an individual charged by the SCO is also

distinguishable. Last month, Richard W. Gates III was sentenced to 45 days of intermittent

confinement during a 36-month probationary period for lying to the SCO and conspiring to

commit multiple offenses, including tax fraud and violating FARA. See United States v. Richard

W. Gates III, 17-CR-201-2 (ABJ). As Judge Amy Berman Jackson noted at the sentencing

hearing, Gates’ assistance was “extraordinary,” including more than 50 interviews and truthful

testimony in three different federal trials (Paul Manafort, Gregory Craig, and Roger Stone). See

Sentencing Hearing Transcript at 30, 35, United States v. Richard W. Gates III, 17-CR-201-2

(D.D.C. Dec. 17, 2019). Moreover, Gates accepted responsibility for all of his unlawful conduct,

including uncharged conduct. See id. at 26, 30-31 (“it is telling and it is particularly positive that

this defendant has accepted responsibility”). The Court granted the government’s motion for a

significant downward departure pursuant to Section 5K1.1 for providing substantial assistance,

gave Gates credit for accepting responsibility, and still sentenced him to 45 days of confinement.

See id. at 8, 38.

        Just over one year ago, James A. Wolfe, who had served as the Director of Security for

the Senate Select Committee on Intelligence for 30 years, was sentenced to two months of
                                                  30
        Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 31 of 33



incarceration and a fine of $7,500 for lying to the FBI. See United States v. James A. Wolfe,17-

CR-170 (KBJ). At sentencing, Judge Ketanji Brown Jackson stressed that “[l]ying to the FBI is

a serious crime, especially when it is committed by a government official who understands the

importance of truthfulness in the context of a national security investigation.” See Sentencing

Hearing Transcript at 60, United States v. James A. Wolfe, 17-CR-170 (D.D.C. Dec. 20, 2018).

The court concluded that Wolfe’s position—which was far less significant than the defendant’s

position as National Security Advisor—was an aggravating factor to consider at sentencing, and

one that distinguished his case from those of Papadopoulos and van der Zwaan. Moreover, in

that case, the defendant received credit for accepting responsibility.

       In the above cases, a term of imprisonment was imposed. The government acknowledges

that the defendant’s history of military service, and his prior assistance to the government,

though not substantial, may distinguish him from these other defendants. The government asks

the Court to consider all of these factors, and to impose an appropriate sentence within the

Guidelines range.




                                                 31
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 32 of 33



                                       CONCLUSION
       For the foregoing reasons, the government submits that a sentence within the Guidelines

range is appropriate and warranted.

                                                   Respectfully submitted,

                                                   JESSIE K. LIU
                                                   United States Attorney
                                                   D.C. Bar No. 472845

                                                   By:            /s/

                                                   Brandon L. Van Grack
                                                   Special Assistant U.S. Attorney
                                                   950 Pennsylvania Ave., NW
                                                   Washington, DC 20530
                                                   (202) 233-0968

                                                   Jocelyn Ballantine
                                                   Assistant United States Attorney
                                                   555 4th Street, NW
                                                   Washington, D.C. 20530
                                                   (202) 252-7252



Dated: January 7, 2020




                                              32
       Case 1:17-cr-00232-EGS Document 150 Filed 01/07/20 Page 33 of 33



                               CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on January 7, 2020.




                                                        /s/
                                              Jocelyn Ballantine
                                              Assistant United States Attorney
                                              555 4th Street, NW
                                              Washington, D.C. 20530
                                              (202) 252-7252
                                              Attorney for the United States of America




                                                 33
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 1 of 72




         Attachment 1
                                  Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 2 of 72

Horsford, Latoya (USAVAE)




From:                                              Bijan Kian <kian@flynnintelgroup.com>
Sent:                                              Wednesday, July 27, 2016 1:40 PM
To:                                                Ekim Alptekin
Subject:                                           Re: All good to go



I had a detailed discussion with my MF last night. We are ready to engage on what needs to be done. Turkey's
security and stability is extremely important to world security. RTE can lead the campaign against Radical
Islam to protect the image of Islam. No other leader in the world of Islam has the power to lead this campaign.

I just wanted to let you know that we are all on the same page. Please let me know if you would like to talk on
Skype. I will make time and it will be my pleasure. Looking forward to working together again. At the right
time, I will include our partners in the communications. Perhaps we can connect on Friday to update.

All the best


Hon. Bijan R. Kian
Vice Chairman of the Board of Directors
Flynn Intel Group, Inc.

703-313-7040 (office)
858-449-8997 (mobile)
kian@flynnintelgroup.com




Notice of Confidentiality
The information contained in this communication is intended solely for the use of the individual or entity to whom it is addressed and others
authorized to receive it. It may contain confidential or legally privileged information. If you are not the intended recipient you are
hereby notified that any disclosure, copying, distribution or taking any action in reliance on the contents of this information is strictly
prohibited and may be unlawful. If you have received this communication in error, please notify us immediately by responding to this email
and then delete it from your system.

On Wed, Jul 27, 2016 at 11:41 AM, Ekim Alptekin <ekimalptekin@gmail.com> wrote:
 Hi Bijan - Thats good news. Im seeing the MFA in Ankara tomorrow to confer before their imminent US visit.
 Anything new we need to discuss tonight before my meeting? If not I will report back tomorrow night.

         Best,

         Ekim

         Sent from Virtru for iPhone

         On 27 Tem 2016 18:19, Bijan Kian <bijankian@gmail.com> wrote:
                            Dear Ekim:

                            We are ready. I look forward to speaking with you.                                         GOVERNMENT
                                                                                                                         EXHIBIT
                            All the best
                                                                          1
                                                                                                                              8B
                                                                                                                         1:18-CR-457
        Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 3 of 72

Bijan

Sent from my iPhone




                                        2
        Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 4 of 72


From:                 Bijan Kian
To:                   Ekim Alptekin
Cc:                   Michael Flynn
Subject:              Re: Truth
Date:                 Monday, August 08, 2016 2:44:05 PM


Thank you Ekim for your kind update. This is an important engagement and we will give it
priority on our side.

Looking forward to seeing you soon,

Bijan

Hon. Bijan R. Kian
Vice Chairman of the Board of Directors
Flynn Intel Group, Inc.

703-313-7040 (office)
858-449-8997 (mobile)
kian@flynnintelgroup.com




Notice of Confidentiality
The information contained in this communication is intended solely for the use of the individual or entity to whom it is
addressed and others authorized to receive it. It may contain confidential or legally privileged information. If you are not the
intended recipient you are hereby notified that any disclosure, copying, distribution or taking any action in reliance on
the contents of this information is strictly prohibited and may be unlawful. If you have received this communication in error,
please notify us immediately by responding to this email and then delete it from your system.



On Mon, Aug 8, 2016 at 12:36 PM, Ekim Alptekin <ekimalptekin@gmail.com> wrote:
 Dear Bijan, General Flynn,

  I had a long meeting with the Minister of Economy upon the referral of MFA Cavusoglu. I
  explained what we can offer. He agreed to discuss in general lines at the council of ministers
  today and subsequently with PM Yildirim in more detail.

  I will get back to you shortly.

  Best regards,

  Ekim

  Sent from Virtru for iPhone


  On 4 Ağu 2016 18:22, Bijan Kian <kian@flynnintelgroup.com> wrote:

           Thank you Ekim.
                                                                                                                     GOVERNMENT
                                                                                                                       EXHIBIT
                                                                                                                            14A
                                                                                                                       1:18-CR-457
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 5 of 72


 I echo General Flynn's sentiment on the significance of unlocking the facts. It is
 sometimes natural for complex situations to turn into a Rorschach test of a giant
 ink blot. Precision investigative work takes off the masks layer by layer until
 the real picture can emerge from the masked ink blot. Time plays a key factor in
 such precision work. The longer the time distance between an event and active
 start of a Special Investigation, the lesser the effect of revealing the "truth". The
 main event becomes "old news" and the findings less relevant.

 Let me give you a real life experience: 1978: A soft spoken cleric sitting under
 an apple tree in Neauphle-le-Chateau in France looked so harmless. Spoke of
 equality and spirituality, declared that if he were to gain power, he will go to a
 religious shrine and will not get into politics and governance.

 Sounds familiar?

 Well, the world neglected to take the layers off the ink blot in 1978. One year
 later, from the place under the apple tree, The soft spoken spiritual man led the
 Islamic Revolution in Iran and turned the clock back 1400 years. An ancient
 country and culture was turned into a Pariah State that Iran is today.

 37 years later, "truth" is being revealed page by page, story by story of "what"
 and "who" helped out the monster dressed as the soft spoken spiritual man. No
 matter how piercing the facts, too much time has passed. The world has
 changed. In this information age, we don't need to wait 37 years. 37 minutes can
 change the world.

 The world needs a strong leader with credibility in the Islamic faith to shape a
 new understanding of the religion and its place in the hearts of the Muslims.
 The weapon of choice in the Age of Information is the "word" and not the
 "sword".

 General Flynn and I will return with more thoughts shortly. Looking forward to
 working together on this important engagement. We are arranging key pieces
 needed for operationalizing our plan.


 All the best,

 Bijan


 Hon. Bijan R. Kian
 Vice Chairman of the Board of Directors
 Flynn Intel Group, Inc.

 703-313-7040 (office)
 858-449-8997 (mobile)
 kian@flynnintelgroup.com
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 6 of 72




 Notice of Confidentiality
 The information contained in this communication is intended solely for the use of the individual or entity
 to whom it is addressed and others authorized to receive it. It may contain confidential or
 legally privileged information. If you are not the intended recipient you are hereby notified that
 any disclosure, copying, distribution or taking any action in reliance on the contents of this information is
 strictly prohibited and may be unlawful. If you have received this communication in error, please notify us
 immediately by responding to this email and then delete it from your system.



 On Thu, Aug 4, 2016 at 5:11 AM, Ekim Alptekin <ekimalptekin@gmail.com>
 wrote:
  Dear Bijan, General Flynn,

   First off, I look forward to meeting in person and thrilled at the prospect of
   working together.

   Thank you for the eloquent outline. I met with the MFA and explained our
   proposed approach. He is receptive and indicated he would like to meet with
   us during his upcoming visit to DC.

   As soon as the visit dates are scheduled and confirmed, I will inform you and
   we can strategize how best to approach the meeting.

   PS1: Sec. Kerry appears to be visiting TR on August 21. Do we know anyone
   in his team?

   PS2: This article shows the depth of the crisis we are
   facing: http://nyti.ms/2avkkES

   Warm regards,

   Ekim Alptekin

   Sent from Virtru for iPhone


   On 30 Tem 2016 20:32, Bijan Kian <kian@flynnintelgroup.com> wrote:

            Ekim:

            It was my pleasure continuing our conversation today. General
            Flynn and I have discussed broad contours of the "truth"
            campaign.

            In brief, we need:

            PHASE ZERO: DEFINE THE ARENA and THE CHALLENGE
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 7 of 72



                To secure your active participation in the project.
                Define the opposing force.
                Develop an accurate, objective and reliable account of
                "Where we are now". (undesired state)
                A clear path to "where we would like to be" (desired state)
                Define dependencies, uncertainties, expected and
                unexpected consequences.
                Define options from "narrow" and "extremely tactical" to
                "broad" and "strategic" with a clear cost/benefit matrix.
                (Net Assessment)
                Apply the "Expected Value Analysis" model to options.
                Define "possibilities" as distinct from "probabilities" of
                success and failure.
                Measure second and third order effects on both
                "possibilities" and "probabilities".

        Executing these key 9 steps are essential in defining the arena
        and measuring the challenge. In the field of opposing forces, the
        adversary has already set the "intensity and complexity standard".
        A side by side comparison of the logistics/tools in the arena
        shows clearly that the adversary has made seriously more
        superior choices in battle preparations.

        We need to discuss a PHASE ZERO execution now at a managed
        cost and time frame. PHASE ZERO can move to a more
        expanded design and implementation of selected path forward
        based on phase Zero within the next 90 days (August, September,
        October 2016). Please give us your thoughts.

        At this time, this conversation shall remain limited to you,
        General Flynn and myself. Needless to say, these are extremely
        critical times and our key motivation is to make sure that we do
        what we can to secure a better future for our grandchildren.   

        I look forward to resuming our conversation tomorrow.

        All the best to you and your family,


        Bijan


        Hon. Bijan R. Kian
        Vice Chairman of the Board of Directors
        Flynn Intel Group, Inc.

        703-313-7040 (office)
        858-449-8997 (mobile)
        kian@flynnintelgroup.com
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 8 of 72




        Notice of Confidentiality
        The information contained in this communication is intended solely for the use of the
        individual or entity to whom it is addressed and others authorized to receive it. It may
        contain confidential or legally privileged information. If you are not the
        intended recipient you are hereby notified that any disclosure, copying, distribution or
        taking any action in reliance on the contents of this information is strictly prohibited
        and may be unlawful. If you have received this communication in error, please notify
        us immediately by responding to this email and then delete it from your system.
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 9 of 72

         Subject: Re: Truth
         From: Ekim Alptekin <ekimalptekin@gmail.com>
         Date: 8/10/2016, 2:55 PM
         To: Bijan Kian <kian@ﬂynnintelgroup.com>
         CC: Michael Flynn <ﬂynn@ﬂynnintelgroup.com>

         Gentlemen - I just ﬁnished in Ankara a er several mee ngs today with Min of Economy Zeybekci and
         MFA Cavusoglu.

         I have a green light to discuss conﬁden ality, budget and the scope of the contract.

         I am ﬂying to LA tomorrow at the request of MFA with ETA 13:35. Can we talk some me early
         evening EDT tomorrow?

         Best regards,

         Ekim Alptekin

         Sent from Virtru for iPhone


         On 8 Ağu 2016 21:44, Bijan Kian <kian@ﬂynnintelgroup.com> wrote:

              Thank you Ekim for your kind update. This is an important engagement and we will give it
              priority on our side.

              Looking forward to seeing you soon,

              Bijan

              Hon. Bijan R. Kian
              Vice Chairman of the Board of Directors
              Flynn Intel Group, Inc.

              703-313-7040 (oﬃce)
              858-449-8997 (mobile)
              kian@ﬂynnintelgroup.com

                                                                                                                            GOVERNMENT
                                                                                                                              EXHIBIT
                                                                                                                                  16
                                                                                                                             1:18-CR-457
              No ce of Conﬁden ality
              The informa on contained in this communica on is intended solely for the use of the individual or en ty to whom it is
              addressed and others authorized to receive it. It may contain conﬁden al or legally privileged informa on. If you are not
              the intended recipient you are hereby no ﬁed that any disclosure, copying, distribu on or taking any ac on in reliance
              on the contents of this informa on is strictly prohibited and may be unlawful. If you have received this communica on
              in error, please no fy us immediately by responding to this email and then delete it from your system.



1 of 6                                                                                                                              7/9/2019, 2:02 PM
              Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 10 of 72



         On Mon, Aug 8, 2016 at 12:36 PM, Ekim Alptekin <ekimalptekin@gmail.com> wrote:
          Dear Bijan, General Flynn,

          I had a long mee ng with the Minister of Economy upon the referral of MFA Cavusoglu. I
          explained what we can oﬀer. He agreed to discuss in general lines at the council of
          ministers today and subsequently with PM Yildirim in more detail.

          I will get back to you shortly.

          Best regards,

          Ekim

          Sent from Virtru for iPhone


          On 4 Ağu 2016 18:22, Bijan Kian <kian@ﬂynnintelgroup.com> wrote:

                 Thank you Ekim.

                 I echo General Flynn's sen ment on the signiﬁcance of unlocking the facts. It
                 is some mes natural for complex situa ons to turn into a Rorschach test of a
                 giant ink blot. Precision inves ga ve work takes oﬀ the masks layer by layer
                 un l the real picture can emerge from the masked ink blot. Time plays a key
                 factor in such precision work. The longer the me distance between an
                 event and ac ve start of a Special Inves ga on, the lesser the eﬀect of
                 revealing the "truth". The main event becomes "old news" and the ﬁndings
                 less relevant.

                 Let me give you a real life experience: 1978: A so spoken cleric si ng
                 under an apple tree in Neauphle-le-Chateau in France looked so harmless.
                 Spoke of equality and spirituality, declared that if he were to gain power, he
                 will go to a religious shrine and will not get into poli cs and governance.

                 Sounds familiar?

                 Well, the world neglected to take the layers oﬀ the ink blot in 1978. One
                 year later, from the place under the apple tree, The so spoken spiritual
                 man led the Islamic Revolu on in Iran and turned the clock back 1400 years.
                 An ancient country and culture was turned into a Pariah State that Iran is
                 today.

                 37 years later, "truth" is being revealed page by page, story by story of


2 of 6                                                                                            7/9/2019, 2:02 PM
         Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 11 of 72
          "what" and "who" helped out the monster dressed as the so spoken
          spiritual man. No ma er how piercing the facts, too much me has passed.
          The world has changed. In this informa on age, we don't need to wait 37
          years. 37 minutes can change the world.

          The world needs a strong leader with credibility in the Islamic faith to shape
          a new understanding of the religion and its place in the hearts of the
          Muslims. The weapon of choice in the Age of Informa on is the "word" and
          not the "sword".

          General Flynn and I will return with more thoughts shortly. Looking forward
          to working together on this important engagement. We are arranging key
          pieces needed for opera onalizing our plan.


          All the best,

          Bijan


          Hon. Bijan R. Kian
          Vice Chairman of the Board of Directors
          Flynn Intel Group, Inc.

          703-313-7040 (oﬃce)
          858-449-8997 (mobile)
          kian@ﬂynnintelgroup.com




          No ce of Conﬁden ality
          The informa on contained in this communica on is intended solely for the use of the individual or
          en ty to whom it is addressed and others authorized to receive it. It may contain conﬁden al or
          legally privileged informa on. If you are not the intended recipient you are hereby no ﬁed that
          any disclosure, copying, distribu on or taking any ac on in reliance on the contents of this
          informa on is strictly prohibited and may be unlawful. If you have received this communica on in
          error, please no fy us immediately by responding to this email and then delete it from your system.



          On Thu, Aug 4, 2016 at 5:11 AM, Ekim Alptekin <ekimalptekin@gmail.com>
          wrote:
           Dear Bijan, General Flynn,

            First oﬀ, I look forward to mee ng in person and thrilled at the prospect of
            working together.



3 of 6                                                                                                          7/9/2019, 2:02 PM
         Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 12 of 72
            Thank you for the eloquent outline. I met with the MFA and explained our
            proposed approach. He is recep ve and indicated he would like to meet
            with us during his upcoming visit to DC.

            As soon as the visit dates are scheduled and conﬁrmed, I will inform you
            and we can strategize how best to approach the mee ng.

            PS1: Sec. Kerry appears to be visi ng TR on August 21. Do we know
            anyone in his team?

            PS2: This ar cle shows the depth of the crisis we are facing: h p://ny .ms
            /2avkkES

            Warm regards,

            Ekim Alptekin

            Sent from Virtru for iPhone


            On 30 Tem 2016 20:32, Bijan Kian <kian@ﬂynnintelgroup.com> wrote:

                 Ekim:

                 It was my pleasure con nuing our conversa on today. General
                 Flynn and I have discussed broad contours of the "truth"
                 campaign.

                 In brief, we need:

                 PHASE ZERO: DEFINE THE ARENA and THE CHALLENGE


                         To secure your ac ve par cipa on in the project.
                         Deﬁne the opposing force.
                         Develop an accurate, objec ve and reliable account of
                         "Where we are now". (undesired state)
                         A clear path to "where we would like to be" (desired
                         state)
                         Deﬁne dependencies, uncertain es, expected and
                         unexpected consequences.
                         Deﬁne op ons from "narrow" and "extremely tac cal" to
                         "broad" and "strategic" with a clear cost/beneﬁt matrix.
                         (Net Assessment)
                         Apply the "Expected Value Analysis" model to op ons.


4 of 6                                                                                   7/9/2019, 2:02 PM
         Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 13 of 72
                         Deﬁne "possibili es" as dis nct from "probabili es" of
                         success and failure.
                         Measure second and third order eﬀects on both
                         "possibili es" and "probabili es".

                 Execu ng these key 9 steps are essen al in deﬁning the arena
                 and measuring the challenge. In the ﬁeld of opposing forces,
                 the adversary has already set the "intensity and complexity
                 standard". A side by side comparison of the logis cs/tools in
                 the arena shows clearly that the adversary has made seriously
                 more superior choices in ba le prepara ons.

                 We need to discuss a PHASE ZERO execu on now at a
                 managed cost and me frame. PHASE ZERO can move to a
                 more expanded design and implementa on of selected path
                 forward based on phase Zero within the next 90 days (August,
                 September, October 2016). Please give us your thoughts.

                 At this me, this conversa on shall remain limited to you,
                 General Flynn and myself. Needless to say, these are extremely
                 cri cal mes and our key mo va on is to make sure that we
                 do what we can to secure a be er future for our
                 grandchildren.

                 I look forward to resuming our conversa on tomorrow.

                 All the best to you and your family,


                 Bijan


                 Hon. Bijan R. Kian
                 Vice Chairman of the Board of Directors
                 Flynn Intel Group, Inc.

                 703-313-7040 (oﬃce)
                 858-449-8997 (mobile)
                 kian@ﬂynnintelgroup.com




                 No ce of Conﬁden ality
                 The informa on contained in this communica on is intended solely for the use of
                 the individual or en ty to whom it is addressed and others authorized to receive it.
                 It may contain conﬁden al or legally privileged informa on. If you are not the


5 of 6                                                                                                  7/9/2019, 2:02 PM
         Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 14 of 72
                 intended recipient you are hereby no ﬁed that any disclosure, copying, distribu on
                 or taking any ac on in reliance on the contents of this informa on is strictly
                 prohibited and may be unlawful. If you have received this communica on in error,
                 please no fy us immediately by responding to this email and then delete it from
                 your system.




6 of 6                                                                                                7/9/2019, 2:02 PM
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 15 of 72

                    Background and Talking Points
                       FOR FLYNN INTEL PRINCIPALS ONLY
January 1978
In 1978, a soft spoken, gray beard elderly Shia cleric sat under an apple tree in Neauphle-Le-
Chateau near Paris. He claimed that he is a man of God, set out to topple a dictator. He said he
has no intention of taking over the government. He spoke of love and compassion. He said his
goal is to go to the mosque and pray. He said he will lead the people to topple a dictator.

  A perfect picture of peace and harmony aimed at liberating the oppressed.
        The elderly cleric’s name was Ayatollah Ruhollah Khomeini.
Washington believed the Ayatollah. On January 23, 1979, New York Times reported that
Ramsey Clark, former U.S.A. Attorney General visited this old cleric on January 22, in France.
Mr. Clark returned to Washington with a message repeating the Ayatollah’s words. “This is a
courageous man opposed to a dictator. He has the backing of the Iranians”. Washington’s
policies were shaped based on such feedback. On January 7th, 1979, President Carter had
dispatched U.S. Air Force General Robert E. Huyser to Tehran. General Huyser’s mission was to
deliver a message to the Iranian Armed Forces leaders to stand down and accept “The will of the
people”. Ayatollah Khomeini became the leader of the Islamic Revolution in Iran and the
founder of the Islamic Republic which is today the top state sponsor of terrorism in the world.
Mr. Clark and others supporting his position on the Ayatollah neglected to see the Ayatollah for
who he really was. A terrible mistake that has raised the cost of international security for good
and has given rise to an intensified growth in radical Islam. The Islamic Republic’s role in Iraq
and Syria is what provided the main impetus behind the rise of ISIS. Iranian Quds Force
partnered with Shia government in Iraq to massacre the Sunni population of Iraq. Disguised as a
“Republic”, Iran is one of the most active promoters of Radical Islam and the top State sponsor
of terror in the world. One of Iran’s key allies in the region is The Hezbollah. Syria provides the
transport and logistical route to Hezbollah for Iran. Leaders in Iran have declared that “Bashar
Assad” of Syria is their “Red Line”. Had Washington studied Ayatollah Khomeini closer before
becoming an “echo chamber” of repeating his claims (as if they were facts), U.S. policies would
have taken a different shape and direction and the world will be in an entirely different shape.

September 18, 2016
A soft spoken, gray haired, elderly Muslim cleric lives in a secluded compound in Poconos,
Pennsylvania. He claims to be a man of peace. He encourages devout Muslims to build schools
and not mosques. He publicly promotes the ideas of tolerances and denounces violence.
According to close observers, his followers jump if he orders them to jump. What his staff and
followers do not deny is that his “movement” runs 130 or more publicly funded charter schools
in 26 states all over the United States with at least 36 of such charter schools in Texas. The
schools don’t teach Islamic studies. Their focus is on math and science.

  A perfect picture of Peace and harmony aimed at liberating the oppressed.
                 The Elderly Cleric’s name is Fetullah Gulen.

                                                                                      GOVERNMENT
                                                                                        EXHIBIT
                                                                                           26B
                                                                                       1:18-CR-457
     Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 16 of 72



                                 QUESTIONS

       Is Washington about to buy two copies of the same Newspaper?

Is Washington acting as an “echo chamber” repeating the claims of Mr. Gulen
              about the peaceful intentions of the movement?

  Does a radicalized person need directions to commit an act of terror? Can
             they be simply “inspired” to take a terrorist action?

  1. Is Mr. Gulen another Ayatollah Khomeini with a long term plan for Muslim
     domination?

  2. What are the true intentions and long term goals of Mr. Gulen and his
     movement? Does he follow Hasan Al Banna’s edict or a version of it?
     “Islam is the basis of all legislation”. Hasan Al Banna. Founder of Muslim
     Brotherhood in 1928. Is this an obfuscated operation to lead to Sharia Law at
     the “right” time?


  3. Do American Tax payers need to finance 130 charter schools where teachers
     are imported from Turkey?

  4. Are American teachers so inadequately trained that these charter schools
     have to import math and science teachers from Turkey?


  5. Does a teacher have to teach Islam in order to capture the hearts and minds
     of the American youth in these charter schools? Can a teacher just develop a
     mentor/mentee relationship with students?

  6. Why do the schools ask for visas for “English” teachers from Turkey to
     teach American students? ( An interview with one of the teachers from
     Turkey reveals a thick, almost unintelligible English accent).


  7. How does the Gulen movement obtain public funding for 130 charter
     schools in the U.S.? Is there any undue influence involved?
  Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 17 of 72
8. Do some or all of the teachers from Turkey pay a significant portion of their
   salaries back to the “Gulen Movement”? (40% in one case). What are the
   legal implications of such paybacks? On what basis does the Gulen
   Movement collect such paybacks from the teachers?


9. Does the Gulen Movement perform a different function other than educating
   American kids? What are the possibilities? What does Mr. Gulen mean
   when he refers to “Sleeping Soldiers”? (VIDEO)

10. Is there a possibility of immigration fraud committed by the charter
   schools?


11. Why is it that Mr. Gulen never visits any of the charter schools? Does he
   not wish to be associated with them? Why?

12.What is the relationship of Mr. Gulen’s supporters with elected officials in
   the United States? Non Profit entities?


13.Are there (or have there been) any illegal political contributions made to
   campaigns by Mr. Gulen or his supporters?

14.Are the movement supporters encouraged to donate to political campaigns?
   Any violations of the United States campaign contribution laws?


15.What are the characteristics of four stages of “Jihad”? Any signs of the early
   stages of Jihad in the “movement”? Is the movement in the first stage of
   Jihad? (Long preparation for the subsequent stages)

16. Is Mr. Fetullah Gulen the next Ayatollah Khomeini?


17.What are the direct and indirect contributions of the movement to instability
   around the world?

18.Does the movement capitalize on capturing the hearts and minds of the
   youth around the world in preparation for control?

19. What is the relationship of the movement with the 2016 U.S. elections?
     Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 18 of 72


   20.Does the movement have (now or ever) an indirect or direct relations with
      any of the presidential candidates?


   • Who is the most qualified leader in the Muslim World to combat and defeat
     Radical Islam?

   • What are such qualifications?

   • Who has the power, credibility and the political will of their people behind
     them to win the fight against death and destruction of DAESH.

NOTE: U.S. Chairman of the Joint Chiefs and General Akar, Chief of Staff of the
Turkish Armed Forces have met and agreed to join forces in combatting ISIS.
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 19 of 72

         Subject: Congressional Outreach
         From: "Michael Boston" <boston@ﬂynnintelgroup.com>
         Date: 10/12/2016, 1:25 AM
         To: "'Graham Miller'" <graham@sphereconsul ng.com>, "'Bijan Kian'" <kian@ﬂynnintelgroup.com>
         CC: "'BRIAN MCCAULEY'" < 1mccauley@gmail.com>, <emalee@whitecanvasgroup.com>

         Graham:

         In reference to your question about congressional outreach and coordination, I am including Bijan
         in this thread, since he has already met with the National Security Advisor in Chairman McCaul’s
         office. He suggests we prepare a detailed brief and get scheduled with them in the next couple of
         weeks.

         CONGRESSIONAL OUTREACH - I think we have determined Chairman McCaul is our irst and primary contact. We
         have informally reached out to our contacts close with the of ice to make sure we have the best contact there.
         However, since other members of the team are approaching (or have already) the of ice, we want to make sure that
         outreach is coordinated. Do you know the nature of that contact to date?

         Brian and Emalee: Information you respectively want to submit will be included in the brief.


         Best,
         Mike




                                                                                                          GOVERNMENT
                                                                                                            EXHIBIT
                                                                                                               30A
                                                                                                            1:18-CR-457


1 of 1                                                                                                             7/9/2019, 2:32 PM
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 20 of 72




                                                               GOVERNMENT
                                                                 EXHIBIT
                                                                     30B
                                                                1:18-CR-457
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 21 of 72
                                Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 22 of 72




Team, Overall a Very good call. I may be meeting with him early next week during an American Turkish conference in WDC. We discussed the long
term effort, as well as the tax issue that Mike B and I discussed this morning. I walked him through the social media analysis which he found very
interesting and worth talking to the [Turkish Minister #1] about as well as all other talking points (thank you for pulling those together). Regarding
RA. .. he felt a phone call between Us would work best. We can discuss who is best to do that call, between Brian and Mike but this is something we
should do. I mentioned that if a parallel effort I'm okay. We don't want to trip over each other however. I also walked him through the monopoly and
its status as well as the videos. He was happy to hear where those efforts are at.

Next strategic step: We need to put together an initial formal assessment/ report w attachments and initial videos (if they're ready) nlt next weekend.
Let me know if this is doable. Seems to me we have all the info to put together a solid assessment with facts, assumptions, our analysis, data backing
up what we've learned and initial conclusions and recommendations. Among the recommendations is to take this effort to a long term relationship.
We discussed the business side of what we're doing and I told him we have many irons in the fire and at some point very soon I need a commitment
beyond the initial 90 days. He agreed.

Bottom line, a good call and we are on the right track.

Mike




                                                                                                                                        GOVERNMENT
                                                                                                                                          EXHIBIT
                                                                                                                                              40
                                                                                                                                         1:18-CR-457
                    Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 23 of 72
    From:              Bijan Kian <kian@flynnintelgroup .com>
    Sent:              Wednesday, · ovember 2, 2016 10:36 PM
    To:                Ekim Alptekin <ekimalptekin@gmail.com>· Bob Kelley <kelley@flynnintelgroup .com>
    Subject:           Getting Turkey Wrong
    Attach:            GETTING TURKEY WRO G.docx


    Ekim :

    A promise made is a promise kept. Please see attached 1000 word article. I appreciate it if you take a look and
    give me your thoughts at your earliest convenience. I am not certain how much of the text will survive review
    and edits but as you can see, the humble author is not shy.

    I am copying Bob as we move forward with executing the plan .

    All the best,

    Bijan




    Hon. Bijan R. Kian
    Vice Cha;,man of the Board of Directors
    Flynn In/el Group, Inc.

    703-313-7040 (office)
    858-449-8997 (mobile)
    kian@flynnintelgroup.com


               HYNN !NT~L GRGUJ' INC .




      otice of Confidentiality
    The information contained in this communication is intended solely for the use of the individual or entity
    to whom it is addressed and others authorized to receive it. It may contain confidential or legally privileged
    information. If you are not the intended recipient you are hereby notified that any disclosure,
    copying, distribution or taking any action in reliance on the contents of this information is strictly prohibited
    and may be unlawful. If you have received this communication in error, please notify us immediately
    by responding to this email and then delete it from your system .

    GETTING TURKEY WRONG.docx .tdf (138 .5 kb)




                                                                                                      GOVERNMENT
                                                                                                        EXHIBIT
                                                                                                            45A
                                                                                                        1:18-CR-457

CONFIDENTIAL                                                                                             FIG- EDVA- 00005472
                                                                                            US_v_Kian_00001325
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 24 of 72




               GETTING TURKEY WRONG

               United States needs to understand Turkey's unique
               position not just as an important NATO ally but also as a
               key player in maintaining balance of power in a region
               enflamed in conflict. We will ignore this fact at our own
               peril. The U.S. needs to show Turkey that we understand
               the importance of keeping our alliance in the interest of
               regional and global security. Sadly, This administration
               is doing the opposite. President Obama's administration
               continues to give refuge to Fetulah Gulen, a shady cleric
               who President Clinton calls "his friend" in a well
               circulated video. Gulen has allegedly called the United
               States "the number one enemy". He has                    publicly
               boasted about his "soldiers" waiting for his order to do
               whatever he directs them to do. For those of us who
               have closely studied Seyed Qutb and Hasan Al Bana,
               the founder of Muslim Brotherhood, these words sound
               very familiar. Much similar to Gulen, Seyed Qutb was the
               author of 24 books on education and the arts. Much like
               Gulen, Qutb's inner circle consisted of influential
               politicians, intellectuals, poets and literary figures.
               Contrary to this well masked fa~ade, Qutb's writings

                                                GOVERNMENT
                                                  EXHIBIT
                                                    45B
CONFIDENTIAL                                     1:18-CR-457                  FIG- EDVA- 00005473
                                                                     US_v_Kian_00001326
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 25 of 72



               provided the inspiration for violent terrorist groups like
               Al-Qaeda.

               To professionals in the Intelligence Community, the
               stamp of terror is all over Mullah Gulen's statements.
               Hasan Al Bana defined the first phase of pre-emptive
               Jihad as a long and quiet process that can take as long
               as a quarter of a century to prepare the forces for a
               decisive strike. Al Bana famously declared that the only
               acceptable form of legislation is Sharia Law. Gulen's
               vast, global network has all the right markings to fit the
               description of a dangerous sleeper terror network. From
               Turkey's    point of view,       Washington       is   harboring
               Turkey's    Usama     Bin   Laden.     Washington's      silence
               speaks volumes when we hear the incredulous claim
               that the democratically elected president of Turkey
               staged a military coup, bombed his own parliament and
               killed the confidence in Turkey's strong economy just
               so that he could purge his political opponents. This
               ridiculous claim places the intelligence of its promoters
               in serious question. It is also a dark reminder of the
               vicious rumors spread by our enemies that 9/11 was an
               inside job by the American Intelligence apparatus as an
               excuse to invade Muslim lands to grab their oil! To add




CONFIDENTIAL                                                                  FIG- EDVA- 00005474
                                                                      US_v_Kian_00001327
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 26 of 72



               insults to injury, American tax payers are financing
               Fettulah Gulen's 160 charter schools in the United
               States. His charter schools have been granted more H1 B
               visas than Google. It is inconceivable to imagine that
               our visa officers have approved thousands of visas for
               English teachers whose English is incomprehensible. A
               CBS 60 Minutes program documented a conversation
               with one such imported English teacher from Turkey
               whose English was impossible to understand. Several
               law suits including some in Ohio and Texas point to
               irregularities in the operation of said schools. However,
               as money is no object for Gulen's network, hired legal
               guns and influential charitable organizations keep the
               lucrative source of income for Gulen and his network.
               Influential   charities   such     as   Cosmos      Foundation
               continue their support for Gulen's charter schools.
               Incidentally, Cosmos Foundation is a major donor to
               Clinton Foundation. No wonder President Clinton calls
               Mullah Gulen "his friend". It is now no secret that Ms.
               Huma Abedin, Secretary Clinton's close aide and
               confidant worked for 12 years as the associate editor for
               a journal published by the London based Institute of
               Minority Muslim Affairs. The institute has promoted the




CONFIDENTIAL                                                                  FIG- EDVA- 00005475
                                                                     US_v_Kian_00001328
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 27 of 72



               thoughts of radical Muslim thinkers such as Seyed Qutb
               and Qaradawi.

               The American public is lulled into believing that this
               elder cleric is a Sufi scholar who promotes the
               teachings of Rumi, the Persian poet, works to expand
               interfaith dialogue and does a great job by providing
               American youth great education in math and science as
               well as English. Voices of concern about this shady
               Mullah are quickly muffled by his vast network of public
               relations and legal professionals. He has established a
               false fac;ade that he is a freedom fighter set to topple
               Turkey's autocratic leader. This image is a stark
               reminder of another era and a great American mistake
               that has raised the cost of international security forever.
               We all remember another quiet bearded elder cleric who
               sat under an apple tree in Neauphle-Le-Chateau in the
               suburbs of Paris in 1978. He claimed to be a man of God
               who wanted to topple a dictator and return the power to
               the people. Washington believed him. Sadly, shortly
               after his rise to power through the Iranian revolution, we
               watched in horror as our diplomats were taken hostage
               for 444 days as we betrayed one of our strongest allies
               in the Middle East. The world has never been the same




CONFIDENTIAL                                                                  FIG- EDVA- 00005476
                                                                     US_v_Kian_00001329
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 28 of 72



               since that irreversible mistake. Ayatollah Khomeini, the
               quiet man of God under the apple tree created the
               world's top sponsor of terror. His revolutionary guards
               created Hezbollah, the world's famous Lebanon based
               terror   organization.      Ayatollah's      terrorists     killed
               American servicemen, slaughtered Iraqi Sunnis by the
               thousands and his brutal Quds Force killed innocent
               Sunni civilians in Syria. Ultimately, ISIS became the
               radical Sunni's response to the mayhem caused by our
               friendly Mullah under the apple tree. History does not
               repeat itself without people repeating the mistakes of
               the past. It is time we take a fresh look at the importance
               of Turkey and place our priorities in proper perspective.
               It is unconscionable to militate against Turkey, our
               NATO ally as Washington is hoodwinked by this masked
               source of terror and instability nestled comfortably in
               our own backyard in Pennsylvania. We need to adjust
               our foreign policy to place Turkey as a priority. We need
               to see the world from Turkey's perspective. What would
               we do if right after 9/11 we heard the news that Usama
               Bin Laden lives in a nice villa at a Turkish resort while
               running 160 charter schools funded by the Turkish tax
               payers? Time to end our romanticized foreign policy




CONFIDENTIAL                                                                  FIG- EDVA- 00005477
                                                                     US_v_Kian_00001330
               Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 29 of 72



               directives written by fiction writers and echo chamber
               specialists by their own blatant confessions.




               1002 Words.




CONFIDENTIAL                                                                  FIG- EDVA- 00005478
                                                                     US_v_Kian_00001331
                            Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 30 of 72


 From :                              Bijan Kian <kian@flynninlelg roup.corn >
 Sent:                               Thursday, November 03, 2016 3:55 PM
 To:                                 LTG R Mike Flynn
 Subject:                            Re: Tim Kaine congratulates Gulenists in a letter • Rag1p Soylu • Daily Sabah



 Thank you Mike. I asked Ilank Cox to review and edit my I 000 word draft to make sure it is tight before I send it out to you. The
 plan is to go out with the piece on Monday. When we get a chance to talk, I will explain. Please expect the piece in an hour or two.


 Had a good meeting with Sphere this morning.

 Sec you soon!

 Bijan




 Hon. Bija.n R. Kian
 Vice Chairman ofthe Board ofDirectors
 Flynn /11/lti Group, Inc.

 703 -3 1] -7040 (office)
 858-449-8997 (mobile)
 kia11@flxnnin!el!!J:Qup.,_c_om




 Notice o l'Conlidcnliality
 The infonnation contained in this communication is intended solely for tbe use of the individual or entity to whom ii is addressed and others authorized to receive it. II
 may contain confidential or legally privileged information. If you are not the intended recipient you are hereby notified that any disclosure, copying, distribution or
 taking any action in reliance on the contents of this infonnation is strictly prohibited and may be w1lawfol. Tf you have received this communication in error,
 please notify u~ i11u11eJiately by respomlinp lo this emai l a11J then J elete it from your system.



 On Thu, ov 3, 2016 at 2:21 PM, LTG R Mike Flynn <flynn@flyJrnintelg.roup.com> wrnte:
 FYl.




 NEW YORK TIMES BESTSELLER

 "Tire Field of Fight, flow We Can Win tl,e Global War Against R,ulica/ Islam anti Its Allies"

 -Lt. General Michael T Flynn and Michael Ledeen

 -St. Martin' s Press

 ORDER TODAY!!
                                                                                                                                          GOVERNMENT
 lndividual Orders
                                                                                                                                            EXHIBIT
 http_://pit_lyff.i~l9.9_fFjghtA111a~o11                                                                                                           47
                                                                                                                                            1:18-CR-457

CONFIDENTIAL                                                                                                                                       FIG_EDVA_00009834
                                                                                                                                US_v_Kian_00001338
Our ally Turkey is in crisis and needs our support | TheHill               Page 1 of 4
          Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 31 of 72




                                   Our ally Turkey is in crisis and n
                                   our support
                                   BY LT. GEN. MICHAEL T. FLYNN (R), CONTRIBUTOR - 11/08/16 05:46 PM EST




                                   2,348          SHARES                                                              SHARE            TWE


    Just In...

    Sarah Sanders denies
    Trump walk-out was
    premeditated
    ADMINISTRATION — 4M 18S AGO



    Samantha Bee slams 2020
    Democrats who go on Fox
    News
    CAMPAIGN — 4M 52S AGO



    Poll: Women move up the
    leader board in Democratic
    primary
    CAMPAIGN — 6M 36S AGO

                                     © Getty Images

    Indictment of
    Massachusetts judge              It is fair to say that most Americans don’t know exactly what to make of our ally
    invades state court
                                     Turkey these days, as it endures a prolonged political crisis that challenges its
    independence
                                     long-term stability. The U.S. media is doing a bang-up job of reporting the
    OPINION — 6M 37S AGO
                                     Erdoğan government’s crackdown on dissidents, but it’s not putting it into
                                     perspective.
    Trump Jr. slams
    Republican committee             We must begin with understanding that Turkey is vital to U.S. interests. Turkey
    chairman: 'Too weak to
                                     is really our strongest ally against the Islamic State in Iraq and Syria (ISIS), as
    stand up to the Democrats'
                                     well as a source of stability in the region. It provides badly needed cooperation
    ADMINISTRATION — 14M 55S AGO
                                     with U.S. military operations. But the Obama administration is keeping
                                     Erdoğan’s government at arm’s length — an unwise policy that threatens our
    Swalwell becomes second          long-standing alliance.
    2020 candidate to accept
    cryptocurrency donations
                                     The primary bone of contention between the U.S. and Turkey is Fethullah
    after Yang
                                     Gülen, a shady Islamic mullah residing in Pennsylvania whom former President
    TECHNOLOGY — 15M 29S AGO
                                     Clinton once called his “friend” in a well circulated video.

    George Conway contrasts
    Trump denying 'cover-ups'
    with check to Michael
    Cohen
    BLOG BRIEFING ROOM
    — 17M 35S AGO



    Buttigieg: Trump faked
    being disabled to get out of
    Vietnam                                                                                                                   GOVERNMENT
    CAMPAIGN — 21M 5S AGO
                                                                                                                                EXHIBIT
                                                                                                                                 50
                                                                                                                              1:18-CR-457


https://thehill.com/blogs/pundits-blog/foreign-policy/305021-our-ally-turkey-is-in-crisis-a...                                  5/23/2019
Our ally Turkey is in crisis and needs our support | TheHill               Page 2 of 4
          Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 32 of 72

    VIEW ALL




    Related News              by




                                   Gülen portrays himself as a moderate, but he is in fact a radical Islamist. He has
                                   publicly boasted about his “soldiers” waiting for his orders to do whatever he
    Drivers who switch to
                                   directs them to do. If he were in reality a moderate, he would not be in exile, nor
    Progressive save an…
    Sponsored | Progressive
                                   would he excite the animus of Recep Tayyip Erdoğan and his government.




    Trump jokingly suggests
    serving as many as five…




    Coke bringing back 'New
    Coke' campaign in
                                   For those of us who have closely studied the careers of Seyed Qutb and Hasan
                                   al Bana, the founders and followers of the Muslim Brotherhood, Gülen’s words
                                   and activities are very familiar.

                                   The late Seyed Qutb in particular was very much in the Gülen mold. The author
    Schwarzenegger won't           of 24 books on education and the arts, he assembled an inner circle of
    press charges against…         intellectuals and influential politicians. But contrary to this well-masked façade,
                                   Qutb’s writings provided the inspiration for terrorist groups like Al-Qaeda. Qutb
                                   was hanged in 1966 in Egypt for instigating rebellion.

                                   Likewise, Hasan al Bana, an Egyptian who died in 1949, defined the first phase
                                   of pre-emptive jihad as a long and quiet process that can take as long as a
                                   quarter of a century, to prepare the forces for a decisive strike. Al Bana
                                   famously declared that the only acceptable form of law is Sharia.

                                   To professionals in the intelligence community, the stamp of terror is all over
                                   Mullah Gülen’s statements in the tradition of Qutb and al Bana. Gülen’s vast
                                   global network has all the right markings to fit the description of a dangerous
                                   sleeper terror network. From Turkey’s point of view, Washington is harboring
                                   Turkey’s Osama bin Laden.

                                   Washington’s silence on this explosive topic speaks volumes when we hear the
                                   incredulous claim that the democratically elected president of Turkey staged a
                                   military coup, bombed his own parliament and undermined the confidence in
                                   Turkey’s strong economy, just so that he could purge his political opponents.

                                   This baseless claim is a dark reminder of the vicious rumors spread by our
                                   enemies that 9/11 was an inside job by the American intelligence apparatus as
                                   an excuse to invade Muslim lands to grab their oil!




https://thehill.com/blogs/pundits-blog/foreign-policy/305021-our-ally-turkey-is-in-crisis-a...                           5/23/2019
Our ally Turkey is in crisis and needs our support | TheHill               Page 3 of 4
          Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 33 of 72


                              To add insult to injury, American taxpayers are helping finance Gülen’s 160
                              charter schools in the United States. These schools have been granted more
                              H1-B visas than Google. It is inconceivable that our visa officers have approved
                              thousands of visas for English teachers whose English is incomprehensible. A
                              CBS “60 Minutes” program documented a conversation with one such imported
                              English teacher from Turkey. Several lawsuits, including some in Ohio and
                              Texas, point to irregularities in the operation of these schools.




                              However, funding seems to be no problem for Gülen’s network. Hired attorneys
                              work to keep the lucrative government source of income for Gülen and his
                              network going. Influential charities such as Cosmos Foundation continue their
                              support for Gulen’s charter schools.

                              Incidentally, Cosmos Foundation is a major donor to Clinton Foundation. No
                              wonder Bill Clinton calls Mullah Gülen “his friend.” It is now no secret that Huma
                              Abedin, Hillary Clinton’s close aide and confidante, worked for 12 years as the
                              associate editor for a journal published by the London-based Institute of Minority
                              Muslim Affairs. This institute has promoted the thoughts of radical Muslim
                              thinkers such as Qutb, al Bana and others.

                              The American public is being lulled into believing that Gülen is a Sufi scholar
                              who promotes the teachings of Rumi, the Persian poet, works to expand
                              interfaith dialogue and does a great job of providing American youth high-quality
                              education in math and science as well as English.

                              Voices of concern about this shady character are quickly muffled by his vast
                              network of public relations and legal professionals. He has established a false
                              façade that he is a moderate at odds with Turkey’s autocratic leader.

                              This image is a stark reminder of a great American mistake from another era —
                              one that has raised the cost of international security forever. We all remember
                              another quiet, bearded, elder cleric who sat under an apple tree in Neauphle-le-
                              Château in the suburbs of Paris in 1978.

                              He claimed to be a man of God who wanted to topple a dictator and return the
                              power to the people. Washington believed him. Sadly, shortly after his rise to
                              power through the Iranian revolution, we watched in horror as our diplomats
                              were taken hostage for 444 days in what was once one of our strongest allies in
                              the Middle East.

                              The world has never been the same since that irreversible mistake. Ayatollah
                              Khomeini, the quiet man of God under the apple tree, created the world’s top
                              sponsor of terror. His revolutionary guards created Hezbollah, the famous
                              Lebanon-based terror organization.

                              The Ayatollah’s terrorists have killed American servicemen and slaughtered
                              Iraqi Sunnis by the thousands, and his brutal Quds Force killed innocent Sunni




https://thehill.com/blogs/pundits-blog/foreign-policy/305021-our-ally-turkey-is-in-crisis-a...                     5/23/2019
Our ally Turkey is in crisis and needs our support | TheHill               Page 4 of 4
          Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 34 of 72


                                         civilians in Syria. Ultimately, ISIS became the radical Sunni’s response to the
                                         mayhem caused by our friendly mullah under the apple tree.

                                         History repeats itself when people repeat the mistakes of the past. It is time we
                                         take a fresh look at the importance of Turkey and place our priorities in proper
                                         perspective. It is unconscionable to militate against Turkey, our NATO ally, as
                                         Washington is hoodwinked by this masked source of terror and instability
Get the latest from
                                         nestled comfortably in our own backyard in Pennsylvania.
     The Hill
   Sign up for our daily email           We need to adjust our foreign policy to recognize Turkey as a priority. We need
                                         to see the world from Turkey’s perspective. What would we have done if right
          YOUR EMAIL
                                         after 9/11 we heard the news that Osama bin Laden lives in a nice villa at a
            Sign Up
                                         Turkish resort while running 160 charter schools funded by the Turkish
                                         taxpayers?

                                         The forces of radical Islam derive their ideology from radical clerics like Gülen,
                                         who is running a scam. We should not provide him safe haven. In this crisis, it is
                                         imperative that we remember who our real friends are.




                                         Lt. Gen. Michael T. Flynn (ret.) is the former director of Defense Intelligence
                                         Agency and the author of New York Times Bestseller “The Field of Fight.”




                                         The views expressed by contributors are their own and not the views of The Hill.

                                         TAGS HILLARY CLINTON BILL CLINTON



                                                                   SHARE                TWEET




  THE HILL 1625 K STREET, NW SUITE 900 WASHINGTON DC 20006 | 202-628-8500 TEL | 202-628-8503 FAX
  THE CONTENTS OF THIS SITE ARE ©2019 CAPITOL HILL PUBLISHING CORP., A SUBSIDIARY OF NEWS COMMUNICATIONS, INC.




https://thehill.com/blogs/pundits-blog/foreign-policy/305021-our-ally-turkey-is-in-crisis-a...                                5/23/2019
                   Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 35 of 72
                     Received by NSD/FARA Regiffli@ti.9.Il1llU1~~lil.Ji~92:45 PM
U.S. D.epartment or Justiee                   Re·g1stration Stateme·nt
Washingt0n. oc 20530                          Pursuant to the Foreign Agents Registration Act of
                                                                          1938, as amended

                                                                   I-REGISTRANT
I. Naine.ofRegist~ant

   Flynn Intel Group, ln·c.

2. Registra~ion No. (To Be Assigne_d       By tl)e FARA Regisftatio"ii Unit)
   6406
3. Principal Business Address
   44 Canal Center Plaza, Alexandria VA 22314




4_. rfih-e registfantis an iQdividi.Jal, furnish tliaollowing infoi:mation:
   (a) Residence address(es)




   (b)   Other business address(es), if any




   (c) Nationality

   (d) Year of birth

  (e)    Present citizenship

  (f) l_f pres_ent cit_i_z~i:isl)ip i:io~ acquired by bi~h, s.tate when, w.here and how acquired

  (g) Occµpat_ion


5. Ifthe registrant is not an in_di_vidul!-1, fu_mish t~_e following ii:ifor1riatipn:
  (a) Typ_e of organization: Committee D              Association D           Partnership 0       Voluntary group   D
                                    Corporation 18'.1                Other (specify) _ _ _ _ _ _ _ __
  (b) Date and place of organization Delaware Secretary of State, June 12, 2015
  (c) Address of principal office 44 Canal C~nter Plaza, Alexa:nclria VA 2_2314


  (d) Na1I1.e of person hi c_harge Mtchael T.. Flynn and Bijan Rafiekian

  (e) Locations of branch or local offices N/A                                                               GOVERNMENT
                                                                                                               EXHIBIT

  (f) Ifa membership organization, give numbe,r o(mC:mbe:rs N/A                                                      56
                                                                                                              1:18-CR-457

                                                                                                              FORM NSD-l
                                                                                                              Revised 03/14

                      Rec:eived by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                   US_v_Kian_00000368
                  Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 36 of 72
                      Received by NSD/FAR;A R<!~isJ;ratiP:r:i Unit 03/07/2017 6:02:45 PM

                                                                                                                                           (PAGE 2)

   (g) 1_,ist aJI partn~rs, offiC:ers. dfrec:;rors or persons per(o):1jiing th~ fu~ctions of an office_r or director of the registrant

        Name                              Residence Address( es)                          Position                           Nationality
    Micl:iael ,:. ~fynn              Prcl'iii9ed se·parately (o tl:ie       Cl:i~irm¥1 and C_EO                    u._s.
    Bijan Rafie_kian                 Depart.ment of Ju)ti_c~.               Yice-r.;hai_rl!lar:i, ~irectj;>r,      u_._s.
                                                                            Secretary, and Treas_ure·r
    Philip Oakley                                                           President                              U.S.




  (h) Whi~h ofth~ abo"ve ria_me:d pe_r~ons r_ende_rs se_ivice_s djrectly in ~eran~e ofth~ int_er~sts of any of the foreign principals?
    Michael T. Flynn, Bijan Rafiekian



  (i) Describe the nature of the registrant's regular business or activity.
    Flynn lritel Group is:a consulting firm that provided intelligence research and advisory services.



  (j) Give a complete statement of the ownership and control of the registrant.
    Ownership as of November·31, 2016, was as follows: Michael T. Flynn (350,000 shares), Bijan Rafieklan (300,000 shares),
    Philtp Oakley (250,000 shares), Dr. Payman Arabshahi (5;000 shares), Darkshore LLC (1,000 shares). The corporation acts
    pursuant.to its bylaws, under-which the Board of Directors governs the organization. Directors include Michael T. Flynn,
    Bijan Rafiekian, and Philip Oakley.




6. List all employees who render.services to the registrant directly in furtherance of the interests of any of the foreign principaJs in
   oth_er than ·a clerical, secretarial. or in_ a related or sim_ilar capacity.

  Name                                                   Residence Address(es)                                   Nature'ofServices
 Michael T. Flynn                              Provided separately to the Department                 Director,.consulting
 Bijan Rafiekian                               of Justice.                                           Director,.consultlng




                     Received by NS.D/FARA Registration Unit 0310112017 6:02:45 PM
                                                                            US_v_Kian_00000369
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 37 of 72
                             Received by NSD/FA_RA Registration Uni_t 03/07/2017 6:02:45 PM
                                                                                                                                                                                    (PAGE 3)


                                                       lb-FOREIGN PRINCIPAL
 7. List every foreig·n principa\ I for whom the registrant is acting Or has agTeed to act.
    Foreign Principal                                                                       Principal Address( es)
    l_novoBV                                                                                    47 Adi_rea~n~vaat, 3581             sc; Ultrecht, The N_etb~:rl_an~s




                                                                                 111--ACl'l\/l'flES.
 8. In addition to the activities described in any Exhibit B to this statement, wiil you engage or areyou engaging now in activity oil
    your own behalf which benefits any or all of your foreign principals?                                          Yes 181                   N_o   D
    If yes, describe fully.
     Because this is filed retrospective to activity under this engagement, we note that during the course.of the engagement and
     the~eafter, Flynn Intel Group officials·(particularly Micha.el T. Flynn, in his capacity as a public figure separate from Flynn Intel
     Group) frequently wrote, sp_oke, or provided interviews relating to national security. Although not undertaken at the
     direction qfariy foreign prir:icipal, i_(i~lu:ding but no_t limited to lnovo, it is possible that such activities may have had an
     indi_rect be):i_efit to lnovo BV.




                                                                  1\/-FIN~CIAL I_NFORMATION

9. {a) RECEIPTS-MONIES
     During the period.beginning 60 days prior to the date of your obligation.to registerl to the time·oftiling this statement,
     did:ydu ~ece_ive from any foreign principal named in rtem 7 any contribution, income,.or money either as compensation or for
     disbursement or otherwise?       Yes D            No eg                                         ·
     If.yes, set forth b_elow in the required detail and separately for each such foreign principal an account of such monies. 3

     Foreign Principal                                           Date Received                                        Purpose                                            Aniowit
                                                                                               Becaus_e this is a retroactive reg lstration,
                                                                                               re:c:e_ipt~ appear 0".1      t~e
                                                                                                                        s_upple_mental
                                                                                               state·merit filed concuhently.




                                                                                                                                                                           Total
l The term "foreign principal," as defined m Section l(b) of the Act, mdudes a foreign government, foreign pohtical party. foreign orgamzntton, foreign 111d1v1duiil an£ f~r ,h-~
  purpose of registration,.an organization or an indi~idual any of whose activities are directly or indirectly supervised, directei:l, control led, financei:I. or subsidizeil in whole or in
  major part by a foreign government. foreign political party. foreign organization or foreign individual.
2 An agent must register within ten days of becoming an agent, and before acting as such.-
                                                                                                                           of
3 A registrant is required to file·an Exhibit D if he collects or receives contributions. loans, moneys, or other things value for a foreign prineipal, as part of a fundraising
  campaign. There is no printed form for this exhibit. (See Rule 20l(e), 28 C.F.R. § 5.201(e)).


                            Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                  US_v_Kian_00000370
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 38 of 72
                            Receiv~~fby NSD/F'.ARA Registrat,ipn Un.it 03/07/2017 6:02:45 PM
                                                                                                                                                                               (PAGE 4)

      (bfRECEIPT~THINGSOFVALUE-                                   - - -                           -- . -      .         .
      During the period beginnin·g 60 days prior to the date of your obligation to register4 to the time of filing this statement, did you
      receive from any foreign principai named in Item 7 anything ofvalue5 other than money, either as compensation, or for
      disbursement, or otherwise?              Yes D              No 181
       If yes, furnish the foltowing infonnation:
       Foreign Principal                                    Date Received                                Thing of Value                                         Purpose




      Duri11g the period beginning 60 days prior to the date of your obligation to register6 to the time offiiing this statement, did you
      spend or disburse any money in furtherance of or in connection· with your activities on behalf of any foreign principal named in
      Item 7?                Yes D            No [gJ

      I.f yes, se_t foi:th be_low ii:t tJiere.quired detai_l m:id separately for e_a,ch such for_eign pi:i_ncipal named inducting i:noriies transmitted,
      if any, to each foreign principal.
      Date                                                     To Whom                                        Purp~s~                                           Amount
                                                                                          . Because this is a retroactive registration,
                                                                                            d·isbursements appear on the
                                                                                            supplemental statement filed concurrently.



     ,(b).DISBURSEMENTS-TH_INGS OF VAJ,,UE
      During the period beginning 60 days prior to the date of your obligation to register7 to the time of fliing this statement, did you
      dispose:ofany thing ofvalue8 other than money in furtherance of or in connection with your activities on behalf of any foreign
      principal named in Item 7?    Yes D            No [8]
      lfyes, furnish thefollowing information;

                                     Re~ipi_en_t                       Foreign Principal                          Thing ofValu_e                                Purpose




      (c) I>ISBURSEl\-'.IENTS-POLITICAL CONTRIBUJ'IONS
      During the period beginning 60 days prior to the date of your obligation to. register9 to the time of filing this statement,.did.you,
      the registrant, or ariy short ~onn regisfrailt, n:_iake ~Y con,t_rit:,~t_i(>:n 9f mo~_ey or i;i_thej th_ing of value from your own funds arid on
      your own behalf in connection with an election to any political office or in coruiection with ariy primary election, convention, or
      caucus held to select candidates for any po"i°itical office?   Yes D             No 18'.l
      If yes, furnish the following infonnation:

      Date                  An:iP:urit cir Thi_ng of\'aj:ue             Political Organization or Candidate                                   Location of Event




4. 6, 7 and 9 See Footnolc 2, on page 3.
5 and 8 Things of value include but are not Iimitcd to gifts, interest free loans, expense free travel, favored stock purchases, cxclu.\ivc rights, favored 1rca1mcnr over competilon;,
          "kickbacks", and the like.



                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                              US_v_Kian_00000371
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 39 of 72
                        Re~eive<J by NSD/F ARA Regist.ration Unit 03/07/2017 6 :02:45 PM
                                                                                                                                                                                  (PAGE 5)


                                                              V-INFORMATIONAL MATERIAJ..S ' 0

 11. Will the activities of the registrant oil behalf of any foreign· prin·cipal include the preparation or dissemination ofinformatiorial
     'Ila.t.erials?·   .      Yes 18] .                        No tJ                                     .
      IF YES, RESPOND TO THE REMAINING ITEMS IN THIS SECTION V.

 12. Identify each such foreign principal.
       lnovo BV.




13. Has a ou'dget been estil.blislici:l or specified s'i.frri of money' allocated to finance your activities in preparing or disseminating
    infonna_tion:itl.i:z'iatei:iaJs? ·             Yes D                 No 18]       ·            ·     ·                      '     ·

     lfye_s, identi7 each such f~reign principal, specify anioui)t and for what period oftim·e.
       S_ee attach.merit.




14. wm any public relations firms o~ publicity agents participate. fu tiie preparation or 'ciisseminaiion of such informational materials?
             Ye.s   ~                 N_o []

     If ye~, furnish the names and addresses of such persons or finns .
       .See attachment.




15. Ac_t,ivi~ies in preparing or dis~_em_inating ii:i_forqiational .materials will include the use of the following:

D Rad.io or TV broadcasts                      D Magazine or newspap·er D Motion pi_cJ1ire fi1111s        D L~tte:rs or te_l_egi:arris
D Advertising·campaigns                        D Press releases         D Pamphlets or other publications D Lectures or speeches
~ Other (specify) See attachment.
Electronic Comm·unications
D t;:m_ail
0 Website URL(s):
                   --------------------'-----"---'----------------
0 Social media website URL(s):
~ Other (specify) See attachment.
                          ----,---:-:--------:-------------------------------
16. Informational materials wiii be disseminated among the following.groups:
            D Public officials                                                         D     Civic groups or associations
            D Legislators                                                              D Libraries
            D Government agencies                                                      D Educational groups
            D Newspapers                                                               [] Nationality groups
            O Edi~ors                                                                  [8] Other (specify) See attac;hment.

17. Indicate language to be used in the informational materials:
            181 English                                                                 O Other (specify)
                                                                                                                   ------------
lO Ttie·tenn' itifomiation·al ·materials incliides·aiiy oritl, visual, graphic, written, or pictorial infonnation or matter of any kind, including that published by means of advertising, .
   books, periodicals, newspapers. lectures, broadcasts, motion pictures, or any means or instrwnentality of interstate or foreign co~merce. or othe~ise. ·1nformationat"materials
   disseminated by an agent of a foreign principal IIS part of an activity in itself exempt from registration, ~ran ecti~ity which by itsefr would not'require registration, neclnot be
   filed pursuant to Section 4(b) of the Ac!.                                               ·                                                                  ·   ·

                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                 US_v_Kian_00000372
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 40 of 72
                        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                                (PAGE 6)

                                                              VI--EXHIBITS AND ATTACHMENTS

 18. (a) The fol101Ning describ.ed exhibits shall be filed with an initial registration statement:

     Exhibit A-          This exhibit, which is filed on Fonn NSD-3, sets forth the information required to. be disclosed concerning each
                         foreign principal named in Item 7.

     Exhibit B-          This exhib(t, which is filed on Form NSD-4, sets forth the infoifoatioil concerning the agreement or understanding
                         between the registrant and the foreign principal.

     (b) An Exhibit C shall be filed when applicable. This exhibit, for which no prin,ted form is provided, consists of a true copy of
         t.he chart~r. arti_cle,s ofin~orporll_tion, association. con_stitution, an:<J bylaws ofa registrant that _is an organizatio·n. A waiver of
         the requirement to tile an Exhibit C may be obtained for good cause shown upon written application to the Assistant Attorney
         Generai, National Security Division, U.S. Department of Justice, Washington, DC 20530. (See Rule.201(c) and (d)).

     (c)     An Exh_i_bi~. D sh~II be fil_~d when ap·pli_cabl.e. This exhibit, fo_r wl_l_icl_l ,r,10 ptjrit~d forn:i i_s provided, ~~ts forth an accoui:iJ of
             money collected or received as a result of a fundraising campaign and transmitted for a foreign principal. (See Rule.201 (e)).




In accordancewith 28 U.S.C. § 1746, the undersigned swear(s) or affirrn(s) under penalty of perjury that he/she has (they have) read
the information set forth in this registration statement and the attached exhibits and that he/she is (they are) familiar with the contents
thereof and that suqh contents are in their entirety true and accurate to the best ofhis/he"r (their) knowledge and belief, except that the
undersigned.make(s) no represen~ti,cin as to truth or ac·curacy C?ftJ1e·in.fo~!):tati_or:i c.()r:i~a.it:i~d ir:i. t.~~ at_ta~'-1.ed SJ:tort Fo~ Regis_tratiori ·
Statement(s), if any, insofar as such information is not within his/her (their) personal knowledge.

  (Date of sig1Jat1,1te)                                                           (Print or type name under each signature or provide electronic signature 11 )



March 07, 2017                                                                                    /s/ Michael T. Flynn                                                       eSigned




I I This statement shall be signed by the individual agent, if the registrant is an individual, or by a majority of those partners, officers, directors o"r persons pcrfbnning similar
    functions, if the registrant is an organization, except lhal the organi7Jltion can, by power of attorney, authorize one or ·more individuals to execute this statement on its behalf.


                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                 US_v_Kian_00000373
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 41 of 72
        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

Flynn ftJ.(el Group, Inc., R,egis_tration S.tqtem_e_n_t

                                                 Attachment

Items 11~17

        Pursuant to the contract between Flynn Intel Group and Inovo BV, the parties anticipated
that Flynn Intel Group would engage a pubiic relations firm, Sphere Consulting, and engage a
film production crew for the creation of a video. The public relations firm (S.GcR. LLC
Go.vernmeiit Relations arid Lobbying} was engaged but the video was not completed or
disseminated, to the best of our·understandihg. The b~dget for these activities was reflected in
the engagement contractwith.S.G.R. LLC Government Relations and Lobbying; no separate
budget rel~ted to inform~(ional n:ia~~_ri_als. Becau~ tp_i_s i_s a retroa:ctjve regist_rati~n prepare(i a~e.r
Flynn Intel .Group had already begun to close-operations, this registration is based on
documeIJ..t~Ji.or:i cu.rr~n_t_ly ~va.i_lable to Fiy1rn Int~l Group. If ~d4j#o:r)~J re_l~vant inform..ation is
later identified, Flynn Intel Group will amend its registration.




         Rec·eived by NSD/F ARA Registration Unit 03/07/2017 6:02 :45 PM
                                                                                        US_v_Kian_00000374
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 42 of 72
                            Received by NSD/FARA Reg~U-J§lUP-PJ:Jilnt*,,QJ/i-07.,{~lo726ii:-02:45 PM
 U,S ..Department of Justice                                                          Exhibit A to Registration Statement
 Washingtc:m, DC 20530                                                                Pursuant to the Foreign: Agents Registration Act of
                                                                                      1938, as amended

 INSTRUCTIONS. Furnish this exhibit for EACH foreign principal listed in an initial staternent and for EACH additional foreign principal acquired
 subsequently. The filing of this document requires the payment of a filing fee as set forth iri Rule (d)(J), i8 C.F.R. § 5.5(d)( l): Compliance is
 accomplished by filing an electronic Exhibit A form at.b.Un;Uwww.farn_.gov.

 Privacy Act Statement. The filing of this document is requil"f!d by· the Foreign Ag~nts R(;!gistration Act of J938, as ~encjed, 22 U.S.C. § 611 et seq.,
 for the purposes of registration under the Act and public disclosure. Provision of the information requested is maridatofy, arid failure to provide tliis
 information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
 regis.tration statement, supple.mental statement, exhibit, amendment, copy of informational materials or other document or information filed with the
 Attorney General under this Act is a.public record open to public examination, inspection and copying during the posted business hours of the
 Registration Unit in Washington, DC. Sta,tements a,re also l!,Vail_able onHne at thf! Registration Unit's webpage: http://www.fara.gov. One copy of
 every such document, other than informational timterials, is automatically provided to the Secretary ofState pursuant to Section 6(b) of the Act, and
 copies of any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The
 Atfomey General also transmits a semi-annual report to Congress on the administration of the Act which lists the names of all agents registered under
 the Act and the foreign principals they represent. This report is available to the public in print and online at: http://www.fara.gov.
 Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .49 hours per response, including the
 time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed,.and completing and reviewing the
 collection of information_. Send comments regarding this bµrden estimate or any other aspect of this collection of information, including suggestions
 for reducing this burden to Chief, Registration Unit, Counterespionage Section, National Security Division, U.S. Department of Justice, Washington,
 DC 20530; and to the Office oflnformation and Regulatory Affairs, Office ofMana,gement and Budge~ Washi_ngton, DC 20503.

 I. Name and Address of Registrant                                                                                                               2: Registration No.

   Flynn Intel Group, Inc.                                                                                                                                 6406
   44 Canal Center Plaza, Alexandria, VA 22314

 3. Name of Foreign Principal                                                           4. Principal Address of Foreign Principal
   lnovo BV                                                                               47 Adriaanstraat, 3581 SC Utrecht, The Netherlands




 5. Indicate whether your foreign principal is one of the following:
          [J Government of a foreign country 1
          D Foreign political party
          IE] Foreign or doinestic organization: If either, check one of the following:
                         D     Partnership                                         D    Committee
                         l&l   Cotpotation                                         D    Voluntary group
                         D     Associati.on                                        D    Other (specify)
          ~ I Individual-State nationality            ------'-----------------------------
6. If the foreign principal is a foreign gov~rrtment, state:
          a) Branch or agency represented by the registrant



            b) Name and title of official with whom registrant deals


7. If the foreign principal is a foreign political party, state:
          a) Principal address

                                                                                                                                                                GOVERNMENT
                                                                                                                                                                  EXHIBIT
            b)    Name and title of official with whom registrant deals
                                                                                                                                                                         58
            c)    Principal aim                                                                                                                                   1:18-CR-457

i ''Governmeiit o(a foreign country." as defined in Section I(e) of the Act, includes any person or group of persons exercising sovereign de facto or de jure political jurisdiction
over a.f1Y co1intry, other than the United States, or over any part of such cowitry. and i_ncludes a_ny su_bdivision of any such group and any group or agency to which such sovereign de
facto or de jure authority or functions are directly or indirectly delegated. -Such tenn shall include any faction or body of insurgents ,vithin a country assurriirig to exercise
governmental authority whether such faction or body of insurgents has or has not been recognized by the United States.
                                                                                                                                                                          FORMNSD-3
                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM                                                                                   Revised 03/14


                                                                                 US_v_Kian_00000316
                Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 43 of 72
                  Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

8. If the foreign principal is not a foreign government or a foreign political party:
          a) State the nature of the business or activity of this foreign principal.
              See attachment.




         b) Is this foreign principal:
         Supervised by a foreign government, foreign political party, or other foreign principal                         Yes   O No l2SI
         Owned by a foreign government, foreign political party, or other foreign principal                              Yes   tJ   No Q9
         Directed by a foreign government, foreign political party, or other foreign principal         See attachment. Yes   O      No ~
         Controlled by a foreign government, foreign political party, or other foreign principal                         Yes O      No Q9
         Financed by a foreign government, foreign political party, or other foreign principal                           Yes O      No~
         Subsidized in part by   a foreign government, foreign political party, or oUier foreign principal               Yes O      No (251


9. Explain fully all items answered "Yes" in Item 8(b). (lfad_ditional space is needed, a full jn_sert page must be used.)




I0. If the foreign principal is an organization and is not owned or controlled by a foreign government, foreign political party or other
    foreign principal, state who owns and controls it
   See attachment.




                                                              EXECUTION

   In accordance with 28 U.S.C. § 1746, the undersigned swears ot affirms under penalty of perjury that he/~he has read the
   information set forth in this Exhibit A to the registration statement and that he/she is familiar with the contents thereof and that such
   contents are in their entirety true an~ accurate to the best of his/her knowledge and belief.



Date of Exhibit A    Name and Title                                                     Signature

 March 07, 2017        Michael T. Flynn, Chairman and CEO                               /s/ Michael T. Flynn                         eSigned


                    Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                               US_v_Kian_00000317
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 44 of 72
         Received by NSD/FARARegistration Unit 03/07/20176:02:45 PM

Flynn Intel Gr(!UP, Inc., Registration State~ent, Exhibit A


                                           Attacbment

Items 8-10

       Inovo BV ("lnovo") is a Dut9h company incorporated in 2005 to provide business
consultancy services. Flynn Intel Groµp understands the sole owner oflnovo BV to be Mr. Ekim
Alptekin.

       According to Arent Fox, LLP, counsel to Mr. Alptekin:

    1. lnovo is a privately owned com:pany that has not received, directly or indirectly; funds or
       financial support from any government during the course of its engagement of Flynn Intel
       Group Inc., tncluding the Republic of turkey.

    2. At the time Inovo hired Flynn Intel Group, Inovo reptesertted a private sector com.party in
       Israel that sought to export natural gas to Turkey, and it was for support of its consulting
       work for this client that Inovo engaged Flynn Intel Group, specifically to 1J,nderstand the
       tumultuous political climate at the time between the United States and Turkey so that
       Inovo could advise its client regarding.its business opportunities and investment in
       turkey.

   3. Mr. Alptekin is a businessman who holds a rtumbet of positions in international business
      organi.7:ations, such as Honorary CmmsuJ to the Repµblic of Albania, and Chairman of
      the Turkish-American Business Council. Mr. Alptekin and any organiza,tion in which he
      participates are not agents of the government of the Republic of Turkey.

        Flynn Intel Group does rtot krtow whether or the extent to which the Republic of Turkey
was involved with its retention by Inovo for the three,,.month project. Flynn Intel Group is aware
that Mr. Alptekin consulted with officials of the Republic of Turkey regarding potential work by
Flynn Intel Group, and Mr. Alptekin introduced officials of the Republic of Turkey to Flynn
Intel Group officials ata meeting on September 19, 2016, in New York.




        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                US_v_Kian_00000318
                   Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 45 of 72
                     Received by NSD/F ARA RegisM":etfw.t\~~:Q~Q71~JJ,2~:.P2:45 PM
lJ.S. Department of Justice                    Exhibit B to Registration Statement
wa~hington, DC 20530                           Pursuant to the Foreign Agents Registration Act of
                                               1938, as amended

INSTRUCTIONS. A registrant must furnish as an Exhibit B copies of each written agreement and the terms and conditions of each oral agreement
with his foreign principal, including all modifications of such agreements, or, where no contract exists, a full statement of all the circwnstances by
reason of which the registrant is acting as an agent.of a foreign principal. Compliance is accomplished by filing an electronic Exhibit B form at
http:/foww.fara.ggy.

Privacy Act Statement. The filing of this document .is required for the Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq.,
for the purposes of registration under the Act and public disclosure. Provision .of the information requested is mandatory, and failure to provide
the information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
registration statement, supplemental Stl!te_rnent. exhibit, am(;)ndment, copy of informational m~terials or o~er document or information filed with the
Attorney General uilder tliis Act is a public record open to public examination, inspection and copying during the posted business hours of the
Registration Unit in Washington, DC. Statem.ents are also available on.Hne at the Registration Unit's webpage: hnp_;/.~'&.\:'.1¥,.fori!.l,?,Q\:'.. One copy of
every such document, other than infonnational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and
copies of any a:nd all documents are routinely made available to other agencies, departnients and Congress pursuant to Section 6(c) of the Act. The
Attorney General also transm.its a semi-annual report to Congress on th~ admin.istrat_i.on of the Act whic!i lists the names of all agents registered under
the Act and the foreign principals they represent. This report is available to the public in print and online at: http://www.fara.gQY.
Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .33 hours per response, including the
time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviev,ing the
collection of information. Send comments regardi.ng this burden estimate or any other aspect of this collection of information, includit1g suggestions
for reducing this burden to Chief, Registration Unit, Counterespionage Section, National Security Division, U.S. Department of Justice, Washington,
DC 20530; and to the Office oflnformation and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.


1. Name of Registrant                                                        2. Registration No.

     Flynn Intel Group, Inc.                                                      6406

3. Name of Foreign Principal

     lnovo BV


                                                               Check Appropriate Box:

4.   ~   The agreement between the registrant and the a.hove-named foreign principal is a formal written contract. If this box is
         checked, attach a copy of the contract to this exhibit.
5.   D   There is no formal written contract between the registrant and the foreign principal. The agreement with the above-named
         foreign principal has resulted from an exchange of correspondence. If this box is checked, attach a copy of all pertinent
         correspondence, including a copy of any initial proposal which has been adopted by reference in such correspondence.

6.   D   The agreement or understanding between the registrant and the foreign principal is the result of neither a formal written
         contract nor ail exchange of correspondence between the parties. If this box is checked, give a complete description below of
         the terms and conditions of the oral agreement or understanding, its duration, the fees and expenses, if any, to be received.

7. Describe fully the nature and method of performance of the above indicated agreement or understanding.
     See. attached contract.·




                                                                                                                                               FORMNSD-4
                                                                                                                                               R.evi.sed 03/14
                      Received by NSDIFARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                         US_v_Kian_00000319
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 46 of 72
                             Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

 8. Describe fully the activit_ies the regi?trant engages in or proposes to t!ngage in on behalf of the above foreign prfocipal.
      Flynn Intel Group was tasked to perform investigative research for a specified scope of work using its laboratory team of
      senior defense, diplomacy, development, and intelligence professionals over a three-month period; Flynn Intel Group was
      to retain an experienced filming a_nci production crew in order to develop a short film piece on the results of its
      investigation, and a public affairs firm to utilize for public affairs as needed. Flynn Intel Group held weekly calls with the
      client to report engagement progress.




 9. Will the activities on behalfoftheabove foreign principal include political activities as defined in Section l(o) ofthe Act and in
    the footnote below? Yes l8]         No D

     lfyes, describe all such political activities indicating, among other things, the relations, interests or policies to be influenced
     together with the means to be employed to acl_lieve t_his purpose.
      See response to item 8.




                                                                                   EXECUTION

  In accordance with 28 U.S.C. § 1746, the undersigned swears or affirms under penalty of perjury that he/she has read the
  information set forth in this Exhibit B to the registration statement and that he/she is familiar with the contents thereof and that such
  contents are in their entirety true and accurate to the best of his/her knowledge and belief.


Date of Exhibit B                  Name and Title                                                          Signature
March 07, 2017                    Michael T. Flynn, Chairman and CEO                                       ts/Michael T. Flynn                                                 eSigned
Footnote: "Poht1cal act1v1ty," as defined in Section l(o) ofttic Act,."n1eans an}· activity which the person engaging in believes will, or that the person intends to, many way mtluence
any agency or official of the Government of the United States or any scctiory ofthe public within theUn_ited States with reference to formulating, adopting, or changing the
domestic or foreign policies of the United States or with reference to the political or public interests, pol_icies, or relations of a gove"rninent of a foreign country or a foreign political
party.              .



                            Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                  US_v_Kian_00000320
     Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 47 of 72
       Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

:.


                      Independent Advisory Services Agreement




             Matar, of lb@ N1at11uJafia lpfflyg lbtc8ePl 114 Qa!slffw:




       Received by NBD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                         US_v_Kian_00000321
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 48 of 72
  Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM




       'll;nn M4 tmpfngtlpp




       Compniilloa l'or   advlsar=-·
       t11omnc1 dollan) . .
                                      ll=alonal semces Is a firm. fixed price ofl600,000 (Sill hl!lldral.
                                   _ or 11ne paymems or S200.000 (Two lwndled ~ ~ J
       lollowfna d1uclllld11le .... ,
             •   Fir.fl ~ of IZtJO,IIJO
                 ~        o/tllts.,._,., .
                                                  ""'° lnllllnd "'"""""'      4olla,aj . . "' ,,,. . . "' ••

             • 8M:aRtl lllllllibMat oiaoo.ooo (1w llllfUlnll       tlul...,,   dw till Odo6ilr.P, 1016.
             • 'itfl'd ~ tt/ atlfl,IIOO (lnio lr1111dHtl lltotiltnul """"'- <• 1111 N ~ P',
                 2016.


      TIie uave coaiplnlallon Rama do 11111 &dude tilr/ Imel, lodalaa ind per c11cm 111p1111111, rr
      lnlwl Is deemed neccamy by die clicnl, eilniall:d expenses •hall be ~ fO the client In
      advance l'or approval by the client and 8llll!lldment ro thla agreemtlld Ir IIIICIIIDI)', 'i1ie advllllr
      shall aat Incur·any adclldo!ml ....- ro the above klt8I fared •C08II \llilJmut a prior wrlUla
      approval t'orsper:lflc ~ d ~ neceamy by die clleat(t11111U ~ ~ I s ~ ) .
      CogffflgflgHtr

      TIit i.m and cand111o~ or lhS. ...-.,1111 shall remalll confid!l_nllal. Paitla 88fllC m, mallllllln
      t,adl odler'I lnf'Offl_1!1llon '" a_irict conffdcnco dnuahoul die CCllg'le or Ibis engap1111111 ll!d aftw
      ill llml'-JCIII. TIit advisor 8811!11 to 1'8111111 all aucb conlldmltlal material kt lhe clleat at the etl!I
      or the enpgemenL Furd_lcr, part_lea agn:e th!l1 no public IIIIIOIIIICIIIIIIIII orlhe
                                                                                     rmpa or delails           or
      dill ~ ll_lall be made without wlfnr!n appn,vat orbl)th palllal during the course o_rlhe
      ~ Parties as,ee co lbict oompllance with thla ~ llae ~ pllllles undelSland thal
      dllcloslng the delalla orthis enppmant will edvmaly Impact Iha quality           or111e
                                                                                      lnvadptlom.

      srpei11,y:
      INOVO 8V (TIie Nedleltancll)                         Flynn Intel On,up. Inc.
      Cap&. Elclm Alplclcln                                Lfeuleilant Genn Mtchael T. FlyM
      Qal1111111 and CEO                                   Cludnnan and CEO - - .
                                                                                                                l




 Received by NSD/F ARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                     US_v_Kian_00000322
    Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 49 of 72
      Received by NSD/FARA Registration Urtit 03/07/2017 6:02:45 PM

                                                                •

a

                 .t    .   -




                                                           3




      Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                           US_v_Kian_00000323
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 50 of 72
                        Received by NSD/FARA Reg~iP112UmtQMi0s7iJli>:k72~;,02:45 PM
U.S. Department of Justice                                                          Supplemental Statement
W~h_ington, DC 20530                                                                Pursuant to the Foreig11. Agents Registration Act of
                                                                                    1938, as amended

                                                         For Six Month Period Ending Nov. 30, 20! 6
                                                                                                         (Insert date)


                                                                            I - IU:GISTRANT

 l. (a) Name of Registrant                                                           (b) Registration No.

          Flynn Intel Group, Inc.                                                          6406

     ( c) Business Address( es) of Registrant
          44 Canal C:eriterPlaza, Alexandria, VA 24314




2. Has there been a change in the information previously fumishecl in connection with the following?
    (a) Ifan individual:
        ( 1) Residence address( es)         YesO             NoO
        (2) Citizenship                     Yes D            NoO
        (3) Occupation                      Yes[]            No[]
      (b) If an organization:
          (I) Name                                          Yes D                   No 12]
          (2) Ownership or control                          Yes D                   No l8j
          (3) Branch office_s                               Yes[]                   No ~ Flynn Intel Group's sole office closed in November 2016;
     (c) Explain fully all changes, if any, indicated in Items (a) and (b) above.
            Flynn Intel Group, Inc. suspended activities in November 2016.




                       IF THE REGISTRANT IS AN INDIVIl)UAL, OMIT RESPONSE TO ITEMS3, 4, AND 5(a).
3. If you have previously filed Exhibit C 1, state whether any changes therein ha:ve occurred during this 6 month reporting period.
          Yes D                       No Bl
    Ifyes, have you filed        l:Jcflamenclment to tl_le Exhibit C?               Yes D                   NoO
    If no; please attttc}J the. required amendment.



                                                                                                                                                                 GOVERNMENT
                                                                                                                                                                   EXHIBIT
                                                                                                                                                                          61
                                                                                                                                                                   1:18-CR-457
I The Exhibit C, for wfoch no 11nnted fonn 1s provided, consists of a true copy of the charter. art,cles·ot m~orporatmn; assoc,~tJon, and by l_aws of a registrant that 1s an
  organization. (A waiver ofihe requirement to file an Exhi_bit C may be obtafaed for good cause upo·n written applicaticiri to the Assistant Attorney General, National Security
  Division, US. Department of Justice, Washington. DC 20530.)
                                                                                                                                                                   FORM NSD-2
                                                                                                                                                                   Revis.eel 03/14
                          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                           US_v_Kian_00000347
                  Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 51 of 72
                       Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                (PAGE2)

4. (a) Have any persons ceased acting as partners, officers, directors or similar officials of the registrant during this 6 month repo~ing period?
                    Yes D             No 181
       Ifyes, furnish the following information:
       Name                                                                  Position                              Date Connection Ended




   (b) Have any persons become partners, officers, directors or similar officials during this 6 month reporting period?
                     Yes D              No 181
       If yes, furnish the following information:
       Name                                Residence Address                   Citizenship               Position                 Date Assumed




5. (a) Has any person named in Item 4(b) rendered services directly in furtherance of the interests of any foreign principal?
                     Yes D             No D
       If yes, identify each such person and describe the service rendered.




   (b) During this six month reporting period, has the registrant hired as employees or in any other capacity; any persons who rendered
       or will render services to the registrant directly in furtherance of the interests of a:ny foreign principal(s) in other than a clerical or
       secretarial, or in a related or similar capacity?      Yes D               No 181

      Name                                  Residence Address                     Citizenship                  Position          Date Assumed




   (c) Have any employees or individuals; who have filed a short form regi_stration statemeQt, terminated their employment or
       connection withthe registrant during this 6 month reporting period? Yes 12:1               No D
       If yes, furnish the following information:
       Nan1e                                                    Position or Connection                            Date Terminated

                                                    Flynn Intel Group, Inc. suspended activities in
                                                    November 2016.


  (d) Have any employees or individuals, who have filed a short fonn registratfon statement, terminated their connection with any foreign
      principal during this 6 month reporting period? Yes 181             No D                                                         ·
      Tfyes, furnish the following information:
      Name                               Position or Connection                     Foreign Principal                     Date Terminated
                                                                         The contract between lnovo BV ahd
                                                                         Flynn Intel Group ended by its terms
                                                                         on November 15, 2016.


6. Have short form registration statements been filed by all of the persons narped in Items 5(a) and 5(b) of the supplemental statement?
                    Yes tJ            No tJ
   If no, list names of persons who have not filed the required statement.




                      Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                      US_v_Kian_00000348
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 52 of 72
                            Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                              (PAGE 3)

                                                                       II - FOREIGN PRINCIPAL

7. Has your connection with any foreign principal ended during this 6 month reporting period?                                            Yes 18]                 NoO
   If yes, furnish the following information:

     Foreign Principal                                                                                                           Date ofTennination

     1.novo BV                                                                                                        November 15, 2016




8. Have you acquired any new foreign principal(s) 2 during this 6 month reporting period?                                               Yes    D                 No 18]
   Ifyes, furnish th following infonnation:

    Name and Address of Foreign Principal(s)                                                                                        Date Acquired




.9. In addition to those named in Items 7 and 8, if any, list foreign principal(s) 2 whom yoµ continued to represent during the 6 month
    reporting period.




10. (a) Have you filed exhibits for the newly acquired foreign principal(s), if any, listed in Item 8?
        Exhibit A3                 Yes O             No 0
        Exhibit 8 4
                                   Yes O             No 0
          lfno, please attach the required exhibit.

     (b) Have there been any changes in the Exhibits A and B previously filed for any foreign principal whom you
         represented during this six month period?                    Yes D              No l8J
          If yes, have you filed an amendment to these exhibits?                                 Yes   O                  No   0
          Ifno, please attach the required amendment.




2 The term "foreign principal" includes, in addition to those defined in Section l(b) of the Act, an individual organization any of whose activities are directly or indirectly
   supervised, directed, controlled, financed, or subsid.i.zed i.n whole or in major part by a foreign government, foreign political party, foreign organization or foreign individual.
   (See Rule tOO(a) (9)). A registrant who represents more than one foreign principal is required fo list in the statements he files under the Act only those principals for whoni he
   i.s not ent.it]ed to clai!n exemption un.der Section .3 of the Act (See Rule 208.)
3. T~e Exhi.bit A. which is filed on Fo.rm NSD-3, sets forth t.he information required to be disclosed concerning eacl~ foreign principal.
4 The Exhibit B, which is filed on Form NSD-4, sets forth the information concerning the agreement or understanding between the registrant and the
   foreign prii:icipaL

                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                 US_v_Kian_00000349
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 53 of 72
                           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                               (PAGE 4)

                                                                              III - ACTIVITIES

 11. During this 6 month reporting period, have you engagedin any activities for or rendered any services to any foreign principal
     named in Items 7, 8, or 9 of this statement?            Yes IBI             No CJ

       lfyes, identify each foreign principal and describe in full detail your activities and services:
      See attachment.




 12. During this 6 month reporting period, have you on behalf of any foreign principal engaged in political activity 5 as defined below?
             Yes~                    No   D
      lfyes, identify each such foreign principal ancj describe in full detail aH such political activity, indicating, among other things,
      the relations, interests and policies sought to be influenced and the means employed to achieve this purpose. lfthe registrant
      arranged, sponsored or delivered speeches, lectures or radio and TV broadcasts, give details as to dates, places of delivery,
      names of speakers and subject matter.
      See attachment.




13. In addition to the above described activities, if any, have you engaged in activity on your own behalf which benefits your
                                                                                                                                                                                          I
    foreign principal(s)?       Yes l8]             No D

      lfyes, describe fully.
      Because of its expertise, Flynn Intel Group officials frequently write, speak, and give interviews on issues related to
      national security. Although not undertaken at the direction or control of a foreign principal, it is possible that such
      activities may have an indirect benefit to a principal. On his own initiative, Michael T. Flynn published an op-ed in The Hill
      on November 8, 2016, that related to the same subject matters as the Flynn Intel Group work for lnovo BV. Neither lnovo
      BV, nor any other person requested or directed publication of the op-ed.




5 "Political activity," as·defined in Se:Ction l(o) of the Act, means any activity that the person engaging in believes will, or that the person intends to, in any way influence any
  agency or official of the Government of the United States or any section of the public within the United States with reference to formulating, adopting or changing the domestic
  or foreign policies of the United States or with reference to political or public interests, policies. or relations ofa government of aforeign country or a foreign political party.
                          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                              US_v_Kian_00000350
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 54 of 72
                            Received by NSDIFARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                                (PAGE 5)

                                                                 IV"' FINANCIAL INFORMATION
 14. (a)     RECEIPTS~MONIES
             During this 6 month reporting period, have you received from any foreign principal named in Items 7, 8, or 9 of this
             statement, or from any other source, for Or in the interests of any such foreign principal, any contributions, income or
             money either as compensation or otherwise?              Yes ~              No tJ

             Ifno, explain why.




             If yes, set forth below in the required detail and separately for each foreign principal an account of such monies.6
             bate                                     From Whom                                             Purpose                                             Amount
             See 1:1ttachment.




                                                                                                                                                                   Total

     (b)     RECEIPTS- FUNDRAISING CAMPAIGN
             During this 6 month reporting period, have you received, as part of a fundraisihg campaign7, any money on behalf of any
             foreign principal named in Items 7, 8, or 9 of this statement?           Yes O           No~
                                                             8
             If yes, have you filed an Exhibit D to your registration?                                           Yes    D                 NoO

             If yes, indicate the date the Exhibit D was filed.                         Date-----~---

     (c)     RECEIPTS-THINGS OF VALUE
             During this 6 month reporting period, have you received any thing ofvalue9 other than money from any foreign principal
             named in Items 7, 8, or 9 of this staten1ent, or from any other source, for or in the interests of any such foreign principal?
                     Yes O              No~

             If yes, furnish the following information:

            Foreign Principal                                       Date Received                           Thing of Value                                     Purpose




6, 7 A registrant is required to file an Exhibit D if he collects or receives contributions, loans, moneys, or otber things of value for a foreign principal. as part of a fundraising
    can1paign. (See Rule 20J(e)).
8 · An Exh.ibit D, fof which no printed fom1 is provided. sets forth an aceowlt of money collected or received as a result ofa fundraising campaign and transmitted for a foreign
    principal.                       ·
9 Things of value include but are not limited to gifts, interest free loans, expense free travel, favored stock purchases, exclusive rights, favored treatment ove_r competitors,
    "kickbacks," and the like.                                                                                 ·

                           Received by NSD/FARA Registration Unit 03/07<2017 6:02:45 PM
                                                                                                                                                US_v_Kian_00000351
                 Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 55 of 72
                     Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                 (PAGE 6)

15. (a)   DISBURSEMENTS-MONIES
          During this 6 month reporting period, have you
          (I) disbursed or expended monies in connection with activity on behalf of any foreign principal named in Items 7, 8, or
              9 of this statement? Yes l.8l           No D
          (2) transmitted monies to any such foreign principal?           Yes   D           NoO

          If no, explain in full detail why t.here were no disbursements made on behalf of any foreign principal.



          If yes, set forth below in the required detail and separately for each foreign principal an account of such monies, including
          monies transmitted, if any, to each foreign principal.

          Date                              To Whom                                   Purpose                          Amount
          See attachment.




                                                                                                                         Total




                    Received byNSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                          US_v_Kian_00000352
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 56 of 72
                         Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                                 (PAGE7)
      (b)    DISBURSEMENTS-THINGS OF VALUE
             During this 6 month reporting period, have you disposed ofanything ofvalue 10 other than money in furtherance ofor iil
             connection with activities on behalf of any foreign principal named in Items 7, 8, or 9 of this statement?
                              Yes D              No 18]
             If yes, fumi_sh the following information:

             Date                            Recipient                       Foreign Principal                          Thing of Value                           Purpose




     (c)     DISBURSEMENTS-POLITICAL CONTRIBUTIONS
             During this 6 month reporting period, have you from your own fun(js and on your own behalf either directly or through any
             other person, made any contributions of money or other things of value' 1 in connection with ail election to any political
             office, or in connection with any primary election, convention, or caucus held to select candidates for political office?
                                      Yes   8J                 No    D
             If yes, furnish the following information,

             Date                            Amount or Thing of Value                            Political Organization or Candidate                      Location of Event

            Hafiekian
             10/31/16                   $250                                                  Trump Make American Great Again
                                                                                              Committee
             Rafiekian
            *                           *                                                     Zinke For Congress


                                        * Mt. Rafiekian is searching for
                                       records of the date and amount of
                                       the contribution, which he believes
                                       he made, and will amend this
                                       report when the information is
                                       located.




10. 11 Things of value inclµd_e but are not limited to gi~s. interest free loans, expense free travel. favcir'e_d stock purchases, exclusive rights, favored treatment over competitors,
       "kickbacks," and the like.


                           Received by NSD/FARA Registration Unit 03/07~2017 6:02:45 PM
                                                                                                                                                US_v_Kian_00000353
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 57 of 72
                        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                                  (PAGE 8)
                                                              V - INFORMATIONAL MATERIALS
                                                                                                                                                                                           12
16. (a) D11ring this 6 month reporting period, did you prepare, disseminate or cause to be dissem_inated any informational materi1._11_s?
           ·      Yes~              No D                                                                   -
      IfYes, go to Item 17.
    (b) If you answered No to Item 16(a), do you disseminate any material in connection with your registration?
                   Yes D               No D
     If Yes, please forward the materials disseminated during the six month period to the Registration Unit for review.
             -- --       . -    .. -- ·--··
17. Identify-each such foreign principal:
     lnovo BV.




18. During this 6 month reporting period, has any foreign principal established a budget or allocated a specified sum of money to
    finance your 1._1ctivities in prepari1J.g or disseminating informational materials?   Yes_ D             No [8J
      Ifyes, identify each such foreign principal, specify amount, and indicate for what period of time.
      See attachment.




19. During this 6 month reporting period, did your act1vit1es m preparing, disseminatmg or causmg the d1ssemmat1on of mfonnat1onal
    materials include the use ofariy ofthe following:
D Radio or TV broadcasts         D Magazine or newspaper D Motion picture films                  D Letters or telegrams
D Advertising campaigns        D Press releases                                         D Pamphlets or ot_her p~bliCl._ltions D Lectures or speeches
18] Other (spec[/y) See attachment.
                           ----------------------------------------
Electronic Communications

D Email
D Website URL(s):. -------------~--~--~-=~-'--'-~--~~----------
D Social media websites URL(s): --'------,----------------'----------------
[8] Other (specify) .,..s:...e_e_a_tt_a_;_c_h_m_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - ~ - - - - - -

20. During this 6 month reporting period, did you disseminate or cause to be disseminated informational materials among any of
    the following groups:
         D Public officials                                              D Newspapers                                                   0 Libraries
         D Legislators                                                   D Editors                                                      D Educational institutions
         D Government agencies                                           D Civic groups or associations                                 D Nationality groups
         18] Other (specify) See attachment.

21. What language was used in the informational materials:
        ~ English                                                           D    Other ( s p e c i f y ) - - - - - - - - - - - - - - -

22. Did you file with the Registration Unit, U.S. Department of Justice a copy ofeach iteni of such informational materials
    disseminated or caused to be disseminated during this 6 month reporting period?      Yes D             No D See attachment

23. Did you label each item of such informational materials with the statement required by Section 4(b) ofthe Act?
        Yes D             No D See attachment.

12 Th:e term infonnational materials incl_udes any orai, vis_ual. graphic, written, or pictorial infonnation or matter of any kind, including that published by means of advertising,
   books, periodicals, newspapers, lectures, broadcasts, motion pictures, or any-means or instrumentality of interstate or foreign commerce or otherwise. Informational materials
   disseniinated by an agent of a foreign principal as part of an activity in itself exempt from registration, or ari activity which by itself would ncit req·uire registration; need not be
   filed pursuant to Sec_tion 4(b) of the _A<.:t.


                           Received by NSD/FARA Registration Unit 03/07/2017 6:0Z:45 PM
                                                                                                                                                 US_v_Kian_00000354
                       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 58 of 72
                             Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                                                     (PAGE 9)


                                                                                 VI - EXECUTION
In accordance with 28 U.S.C. § 1746, the undersigned swear(s) or affirm(s) under penalty of perjµry that he/she has (they have) read
the information set forth in this registration statement and the attached exhibits and that he/she is (they are) familiar with the contents
thereof arid that such contents are in their entirety true and accurate to the best ofhis/her (their) knowledge and belief, except that the
undersigned make(s) no representation as to truth or accuracy of the information contained in the attached Short Form Registration
Statement(s), if any, insofar as such information is not within his/her (their) personal knowledge.


                                                                                                                                                                                            13
(Date of signature)                                                                  (Pri11t or type name under each signature or provide electronic signature                                   )




 March 07, 2017                                                                                 /s/ Michael T. Flynn                                                         eSigned




13 This statement shall be signed by the individual agent, if the registrant is an individual, or by a majority of those partners, officers; directors or persons perfonning:sirililar
    function.s, if the registra11t is an orga.nization, except that the organi_zation can, by power of attorney, authorize one or more individual.s tci execute t.his stat~ment on its behalf.




                            Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                    US_v_Kian_00000355
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 59 of 72
         Received by NSD/FARA RegistrationUnit 03/07/2017 6:02:45 PM

Flynn Intel Group, Inc., Supplemental Statement


                                           Attachment

Items 11-12


    Note: In September 2016, the Flynn Intel Group filed a registration under the Lobbying
    Disclosure Act for its representation oflnovo BV ("lnovo"). Upon further review, and to
    eliminate any potential doubt, the Flynn Intel Group is electing to file a registration and
    supplemental statement under the Foreign Agents Registration Act in lieu of its prior
    LOA registration. Although the Flynn Intel Group was engaged by a private firm, Inovo
    BV, and not by a foreign government, because of the subject matter of the engagement,
    Flynn lntel Group's work for Inovo could be construed to have principally benefitted the
    Republic of Turkey. The Department's regulations provide that the LOA exemption
    from FARA registration is not avaHable if a foreign government or political party is the
    principal beneficiary. See 28 C.F.R. § 5.307. This retroactive supplemental statement is
    being filed after the Flynn Intel Group closed its operations in November 2016, and the
    supplemental statement is therefore based on information that is currently available to
    Flynn Intel Group, to the best of its knowledge, after undertaking due diligence.with the
    assistance of counsel.


                                                                               a
         In August 2016, Flynn Intel Group entered into a contract with Inovo, consulting firm
based in the Netherlands. The contract provided that Flynn Intel Group would perform research,
engage a public relations firm and a filming and production crew to potentially distribute the
results of its research, and hold weekly calls with the client to discuss progress on the project.
Flynn Intel Group understood the engagement to be focused on improving U.S. business
organizations' confidence regarding doing business in Turkey, particularly with respect to the
stability of Turkey and its suitability as a venue for investment and commercial activity .. Inovo
has represented, through its counsel, that no part of the fees paid to Flynn Intel Group by Inovo
was provided by any foreign government.

        Under the contract, Flynn Intel Group conducted open-source research for I11ovo and at
Inovo's direction. The research, which was conducted by independent contractors retained for
this purpose, focused on Mr. FethuHah Gillen and charter schools in the United States that are
associated with, or allegedly associated with, Mr. Gillen. The results of Flynn Intel Group's
research were provided to Inovo, and to S.G.R. LLC Government Relations and Lobbying, the
public relations firm engaged by Flynn Intel Group. Flynn Intel Group and the public relations
firm developed various materials and documents related to this research for potential
dissemination. Because the project was terminated early, the full scope of the contract was not
performed, and to the best of Flynn Intel Group's knowledge, none of the research materials
prepared by the Flynn Intel Group were disseminated to third parties.

       In early September 2016, Flynn Intel Group was invited by Mr. Alptekirt to meet with a
group of government officials from Turkey for the purpose of understanding better the political
climate in Turkey at the time, as background for the project. Officials of the Republic ofTQrkey




        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                US_v_Kian_00000356
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 60 of 72
          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM



attending this meeting on September 19, 2016, in New Yoi:k, were the Minister of Foreign
Affairs and the Minister of Energy, to the .best of Flynn Intel Group's current understanding.

        Mr. Rafiekian 111et withMiles Taylor, National Security Advisor to the House Committee
on Homeland Security, on two occasions in approximately October 2016, at Mr. Taylor's office
and at Flynn Intel Group's office. A representative of S.G.R. LLC Government Relations and
Lobbying attended the meeting at Flynn Intel Group's office. Over the course of the discussions,
Mr. Rafiekian raised the firm's representation of Inovo and issues related to the research
conducted for Inovo concerni_ng Mr. GUI en and Turkey. Flynn Intel Group also oversaw
outreach, which was conducted by the public relations firm, to a state government official in
Arkansas.

        Pursuant to its contract with Inovo, Flynn Intel Group infotmally engaged a group of
individuals (independent contractors) to foflll a film and production crew for the purposes of
producing a video documentary based on its research associated with Mr. GOien. The activities
included a couple of videotaped interviews and other initial development of content. Because
the contract was not extended, the full scope of anticipated work was not performed and, to the
best of Flynn Intel Group's current knowledge, the video wa:s neither finished nor disseminated
to any third parties. S.G.R. LLC Government Relations and Lobbying created a Gtden-thetned
monopoly graphic at the direction of Flynn _Intel Group. To tbe best of its knowledge, Flynn
Intel Group did not disseminate this document or associated research (other than to Inqvo).

        In late October and early November 2016, Gen. Flynn of Flynn Intel Group developed an
op-ed article based,-in part, on the research conducted by Flynn Intel Group under the Inovo
engagement. The op-ed was not written or published at the request of, or under the direction or
control of, Inovo, the Republic of Turkey, or any other party. No compensation was received for
the publication of the op'.'ed. In addition to Gen. Flynn, Bijan Rafiekian and an editor, Hank
Cox, participated in the drafting. Inovo, Mr. Alptekin, and the Republic of Turkey did not
participate in the drafting. Nonetheless, the op-ed addresses subject matter related to the
research that Flynn Intel Group conducted for Inovo, and a draft of the op-ed was shared with
Inovo in advance of publication. No changes, other than technical edits, were made to the op-ed
based on feedback from Inovo. To the best of our knowledge, lnovo did not communicate with
the Republic of Turkey regarding the op-ed or provide the draft op-ed to the government. S.G.R.
LLC Government Relations and Lobbying assisted Flynn Intel Group with placement of the op-
ed with The Hill publication.

Item 14

Payments received by Flynn Intel Group in connection with the project and purpose based on
information contained in Flynn Intel Group's general ledger and accounting records.



09/09/2016                                                                           $200,000.00-.
1Q/U/20l6        IDQYQ_BV_     _                                                     $185,000.00
1l/14/20J6       Inovo.BV                                                            $145,000.00




          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                               US_v_Kian_00000357
            Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 61 of 72
              Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM




 ltem 15

 Disbursements by Flynn Intel Groijp in connection with the project a.nd purpose ba_sed on
 information contained in Flynn Intel .Group's general ledger and accounting records.


  10/14/2016                      Bob Kell~y _ _ _C_ons_ul~n~y F(?e__ ____ ___ _ _ _- _ __                                                     _         .
                                                                                                                                                            $2,500.00
  10/31/2016                      Bob Kelley                            Cons·ultancy Fee                                                                 - $2,500.00
  11/21/2016
 -· -     . --- -
                                 _Bob JS.elley_                        .Cgn~ult~ncy_ Fe~                                       ..
                                                                                                                                                            $5,000.00
                                                                                                --
  10/04/2016                      Btian McCauley. Consultancy Fee                                                                                           $5,000.00
  l0/13/2016                      Brian McCauley Consultancy Fee                                                                                            $3,000.00
  11/14/2016···                   Brian McCauley                        Consultancy Fee                                                --·----
                                                                                                                                                            $~,000.0Q ·---

  12/05/2016                      8rian McCauley Consultancy Fee                                                                                          $i5,000.00
  ()9/19/2016                     Carl Pilgram                         _Admjnistrative St1pport -                   - --                                 . $4,000.00
                                                                                                                                              ---·-
                                                                                                                                    .                                         ·-··
                                                                                                                                                               .. .
  10/25/2016                      Carl Pilgtam                          Administrative Support                                                          . . $4,00<fO(f
  11/16/2016                      Carl Pilgram                          Administrative Support                                                              $4,000.00
  10/11/2016                      David Enders                          Videography                                                                         $1,700.00
  10/11/2016
  ..    -·- --               --
                                  David
                                    .. -      Enders       ----.
                                                              ...
                                                                        Videography    _                                                                        $850.00
                                                             ...
  f2/02/2() 16                    David Endei·s                        Vicfeogiaphf -                                     ..    ..                          . -
                                                                                                                                                                $850.00       ...    . ..
                                                                                                                ·-·---·
                                                                                                                              - -                        ..        -··
                                                                                                                                                                         ..             ..

  12/02/2016                      Hank Cox                              Editing                                                                              - "$3°00:00
 9/_13/201 (i -                   I11ovo --·BY                          Consultllll<;y Fee                                                                $40,000.00
                                                ...
                                               ,.-


  f0/i1120l6                      InovoBV                               Consultancy Fee                                                                   $40,000.0Q
 09/13/2016-                     _l\1ifhael G. Flyrm _ _Acitnini_strative Support                                                                           $4,000.00
  10/21/2016                      Michael d. Flynn Admirtisirative-~fopport                                            ----                           - .
                                                                                                                                                            $4,()00.00
                                                                                                                                                                   ··-

 11/22/2016                       Michael G, Flynn Administrative Support                                                                           '       $~_,OQ0.00.
 10111/2016                       Mike Boston                          Consultancy Fee                                                                     $ 8,000.()()
  f0/1412016 - -- -- ·----Mlke      ---·- -
                                             Boston- ---               C:onsultancy Fee                                                                     $8,000.00
 11/21/2016                       Mike ·Boston                         Consultancy Fee ----                     -·-·· ----                        .
                                                                                                                                                            $8,000.00
                                                                                                     -               ·-                     -·
 11/10/2016                       Oper~tional                          Consultancy Fee                                                                   -$20,000.00
                                  Behavioral
            ----·-                Setvkes
 10/i3/20f6                       Paul Becker .                       ·Consultancy Fee              --· -·      ·-               ----
                                                                                                                                                            $1,500.00
                                                                                                                                                              ..

 11/22/2016                       Paul Becker                          ConsultM).cy Fee                                                                   . $6,000.()0
 10/12/2016
    ---- ·- -           .. - - Rudi
                                -··  -·   ---Bakhtfar
                                              -
                                                                       Interview                                                                                 $1,ioo
                      .   -                            -- - -----
_1_()/J"t/iQJ6 -· - - SGR.LLC ---- ---- J>ii&1k Affairs
                            .                                                              ..
                                                                                              - ·-          .
                                                                                                                                                         $15,000.00
 10/24/2() 16                     SGRLLC                              .Public Affairs                                                                    $10,000.00
 11/1q/201 (>                     SQRLLC                               Pµt,lic Affairs                   -- - --- ··--        -·-··-·-
                                                                                                                                                         $15,000.00
                                                                                                                                                                                     . ·-
 10/05/2016                       White Canvas                         Public open source research                                                          $7,500.00
                   -·-·
                                  GrQup                             ...                                - --- ----
                                                                                                            ..
                                                                                                                            -                  -·-···
                                                                                                                                                         ..

 12/16/2016                       White Canvas                         Public open soutc.e research···-·                                                   $7,500.00
·----     - ---·                ..OfQllP            ----
                                                       ··-   ..   ---     ·--·   ..   C   ...      - ---· ----
                                                                                                . ..   ..        ..   .   .         ..
                                                                                                                                         ...            ..




               Received by NSD/FARA Registration Unit 0'.3/07/2017 6:0Z:45 P.M
                                                                                                                                                                              US_v_Kian_00000358
       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 62 of 72
           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM




 Items 16-23

          Putsu.ant to the contract between Flynn Intel Group and Inovo BV, the parties anticipated
  that Flynn Intel Group would engage a public relations firm, Sphere Consulting, and engage a
  film production crew for the creation of a video. The public relations firm (S.G.R. LLC
  Government Relations and Lobbying) was engaged but the video wa.s Qot completed or
  disseminated, to the best of our understanding. The budget for these activities was reflected in
  the engagement contract with S.G.R. LLC Government Relations and Lobbying; no separate
  budget related to informational materials. Because this is a retroactive registration prepared after
  Flynn Intel Group had already begun to close operations,· this registration is based on
  documentation currently available to Flynn Intel Group. If addit.ional televantinfotntation is
. later identified, Flynn Intel Group will amend its registration.            ·




          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                  US_v_Kian_00000359
                      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 63 of 72

 U.S. Depart_11_1e1_1t o_f J.us_tice                                             Short Form Registration Statement
\Vashington. DC 20530                                                            Pursuant to the ·Foreign Agents Registration Act of
                                                                                 1938, as amended

INSTRUCTIONS. Each p_artner, otnc_cr; director, associate, employee, and agent of a registrarit is required to file a short fom1 regiStration statement
w1l~ss he etlgages i_n l)O ~t.ivi_t_ies iD fuith~ran~ of the i_nt~_eSts ofth~ regis_trarit's fore_ign_ prin9.ipal or' .unlj!ss ,ihe s~~i.ces tie renders fo ip.~ r~gistrai:it ·
are i_n a secrc_truial, ~Jerical, o.r in a re_lat_ed qr-s_imi_lar capae:ity. Coi:nplian_ce is a~complish_ed by fi_Iing an el_ee:tronic shprt fo11_11 registratJo~ stat~m.ei:i,t
at bJ__tu;//wwv. for..1.1.&QY-
                 1
                                                          ·
Privacy Act Statement. The filing of this ~ocument is required _for th_e Foreign Agent,; Registration Act of 1938, as amended. 22 U.S._C, § 611 et seq.•
for the purposes of registration under the Act and public discl9sure. ·_Provision of the information requested is mandatory•. and failure to provide the
information is subject to the penalty and enforcement provisions established:_in Section 8 of the Act. Every registration statement, short fonn
registration statement_. sU:pplemental sta~ment exhibit, amendJ;nent. copy of informational m~terials or other document or infotmation filed with the
Attorney General under. this Act is_ a_public record open to public examiii'ation, inspection and :copying during the posted business hours of the
Registration_Unit in Washington, DC. Statements are also'.available·online at the Registration Un.it's webpage: http://-www fara.,:ov. One copy of
every such document, other than infonnational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and
copies of any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The·
Attorney General also transmits a semi-annual report to Congress on the administration of the Act Which liSt,; the riames of all agents registered under
the Act and the foreign prin"cipals they represent. This report is aVailahle to the J:lublic a·nd online.at: http·//www.fara.gov.

P~blic Reporting Burden. Public reportillg bllrden for this collection ofinform-ation is estima_t~d to aVerage .429 hours pe_r response, includ_ing the
time for reviewing-instructiOns, searching eX.istif1.g drita sources, gathering an_d maintaining the data n~eded, and compl~tii:ig and rev_i~wing t_h_e
collec..'lion of inforrilation. Send conimcnts regarding this bur~_en estimate or any otp~r aspecJ_ o(lJlis collection of i_nfo_nnation, including suggcstic:ms
forre_ducing this burden to Chief,_Registration Un_it, Counterespionage Section, National Security Division. U.S. Departmen_t of Justice. Washington,
DC 20_53-0: and to the.Offic_c Of Jnfonn~ti~n-_and _Rcgul.1:tor')' AJfa_irs. O(fice o.fM~agcl}lent"and Budge'_t,'Washington, DC 20563. -               ·

 I. Name                                                                              2. Registration No.
   Lt. Gen Michael T. Flynn (Ret.)                                                         6406

3. Resi_dence Address(es)                                                             4. Business Address(es)
   Provided separately to the Department ofJustice.                                      44 Canal Center Plaza, Alexandria, VA 22314



5. Year ofBirth 1958                                                                  6.   If present citizenship was not acquired by birth,
                                                                                           indicate when,. and how acquired.
    Natfonali,ty       U.S.

    Present Citizenship U.S.                                                                                                                                  GOVERNMENT
                                                                                                                                                                EXHIBIT
7. Occupation Consultant
                                                                                                                                                                        64
                                                                                                                                                                1:18-CR-457
8. What is the name and address of the primary registrant?
    Name Flynn Intel Group, Inc.                           .                     Address 44 Canal Cent.er Plaza, Alexandria, VA 22314


9. Ind~cate your connection with the primary registrant:
            D partner                                    181 d_if~~t9r                      D eriiplciyee                      D consultant
            D officer                                    D associate                        D agent                            D subcontractor
            D other (specijj,)
10. List every foreign principal to whom you will render services in support of the primary registrant..
    lnovo8V                              ·



I I. Describe separately and in detail an services which.you will render to the foreign principal(s) listed in Item IO either direcily. or
     through the primary registran't list.ed in Item 8, an.d ih.e date(s) of such se_rvices. (If space is insufficient, a full insert page must be
     used)
     See attachment.




                                                                                                                                                               FORM NSD-6
                                                                                                                                                                Revised 03/14
                          Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                US_v_Kian_00000363
                        Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 64 of 72
                              Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
  J2.. Do any of the above described services include political activity as defin_ed in Sectio"il l(o) o_fthe Ac_t ll!ld in the footno~ bel_ow?
                           Yes 181                   No    D
       If yes, de.scribe separately and In detail such politica_l activity.
       See response to item 1 1.




 13. The services describei:I in Items 1rand 12·are·to betenaered·o,fa ·-- ··
              D full time basis                                                     181 part time basis                                                   D special basis

 14. Wh_at. con}.pensati_olJ or·thi_ng ofyalu.~ ~ave.yo_u re~e_iv~ to date o_r will you ~eceiye for the aboye s_ervices?
              D Salary: Amount$                                    . per                                  D Commission at                              % of _ _ _ _ _ __
              181   Salary: Not based solely on services rendered to the foreign principal(s).
              D Fee: A_mount $                                                                            D Other thing of value _ _ _ _ _ _ _ _ __

 15. During th_e perio_d b_eginni_ng 60 days prior to the date of your obligation to register to the time of filing this statement, did you
     make any contributio:ns of (non·ey qi: ot~_er t_~i~gs of Value {r:ofu yo.Ur own.fu.ndS or: possessio.rls·ar:id o_n your OWIJ behalf in
     connection with any eleciion to politicaJ office or in cont1eC_tion With any primary election, col1V~ntion, or c:a.~C.lis ~eld to seJ_e_ct
     candid.ates for any political office?      Yes D          No 18]

       If yes, furnish the following information:

       Date                   Am_ount or Thing of Value                            Pol_itical Organ_ization or Candidate                                       Location of Event




                                                                                      EXECUTION
In accordance with 28 U.S.C. § 1746,.the undersigned swears or affirms under penalty of perjury that he/she has read the
info_rn1a\fon set forth in th.is registration statement and that he/she is familiar with the contents thereof and that such contents are in
their entirety true and accurate to the best ofh_is/htfr '5:nowl~dge c_U1d·belief.

             March 07, 2017                                                                              Is/ Midiael T. Flynn                                                eSigned
                          (Date ofsignature)
                                                                                                        ------- ---------
                                                                                                              (Signafure)




FoOtnlitC'. "PoliticriJ"aCtivity," aS definC"d in SCction I( o) Of the Act, means any activity which the pe_rson engaging in be_lie:-1~s wil Lor that the person i_ntends to, i_fl any \ray influence
any agency or official of the Government of the Uniled Slnlcs or any section of the public wilhin the United States with reference to fonnulntin""g, adopting. M changing the
domestic or foreign policies of the United Stat_es or with reference to the political or public interests, policies, or relations orn government ofn foreign country or a foreign political
party                                                                . . .           .                                                                                  .




                            Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                      US_v_Kian_00000364
      Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 65 of 72
        Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

Flynn Inte.I Group, Inc., Short Form (Fly,:in)

                                            Attachment

Item I I

        Flynn Intel Group was tasked to perform investigative research for a specified scope of
wo.rk using its laboratory team of senior defense, ciiplOmacy, deveiopment, and intelligence
professionals over a threesmonth period. Flynn Intel Group was to retain an experienced filmil)g
and production crew in order to develop a short film piece on the results of its investigation, and
a public affairs firm to utilize for public affairs as needed.. Flynn Intel Group !Jeld weekly calls
~ith the client to report engagement progress.




           Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                 US_v_Kian_00000365
                   Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 66 of 72
                        Received by NSD/FARA Regi,wiru>n1Im1i,Q~/;Q7£.?,-Q!J.2&i;fl2:45 PM
 u.s, Department of Justice                                                  Short Form Registration Statement
 Washington. DC 20530                                                        Pursu11-_nt·to the Foreign Agents Registra_tion Act of
                                                                             1938; as amended

INSTRUCTIONS. Each partner. officer, director, associate~ emj,loy~. and agent of a i:cgistrant is rc_quir~d to fiie a _shol_'t form tegist:r:ati_on statement
W1iess he engages in no activities ifl furtherance of the inte~sts of th_e registr_ant's foreign prin_cip.i]_ or unl.ess t_~e seryices he rende_rs to the registrant
are·in a secretarial, clcri_cal, or in a relat.ed or sim_ilar cap<l;city. Compli_anc_e is acpomplished by tili_l)g an electroni_c short fonn registration statement
a:t bHv.;.LLY.v\\'""' fonL.cm::.
Privacy Ac~. StatemenJ. The filing oftljis__~_ocuQient is re_qu_ired for the_ Foreign Ag~nts Registration Act of 1_!{38, as amend~ 22 U.S.C. § 61 t et seq.,
for the purposes of ~eg.istration under the Act and public disdosure. Provision of the infonnation requested is mandatory. and failure to provide the
infonnation is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement. short fonh
registration state!Jlenl, supplementol statement. exhibit, amendment, copy ofinfonnational materials or other document or infonnation filed with the
~ttomcy General under this Act is a public record·open to public examination, inspection and copying dUrin-g the posted bUSiness hours of the
Registration Unit in Washington. D.C. Statements are also available online at the Registration Uti.it's Webpage: htLp·//\\·ww.fora guy. One copy of
every such documen_t. other than informational materials, is automatically provided to the Secretary of State pursllant to Section 6(b) of the A~t, and
copies l)f any and all documents arc routinely made available to other age1icies, departments and Congress Pursuant to Sc~tion 6(c) of the A.Ct. The
Attorney General also transmit,; a semi-annual report to Congress on the administration of the A~t Whi~ lists the: narn~s of a_lI agen_t,; regis~ered Uf}der
the Act and t'he foreign principals they represent. This·repOrt is availab_lc to the public _and onlin~ at: httw//w\'t:}V fora i;ov.

Public Reporting Burden. Public reporting burden for this collection of infonnation_ is estin_,at_ed t_o a:verage .429 hours pe_r response. including lhc
time for reviewing instructions. seaTChing existing data sources, gathering and m_aintaining the dataneeded, and completing and reyiewing the
collection of infonnation. Send comrne_nt,; regarding t~is burden estim.?,te Qr.any other aspec't of this collection of infonnation, in_cluding_~uggestions
for redllciti'g this burden to Chief," Registration lJf}i,t. C_oy.nter.espioryage Sect_ion, National Security Division,, l;J.S. Dcpartrnerit of Justice, Washington.
DC 20530; and to the Of(i_ce of J~f()rrnatio_n an_d Regulatory Affairs. Office of Management and Budget. Washington, DC 20503.


 I. Name                                                                          2. Registration No.
   Bijan Rafiekian                                                                    6406

3. R_esidence Address(es) _                                                      4. Business Address(es)
  Provided separately to the Department of Justice.                                 44 Canal Center Plaza, Alexan·d_ria, VA 2_2314



5. Year ofBirth .19·52                                                           6..lfpr~s.erit .citi.zerishjp was not acquired by birth,
                                                                                    indicate When, and how a:ccfllired:
   Nationality U.S.
                                                                                                                                                    GOVERNMENT
   Present Citizenship U.S.                                                                                                                           EXHIBIT

7. Occupation Consulta_nt                                                                                                                                    65
                                                                                                                                                      1:18-CR-457
8. What is the name and addre.ss of the primary registrant?
   Name Flynn lntei Grou·p, Inc,                                            Address 44 Canal Center Plaza, Alexandria, VA 22314

9. Indicate your connectiOTl-Witlfth"e primal)'        registrant:
          0 partt:1er                                 lg)   director                   0 employee                       0 consultant
          0 officer                                   0     assoc:i_ate                0 agent                          0 subcontractor
          0 other (.,pec!fy)
10. List every foreign principal to Whom'you·wiirrefider              services m-supp·orcortne-priin'afy regiStraht.
    lnovoBV


11. Describe.separately and in cietail all services which you will render to the foreign principal(s) listed in Item 10 eithO:r din,.ctly, or
    through the primary registrant listed in Item 8, and the date(s) of such services. (ff space is insufficient, afa/1 insert page mu,·t be
    used)
    See,attachment.




                                                                                                                                                      FOR_M N·S1).6
                                                                                                                                                      Revised 03/14
                       Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                              US_v_Kian_00000360
                        Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 67 of 72
                               Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
 12. Do ariy of the above described services incliide poJ.itical a9tivity as defined i.n Secti.on l(o) of the Act aiid i_ri th_e footricite below?
                   Yes 181           No D
        If yes, desfribe separat_ely an_d in detail su.ch poHtical activity.
       See response to item 11 .




. 13. ·rlie services desctioed in Items Ir ana 12 are to be rendered on a
               D full time basis                                                      181 part time basis                                                    D special basis

 14. What compensation or thing·ofvalue have you received to date or will you receive for the above services?
              D Salary: Amount$                     per                         D Commission,at                                                            % of _ _ _ _ _ __
              181 S_alary: Not based solely on se_ivices ren_dered to the foreign firincipal(s).
              D Fee: Amount$                                                                                D Other thing of v a l u e - - - - - - ~ ~ - -

 15. During the period beginning 60 days prior to the date of your obligation to register to the time of filing this statement, did you
       make any contributions of money or other things of value from your own funds or possessions and on your own behalf in
       conn_ectfon WiJh a~y elec~jo·n to pc;>l_iJical office or in con,neCt_i.on with any primary elect_ion, conyention, or caucus· held to select
       candidates for any political office?           Yes D         No 18)

       lfy~s. furnish the foflowing information:

       Date                    Amount or Thing of Value                             Political Organization or Candidate                                           Location of Event




                                                                                        EXECUTION
In accordance with 28 U.S.C. § 1746, the undersigned sw=.s or affirms under penalty of perjury t.h:at h_e/she has read the
information set forth in this registration statement and that he/she is familiar with the contents thereof and that such contents are in
their entirety true and accurate to the best of his/her knowledge and belief.

             March 07, 2017                                                                                /s/ Bija_n Rafiekian                                                 eSigned
                           (Date ofsignature)                                                             ~--------------
                                                                                                                (Signature)




Footnote: ''Political activi_ty.~·ns defined in Si:ction l(o):ofthe'ACt,"meaflS.any-ndivity'\VhiCh"thc-pers-on-eii£3"giil~fin·be1ieve·s Will. 'or'th"iit the person int.elld.itO, in any i.\'ay influence
any ngency or official of the Govenunem of the United·States or any se_ction of the public .within the Unit_ed States with reference_ to formulating, adopt mg, or changing the
domestic or fori:ib'fl policies of the United Stnlc:s Or \vith retCrence to the j:iolitical or public interestS, policies, or"ielatioOS Ofa goveirnmCnt ofn tOreign cOuntry or n foreign politicill
party.



                             Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM
                                                                                                                                                          US_v_Kian_00000361
       Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 68 of 72
         Received by NSD/FARA Registration Unit 03/07/2017 6:02:45 PM

Flynn ItJtel Group, Inc., S,hort PorffJ (Rafieki.an)

                                               Attachment

Item II

          Flynn Intel Group was taskeg to perform investjg11tive research for a specified scope of
  work using. its laboratory team of senior defense, diplomacy, development, and intelligence
 profession_als over a ~h.ree-month perigd. Fly1111 I_nteJ Group was t9 ret,iin an experienced filming
 and production crew in order to develop a short film piece on the results of its investigation, and
. a public affairs fi_rm to utjl(ze for pµtilic l!,ffairs as ne:eded_. Flyn_n Int.el Group held weekly cafis
 with the client to report engagement progress.




          Receiveq by N:SPIFARA Registration Unit03/07/2017 6:02:45                          PM
                                                                                        US_v_Kian_00000362
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 69 of 72




                                                                     GOVERNMENT
                                                                       EXHIBIT
                                                                        67J
                                                                     1:18-CR-457
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 70 of 72




                                                                GOVERNMENT
                                                                  EXHIBIT
                                                                     90
                                                                 1:18-CR-457
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 71 of 72
Case 1:17-cr-00232-EGS Document 150-1 Filed 01/07/20 Page 72 of 72
Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 1 of 38




         Attachment 2
           Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 2 of 38

                                            Grand Jury lnformation
                                   UNITED STATES DISTR]CT COURT EOR
                                   THE EASTERN DISTRICT OE VIRGINIA
                                             (A.l-exandria D j-vision            )




                                                        x

             In re:
                   GRAND JURY

                                                        x



                                                     Grand Jury No. 18-2
                                                     United States Distri-ct Court for
                                                     the Eastern District of Virginia
                                                     401 Courthouse Square
                                                    Alexandria. Virginia             22314

                                                     Tuesday, J:-:ne 26, 20L8


                              The testimony of MICHAEL FLYNN was taken in the
             pre   se   nce   of a fu.ll quorum of Grand Jury 18-2,                   commencing at
             9:53 a.m , before:


                               JamesP. GiIIis
                              Assistant United States Attorney

                              Evan   N,   Turgeon                                             €
                               Special    As s.i   stant United States Attornoy -
                                                                                             (=
                                                                                             r--
                                                                                             ,\)



                                     Grand Jury lnformation
                                             Dlversifled Reporting SeMces, lnc.
                                                         1426 Duke Street
                                                    Alexandria, Virginia 22314
                                                          (202) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                              DOJSCO - 700023424
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 3 of 38

                                                                                             2

          1                               PROCEEDINGS
          2     Whereupon,
          3                                     M]CHAEL ELYNN

          4     was ca]-l-ed as a witness and, after being first
                                                               duly sworn
                by the Eoreperson, or Deputy Eoreperson, of the Grand Jury,
          6     was examined and testified as follows:
          1                                       EXAMI NAT I ON

          I                  BY MR.     TURGEON

          9           o      Can you please        tell us your         name?

         10           A      Michaef E1ynn.
         11           O      Are you a retired U.S. military officer?
         l2          A       Yes.
         13           O      What branch      did you serve in?
         t4          A

         15           o    At what position did you retire from the Army?
         I6           A    I was a fieutenant general and director of the
         T1     De fense Inteffigence Agency.

         18           o    What is the Elynn Intel- Group?
         19          A       It's a consulting advisory group.
         20           0      Was the Elynn Intel Group also known as                 FIG,
         2L     spelled   E- I -G?

         22          A       Yes,
         23           0      Who     were the people who played the most active
                part of the business of           EIG ?

         25          A       Myself, Bijan Kian. There were others but those

                                           Diverslfled Reportlng Servlces, lnc.
                                                     1426 Duke Street
                                                Alexandria, Yirginia 223 14
                                                      (202) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                          DOJSCO - 700023425
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 4 of 38

                                                                                        3

          1     were principall-y the two peopl-e that pfayed the most active
         2      rofe.
          3               Is Bijan Kian also
                          Q                          known    or does he also go by
          4     the name Bijan Raf i-ekian ?
          5               A   Yes.
          6               Q   What was your   role position with         EIG?

         1                AI was the CEO.
         I            0    Was Mr. Rafj-ekian also an officer of EIG?

          9          A     He was. He was the vice chai.rman and held a
        10      coupl,e of other roles,
        11            Q Are you aware of a project concerning Turkey that
        l2      FIG performed during the summer and fafl of 2016?
        13           A     Yes.
        74                Q   did you first become aware of that project?
                              How

        15                A
                          Bijan came to me and mentioned that he had an
        16      associate that he knew that was interested in using our
        r'7     company to support a project.
        18           Q Who was that associate?
        1-9         A     It was a gentleman by the name of Ekim Alptekj-n.
        20          Q Who is Ekim AJ-ptekin?
        2l          A     Ekim is a person f came to know through Bijan.
        22      He is a Turkish member of the Turki sh-American Busi-ness
        23      Counci.I . And I mean, you know -- f mean, he's got some
        24      other background but thatrs pretty much my knowledge of
        25      h   im.


                                       Dlyersified Reporting Sewices, Inc.
                                                 1426 Duke Street
                                            Alexandria, Yirginia 22314
                                                  (202\ 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                     DOJSCO - 700023426
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 5 of 38

                                                                                          4

          1            Q     what stage was the project at when Mr, Rafiekj-an
          2      approached you about it?
          3           A     It was at the, 1ike, stage zero. I mean,
          4      basically it was initial.
          5           Q Durj-ng that conversation with Mr. Rafiekian, did
          6      Mr. Rafiekj-an te1I you he had already spoken to someone
          1      about the proj ect ?
          8            A     Bj-jan had mentioned that he had spoken with Ekim.
          9           0    Before the project what relationship if any did
         10      Mr. Rafiekian have with Mr. Alptekin?
         11           A    I understood that they had a refationship through
         L2      a commission, the Nalruse Commission, that Bijan is part
                 of. And I believe that they knew each other from other
         14      just previous interactj-on, but I prj.ncipal-1y believe that's
         15      where they knew each other.
         1-6          Q Are you aware of Mr. Rafiekj.an communicating with
         t1      Mr. Alptekin about the project?
         18           A    Yes.
         19            Q     How   do you know those conversations took place?
         20            A    Bijan refated to me that he had been engaged or
         2l      speaking with Ekim about this, you know, li-ke I said, the
         22      initi-al stages and had spoken to him at Ieast a couple of
         23      times about i-t.
         24             0   Erom the beginni-ng of the project what was your
         25      understanding about on whose behaff the work was goj-ng to


                                        Dlverslfled Reportlng Servlcec, Inc.
                                                  1426 Duke Street
                                             Alexandria, Virginia 22314
                                                   (202)- 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023427
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 6 of 38

                                                                                         5

          1     be performed?
          2           A   I think at the -- from the beginning j-t was
          3     always on behaLf of elements within the Turkish government.
          4          Q Would it fair to say that the project was going
          5     to be principally for the benefj.t of the government of
          6     Turkey or high-ranki-ng Turklsh officiafs?
          1          A    Yes, yeah.
          I          Q Where did you get that understanding?
          9          A    Erom conversations I had with Bijan and just
         10     various emaiJ- engagements that we had had early on about
         11     whether or not we were going to do this thing.
         L2          Q                  official-s involved with the project?
                           lr]ere Turkish
         13          A    They were. They definitely were aware of it and
         l4     they had acknowledged, or we were told that they had
         15     acknowledged that we were invofved. So I guess, I mean you
         L6     could in terms of rephrasing the question or whatever, but
         t7     I -- they were definiteJ-y aware of the project. I mean,
         18     you know, you asked that they were directly involved but --
         L9           Q So do you know who the Turkish government
         20     official-s were who were involved in the project?
         2l           A    I met two eventually and I saw names on var.ious
         22     email-s that Bijan or Ekim had sent.
         23           Q Who were the two that you met?
         24           A    I met the Minister of Eoreign Affairs and I met
         25     -- and I don't know exactl-y what his ministry was, but he

                                       Diversifled Reportlng Servlces, lnc.
                                                 1426 Duke Street
                                            Alexandria, Y tginia 2231 4
                                                  (202) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                      DOJSCO - 700023428
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 7 of 38

                                                                                           6

           1     was  the son in Iaw of Erdogan, the presi.dent.
          2            Q Did he hofd a ministry-Ievel position in the
          3      Turkish government ?
          4            A    I befieve he did. Yeah, I befieve he did. I
          5      befieve he did.
          6            Q Do you know whether Mr. Al-ptekin had any
          1      relationship with those Turkish officials?
          8            A    I beLieve that he did, just based on information
          9      that Bijan had provided me as well as just emails that I
         t0      had seen about his engagement with senior government
         11      officiafs in Turkey.
         L2            Q In connectj.on wj-th the project did Mr. Al-ptekin
         13      have any role in interactj.ng with these Turkish government
         14      offi-ciaIs?
         15            A       Yes, he did.
         16           Q How do you know that?
         L1           A    Again from same sort of a -- the various
         18      interactions, his feedback to us. And some of it was
         1.9     re1ayed to me via Bijan, others were, you know, emails that
         20      I saw where he had been -- he had just recently spoken to
         2l      or met with senior government officials, you know, about
         22      this proj ect.
         23                    MR. TURGEON: Woul-d you and            Mr. Alptekin --
                               BY MR. GILLIS:
         25            Q       Sorry, And what was it that he woufd refate in


                                         Dlverslfled Reportlng Servlces, lnc.
                                                   1426 Duke Street
                                              Alexandria, Yirginia 2231 4
                                                    (zo2) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                        DOJSCO - 700023429
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 8 of 38

                                                                                          l
          1     connection with these di-scussions wi-th Turkish offici-afs?
          2           A    Yeah. Their awareness, their acknowledgement
          3     that we were engaged, that we were involved with this, that
          4     we were looking at conducti-ng the project. I would even
          5     say at .Ieast at that point they seemed satisfied.
          6                 BY MR.   TURGEON:

          1          Q Woufd you and Mr. Alptekin have regular cal-1s
          8     about the proj ect ?
          9          A    lle set up conference cafls with our group and Mr.
         10     Alptekin.
         11          0    What was the purpose of those calls?
         L2          A    They were basically for us to provide updates to
         13     him, where we were, various aspects of things that we were
         L4     doing on behaff of the project, and afso he woufd give us
         15     feedback.
         16          Q What sort of feedback did Mr. Alpteki,n provide?
         l1          A     Based on what he had, you know, what was going
         18     on, h is feedback was acknowledging where we were at but
         19     also providing us insight lnto, you know, the sense of the
         20     senior official-s of the Turkish government, how they viewed
         27     it and how things were going.
         22           Q     So youdid ment j-on you did discuss Turkish
         23     government officials --
                     A   Yeah. Oh, yeah, on those --
         25          0      -- on those caLls?

                                        Dlverslfled Reportlng Servlces, lnc,
                                                  1426 Duke Street
                                             Alexandria, Y tginia 2231 4
                                                   (202\ 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023430
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 9 of 38

                                                                                          B

           1          A    Yeah, there was a couple. There was, you know,
           2     three or four cafls that we had over a period of probably
           3     two months.
           4           Q     WasMr. Rafiekian always a part of those calfs?
           5           A    Yeah. He usually set them up.
           6          Q During your initia.I conversation with Mr.
           1     Rafiekian about the project what did you understand the
           8     principal- focus on the project to be?
           9          A     The principal focus was really about, you know,
         10      sort of at the high-Ievel it was about the relationship
         11      between the United States and the government of Turkey. It
         72      was about the climate between the two countri-es, kind of.
         13      We'd always tal-k about Gulen as sort of a sharp point, I
         t4      guess if you wil1, between that relationship. There was
         15      some discussi-on about business climate as weLl-.
         16           Q Who is Fethullah Gulen?
         t1           A    He is a Turkish cferj-c who currently lives in the
         18      United States.
         19            0    Are you aware of an attempted military coup in
         20      Turkey in the summer of      2076?

         21.           A     Yes.
         22            Q    What history if any does the government of Turkey
         23      have wj-th Mr. Gulen related to that attempted coup?
         24           A     WeIf I think in that respect they, the government
         25      of Turkey, you know, put the bLame on Gufen's movement


                                        Diverslfied Reportlng Services, lnc.
                                                  1426 Duke Street
                                             Alexandria, Yirginia 2231 4
                                                  (202\   467   -9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023431
                Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 10 of 38

                                                                                           9

           1      inciting that    coup.
           2            Q     Who was   the president of Turkey at the time of
           3      that attempted coup?
           4           A    Erdogan.
           5           Q Is Mr. Erdogan stil-l the president of Turkey?
           6           A    He is, yep.
           1           Q What was the principle focus of the work product
           8      that EIG did produce on the project?
           9           A    The eventual- work product or products that we had
         10       come up $/ith was reafly focusing on Gu1en.
         11            Q Was any work done on researching the state of the
         t2       business cI j.mate in Turkey?
         13            A Not that I'm aware of or none that I recafl.
         l4            Q Were there any meetings hefd with U.S. businesses
         15       or business as sociat ions ?
         76            A    None that I'm aware of.
         1.'1         Q Was there any work done regarding business
         18       opportunities and investment in Turkey?
         L9           A     None that I'm aware of.
         20           Q During the project did you ever hear of the
         27       country of IsraeL mentioned in connection with the project?
         22             A   I don't. I don't recaLl that in any of the
         23       conversations we had. I mean f, you know, it may have come
         24       up but I don't recall it.
         25                   BY MR. GILLIS:



                                           Dlversifled Reportlng SeMces, Inc,
                                                     1426 Duke Street
                                                Alexandria, Yirginia 2231 4
                                                      (202\ 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                        DOJSCO - 700023432
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 11 of 38

                                                                                                 10

          1           Q    Well let's. just to be clear, General, we donrt
          2      want you to guess or specufate.
          3            A      Yeah, no, and I really don't recall any
          4      conversations about        f   srael con.ing up.
          5                   BY MR.     TURGEON:

          6            Q      During the project dj-d you ever hear that                   an

          7      f srae.Ii   company would      benefit from the project?
          I           A        I don't.
          9           Q Did Mr. Rafiekian provide updates to you about
         10      the project ej.ther by email or orally?
         11           A    He did.
         t2           Q Did he ever mention to you that the project had
         13      significantly changed in any way?
         74           A     He d.id not, no. No, we pretty                      much stayed on the
         15      same t rack.
         76         Q Did he ever mention to you that the prj-ncipal
         71     beneficiary of the project had changed?
         L8         A     He did not. He did not, no.
         19                   BY MR. GILLIS:
         20           Q       The principal beneficiary --
         2t           A       WeIl I mean, early on there was a discussion --
         ))           Q       Let me finish --
         23           A       Sorry.
         24           O       Let    finish the question if you would, Gene.ral-.
                                    me
         25     So woufd     it be fair to say, as you testi-fied earlier, t hat


                                            Dlversifled Reportlng Servlces, lnc.
                                                       1426 Duke Street
                                                  Alexandria, Yirginia 2231 4
                                                        (2O2) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                             DOJSCO - 700023433
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 12 of 38

                                                                                                11

          1      the principaf beneficiary was the government of Turkey?
          2           A    Yes.
          3           Q Or these high-government official-s?
          4           A    Yeah.
          5           0    Did he ever mention to you that that prj-ncipal
          6      beneficiary or those principaf beneficrarj-es had changed
          1      throughout the proj ect ?
          8             A        No, no.
          9                      BY MR.    TURGEON:

         10             O        How    high up in the Turkish government did             Mr.
         11      Al-p t e kin   have connections        ?

         l2             A        I believe he had connections all the way up to
         13      the president.
         l4             Q       And thatrs Mr. Erdogan?
         l-5            A        Yes.
         16             Q        How    do you   know       that   ?


         L1             AMy     -- wefl the relationship, at ]east that I saw
         t-8     he had wi. th Erdogan's son in 1aw, so I observed that, and
         L9      then I woufd just say in the back and forth cormuni cat i ons
        20       that we had, that I just assumed that.
        2t                       BY    MR. GILLIS:
        22              o     that son in
                                 IS                     l-aw   the minister that you were
        23       mentioning earlier?
        24              A        Yeah, yep.
        25                       BY MR.    TURGEON:



                                              Dlversifled Reportlng Servlces, Inc.
                                                          1426 Duke Street
                                                     Alexandria, Yirginia 22314
                                                           (2O2\ 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                             DOJSCO - 700023434
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 13 of 38

                                                                                                t2
          1             Q      Who    provided the initial          approval for the
          2       proj ect ?
          3             A    In terms of what? I mean approval from like
          4       whether or not we were going to do it? Or whether or not
          5       it was going to happen? I mean, the approval really came
          6       finally from Ekim through an email, and what I reca.l-.I is
          '7
                  that he had been, you know -- he had been given the go
          8       ahead or the green liqht if you will, and as I remember it,
          9       it seemed l-ike that came from the government of Turkey.
         10             Q So is it fair to say that the project was taken
         11       with the understanding and involvement of Turkish
         L2       government of f icial-s?
         13             A      Yes.
         l4             0      Were    Turkish government officials                involved
         15       throughout the proj ect ?
         16             A      Yes, yes.
         11            Q What if anythj-ng did Mr. Rafiekian tell you
         18       during the project about how Mr. Alptekin's connections in
         19       the Turkish government were involved in the project?
         20            A    Say that again.
         2t             Q      Do you
                                  reca1l Mr. Rafiekian ever telling you
         22      anything during the project about how Mr. ALptekin,s
        23       connections in the Turkish government were i-nvolved in the
        24       proj ect ?
        25             A       Yeah, Bijan would tal-k about how he __ that this,


                                            Dlverslfied Repoftlng Servlces, Inc.
                                                      1426 Duke Street
                                                 Alexandria, Yirginia 2231 4
                                                       (2O2\ 467.9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                             DOJSCO - 700023435
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 14 of 38

                                                                                                           13

          I       you know, Ekim is talking about this alf the way at the
          2       highest .Ieve1s of the Turkish government,                         So   Bijan   wouJ-d

          3       tefl-   that. He woul-d relay that to me.
                          me
          A            Q Is it fair to say that Mr. Al-ptekin acted as a
          5       go-between between FIG and Turkish government offi-ci-a1s?
          6            A    Yes.
          1            0    I'm showing you what's been marked as Exhibit No.
          I       2. Have you seen that email before?
          9               A    I have,    yeah.
         10              Q Do you see the f irst J-ine where Mr. Alptekin
         11       says, " I met wj-th M,C, and explained. They are 1lke I y to
         l2       t rave I to D. C. next week"?
         13               A    Mm-hmm.

         t4               o    "He j-s interested in exploring this serj-ously and
         15       it is likeLy he will want to meet with you and M.8."
         1t'           A    Mm-hmm.

         I1            Q Based upon your invoLvement in the project do you
         18       know who M.C.      refers to?
         19               A    Yeah, that's the Minister of Foreign Affairs.
         20               Q    Are those his initiafs?
         2t               A    Yeah.
         22               Q    Who   is M.F.?
         11               A    Thatrs    me.

         24               Q    Oo   you see the next paragraph?
        25                A    Mm-hmm.



                                               Dlverslfled ReporHng Services, Inc.
                                                         1426 Duke Street
                                                    Alexandria, Yirginia 2231 4
                                                         (202) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                                  DOJSCO - 700023436
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 15 of 38

                                                                                              74

          I            Q     Which reads, "We agreed to meet again before he
          2       .Ieaves to D.C. and he asked me to formulate what kind of
          3      output we can generate on the short and midterm as wel-I as
          4      an indicate budget.     "
          5            A     l,lm-hmm,

          6            Q    Is that emaj-l- an example of the involvement of
          1      high-J.eve1 Turkish government officlal-s in the early stages
          8      of the proj ect ?
          o           A    Yep, sure is.
         10           Q I'm showing you what's been marked as Exhibj-t No.
         1l-     3. Have you seen that email before?
         1.2          A     I have, yep.
         13           Q Do you see on the third line where Mr. Alptekin
         L4      says, "I met with the M.E.A. and expJ-a.ined our proposed
         15      approached. He is receptive and indicated he woufd like to
         16      meet with us during hls upcoming vj-sit to D.C."?
         11            A     Yep.

         t8            Q     Based upon your involvement                  in the project do you
         19       know whothe M.F.A. is?
         20           A    That's the Minister of Eoreign Affairs.
         27           Q So ls this email an example of Al-ptekin acting                      as

         22      a go-between on the project between EIG and Turkish
         23      government off ic ia Is     ?

                       A     Mm-hmm, yep. DefiniteJ-y at that ti-me, yep.
         25            Q     I'm going to show you another emaif which j-s

                                             Diverslfled Reportlng Servlces, Inc.
                                                       1426 Duke Street
                                                  Alexandria, Yirginia 2231 4
                                                        (2O2) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                            DOJSCO - 700023437
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 16 of 38

                                                                                         15

          1     marked as Exhibit 4.       Have you seen         that email before?
          2           A     I   have.
          3           Q Do you see the first paragraph where Mr. Afptekin
          4     says, "I had a Long meeting with the Minister of Economy
          5     upon the referraf of M.P.A. Cavusoglu. I explained what we
          6     can offer. He agreed to discuss in general fines at the
          1     Council of Ministers today and subsequently with P.M.
          8     Yildirin in more detaif. "
          9           A   Mm-hNn,

         10           Q Who is M.F.A. Cavusoglu?
         11           A   He is the Minister of Foreign Affairs.
         t2           Q And who is P.M. Yildirj.n?
         13           A   Prime mj-nister, so he's the number two.
         l4           Q In the Turkish government?
         15           A   Mm-hmm.

         l6           Q Is this emai-I another example about Alptekin
         T1     acting as a go-between on the project between FIG and
         18     Turkish government off ic ial      s?

         L9           A   Yes. Yep, sure is.
         20          Q I'm going to show you another emai.l- marked as
         2l     Exhlbit 5. Have you seen that email before?
         22          A    I have, yep.
         23          Q Do you see at the beginning of the email where
         24     Mr. Rafiekian says, "Ekim, it was my pleasure conti-nuing
         25     our conversations today. Genera.I Ffynn and I have


                                        Dlverslfied Repoftlng Services, lnc.
                                                  1426 Duke Street
                                             Alexandria, Virginia 22314
                                                   (202) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023438
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 17 of 38

                                                                                                    16

          1      discussed broad contours of The Truth Campaign"?
          2           A       Mm-hmm.

          3           O       Was    that email about the Turkey project?
          4           A       Yes.
          5           O       Was    the Turkey project        sometimes known       as     The

          6      Truth    Campaj-gn   and sometlmes known as            The Con f i-dence

          1      Project or Project Confidence?
          8           A    Yeah, yeah. I mean -- yes. Yes, it                      became

          9      Project Confidence.
         10           Q       Do those terms     refer to the           same   proiect?
         11           A       Yes, yep.
         72           Q    Early in the project were there any discussions
         13      between you and Mr. Rafiekian about potential defiverables
         L4      for the proj ect?
         15           A    Yes. I mean, we talked about the types of
         16      assessments and things that we coufd do.
         11           Q What deliverabl-es did you discuss?
         18           A    We discussed --

         L9                   BY MR. GILLIS:
         20            0   Just if you could, I'm sorry, what does
         21      "del-iverable" mean to you?
         22            A    It means to me what in a 90-day period of time
         23      for this consulting agreement, what we could actually                        do,
         24      the thinqs that we couLd actually provide to them.
         25           Q       Okay, thank you.


                                          Dlverslfled Reportlng SeMces, lnc.
                                                    1426 Duke Street
                                               Alexandria, Y irginia 2231 4
                                                     (202) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                          DOJSCO - 700023439
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 18 of 38

                                                                                                   71

          1            A    At the end of it, yeah. So it ranged from videos
          2      to articles, to -- news articles to, you know, attending
          3      meetings, and afso providing early on, providing some type
          4      of assessment of what we were being asked to look at, a
                 written assessment.
          6                       BY MR.   TURGEON:

          1            Q          You ment j.oned news art j-cl-es,          did you al-so discuss
          8      op-eds   ?

          9            A          l,lm-hmm. Sure did     .

         10            Q   I want to show you what's been marked as Exhibit
         t1     6. Have you seen that email before?
         t2          A     I have, yep.
         13          Q Do you see the first part of the email where Mr.
         t4     AJ-ptekin says, "Gentlemen, I just finished in Ankara after
         15     severaf meetings today with Min. of Economy Zeybekci and
         L6      M.F.A. Cavusoglu. I have a green light to discuss
         77      confidentiality, budget, and the scope of the contract"?
         18           A    }4m-hrnm .

         19           Q Is this email an example of how Turkish
         20      government officiafs provided the initial approval for the
         2l      proj ect     ?

         22            A          Sure is.
         23           Q Originally what was the planned source of funding
         24      for the proj ect ?
         25            A          Initially   I was toLd that the Turkish             government


                                              Dlverslfled Reportlng Servlces, Inc.
                                                        1426 Duke Street
                                                   Alexandria, Y irginia 2231 4
                                                         (202) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                             DOJSCO - 700023440
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 19 of 38

                                                                                                    18

          1     woufd fikely -- you know, may fund it.                          And then .it changed
          2     when     that   came   back that they woufd not fund it,
                                                                 that it
          3     woufd be funded, you know, via different means -- by Ekim' s
          4     business, basically.
          5          Q Who told you that the Turkish government may fund
          6     the project origina 11y?
          1          A    Bj. jan. Conversations we had.
          8              Q      Do you recal-J-    the   name     of    Mr.     Alptekin's   company?

          9              A      Inovo.
         10              Q      Where j-s Inovo based?
         11              A      It's based in the Netherlands, I believe. It's                      a

         l2      Dutch company.
         13          Q When the source of funding changed, what else
         l4     about the project changed?
         15          A    I mean, I'm not sure much changed. It sort of
         16     stayed on track. Pretty much, it pretty much stayed the
         l1      same.

         1B              Q    did the focus on the project change?
                                How

         L9              AFrom my perspective j.n the early conversations,
         20     you know, from a business cfimate bank to real.Iy focus in
         2l     on Gulen and Gu.Ien's status, I think that it pretty much
         22     stayed the       same.
         23                     BY MT. GILL]S:
         24              Q      So general, if       I may.       So    I think we're asking is
         25     as a resuft,       first   of all,     did    you      care where the funding


                                           Dlverslfl ed Reportlng Servlces, Inc,
                                                       1426 Duke Street
                                                  Alexandria, Yirginia 2231 4
                                                        (2O2) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                              DOJSCO - 700023441
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 20 of 38

                                                                                             19

          1      was coming from?
          2            A       No, no.
          3                    BY MR.    TURGEON:

          4            Q       To the best of your know.Iedge did the amount of
          5      that you were to be pa j-d for this project change as a
          6      consequence of exchanging from the government of Turkey to
          1      Alptekin?
          I            A    I don't befieve it ever changed, yeah.
          9           Q So as a consequence of that change in payment,
         10      not over time but just as a consequence of that change and
         11      who was going to pay, was there any change to the project?
         72           A     I don't bel-ieve so. Yeah, I don't bel-ieve there
         13      was any change to the project. It pretty much stayed from
         14      our initial     discussj-ons aII the way through to the end, you
         t5       know, the period of time that we had the contract for
         16      didnrt    change.
         L1            Q    At any point before or during the project did                  you

         l-8     hear anything about EIG performing a separate project
         I9      involvj-ng the government of Turkey?
         20            A       None.

         2I            Q   At any point before or during the project did                   you

         22      hear anything about EIG performing a separate project
         23      involving Mr. Alptekin or fnovo?
         24            A       Not that I'm aware of.
         )q            Q       At any point before or during the project did               you


                                            Dlversifled Reporting Services, Inc.
                                                      1426 Duke Street
                                                 Alexandria, Yirginia 223 1 4
                                                       (2O2) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                           DOJSCO - 700023442
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 21 of 38

                                                                                                 20
           I      hear anything about EIG performing a separate project
          2       involving radical Isfam?
          3            A    I am not aware of that.
          4            Q At any point before or during the project did you
          5       hear anything about EIG refunding money to Mr. Alptekin for
          6       lobbying or PR, public refations work, that had not been
          1       pe r fo rmed ?

          8              A   I do not, no.
          9             Q At any point during the project dj-d you hear
         10      anything about EIG refunding money to anyone in connection
         11      w j.th the pro j ect ?


         I2             A    No.

         13             Q At some point during the project did you become
         l4       aware that two payments, each for $40,000, were made from
         15       EIG   to Mr. Alptekin's company, Inovo?
         1.6             A    I do. Yeah, I do remember that.
         L1           Q Were those palrments refunds for lobbying or PR
         141     work that had not been performed?
         1-9          A     Now that I'm aware of.
        20            Q Were those payments refunds for anything?
        2L            A     WeLI they e/ere for what I believe were services
        22       that he provided as a, essentially, advisor to us during
        23       this proj ect.
        24              Q          Were those payments refunds?
        25              A          I don't befieve that they were refunds. I             mean,



                                            Diverslfled Reportlng Servlces, Inc,
                                                      '1426
                                                           Duke Street
                                                 Alexandria, Yirginia 22314
                                                      (202\ 467.9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                           DOJSCO - 700023443
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 22 of 38

                                                                                                           2L
           1      they were payments to him based on the contract that we had
           2      signed trith h im.
           3            Q     I'm showing you what's been marked as Exhibit                        7

           4            A     Yep.

           5            Q     Have you seen     that email before?
           6            A    I have, yep.
          1            Q Do you see right at the beginning of the emai.I
           I      where Mr. Rafiekian says, I'We are about to be engaged by                            a

           9      Dutch client for the above campaign"?
         10            A    Mm-hmm.

         l1             Q     What does   "the Dutch client" refer to in that
         t2       emai 1?

         13            A      That's referring to Ekim -- Inovo.
         I4            Q      fnovo?
         t-5           A      Yeah, yeah.
         16            0      So this is about the same Turkey project werve
         1.1     been discussing?
         18            A      Yes, yep.
         19            Q      Attached to that email is a budget --
         20            A      Okay.
         21.           O      -- on the back or on page 2.                      Do you see that?
         22            A      I do.
                       o      Is that a draft budget that you received for the
         24      proj ect ?
        25             A      I believe it is, yep.               yep.


                                          Dlverslfled Reportlng Services, Inc.
                                                      1426 Duke Street
                                               Af   exandria, Yirginia 2231 4
                                                       (2O2) 467_9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                              DOJSCO - 700023444
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 23 of 38

                                                                                           22
          1           o     Are you aware of a meeting for the project that
          2      took pface in    New   York City on September L9,              2016?

          3           A     Yes, yeah.
          4           o     Was   that meeting re.Iated to the Turkey project?
          5           A     Yes, yeah.
          6           O     Who   attended that meeting?
          1           A      this is the one where Ekim had worked with
                            So
          8     Bijan to set up a meeting between FIG principals and senror
          9     members of the Turkish government.

         10          o    Can you name some of the attendees?
         11          A    Yeah. On our side it was Brian McCauley, mysel f,
         l2     Bijan, and Jim !'loolsy. On the other side it was Ekim, the
         13     son in l-aw who I just don't recafl his name, but -- and
         L4     then the Mlnister of Eoreign Affairs. And I believe there
                was another individual that was with them but I think he
         L6     was more of a security person. But that was principally,
         L1     those were the principal- members of that meeting.
         18           O     Do you   recall having        met    Mr. Alptekin in person
         19     prfor to that meeting?
         20           A     I don't.I don't.
         27           O   What was the purpose --
         22           A   f mean, I may have, but I don't recaLl-.
                      o   What was the purpose of the neeting?
         24           A   The purpose of the meeting was to -- for Ekim to
         25     introduce our, you know, FIG principal group to the


                                         Dlverslfled Reportlng Servlces, Inc,
                                                   1426 Duke Street
                                              Alexandria, Yirginia 2231 4
                                                   (2O2) 467 _9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                         DOJSCO - 700023445
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 24 of 38

                                                                                                 23
          1      leadership of Turkey that         was    represented in that room;
          2      provide    overview from us to them as kind of what we were
                           an

          3      doing, what we were involved in; and basically just a meet
          4      and greet.       And I think that from Ekim's perspective it             \^ra   s

          5      afso to   showthat he was -- you know. he had the right
          6      people doing this proj ect.
          7           Q Who did most of the talking at the meeting on the
          I      Turkish side?
          9           A         The son in faw did most of the talking.
         10          0    What was the focus of the conversation?
         11          A     It was, initially it was sort of high levef and
         t2     then as it went on -- and it was probably a 20 to 30 minute
         13     meeting -- it was about, you know, the son in l-aw was
         t4      talking about Gulen in general.
         15            Q What was the goaf of the Turkish officials
         16      regarding cu.Ien?
         t1           A         They were clearly anti-Gu.l-en. I think their
         18     desire was to figure out a way to, basically to you know,
         19     get the United States to understand that this is a bad guy,
         2A     he's affecting the relationship, and that they wanted to
         27     get him bac k.
         22           Q         They wanted him to be brought back to Turkey?
         23           A   Yeah. I mean they work in various ways to
         24     understand how to get him back.
         25                   BY MR. GILLIS:



                                          Dlversifled Reporting Servlces, lnc.
                                                    1426 Duke Street
                                               Alexandria, Yirginia 22314
                                                     (202) 467_9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                         DOJSCO - 700023446
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 25 of 38

                                                                                              24

          1             Q I'm sorry. Do you know, General, whether up
          2       until- that point the United St ates government had taken a
          3       position with Turkey about whether they were goi-ng to send
          4       him back or not ?
          5             A    I befieve we did. You know, I mean I don't have
          6       the specifics, but I be.l-ieve there was a -- there was
          1       certainly discussion about it.
          I            Q So before this meeting there had been discussion
          9       with the United States government and the Turkish
         10       government    ?

         l-1             A      I believe so, yeah. Yeah.
         t2            Q        Sorry, just to clarify.
         13            A    Yeah, because when the coup occurred there was
         14      al-I this noj.se about Gulen certainly in the media so I                    I
         15      mean, I'm going to make an assumption that there was a
         1.6            Q       Don't make an assumption.
         l1             A       -- there was a position.
         18             Q       Okay.
         19             A      Weff f mean, what I'm saying is it was known that
         20       he   was somebody that the Turkish government wanted back.
         2l      That    was   pretty clear.
         22                     BY MR.   TURGEON:

         23             o      Other than the proj ect, what business or
         24      potentiaf business was d.iscussed  that meeting?
         25          A     That's real1y it. I mean, j ust kind of                    an



                                            Dlverslfled Reportlng Servlces, lnc.
                                                      1426 Duke Street
                                                 Alexandria, Virginia 22314
                                                      (202) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                           DOJSCO - 700023447
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 26 of 38

                                                                                               25
          1       ovelvlew   of what we were doing.
          2             o     I'm showing you what's been marked as Exhibit                8

          3       Have you   seen that emai.I be fore ?
          4            A      I have.
                       o      What is the subject line of the email?
          6            A      September 19th of 20th.
          1            Q Do you see where Mr. Rafiekian says, "We don't
          I       have the detail-s but we'f.L have it from the cl-ient shortLy.
          9       The duration wilf not exceed on hour. As I mentioned, the
         10       meeting is with high-IeveJ- audience, cabinet plus level
         11       related to confidence    "?

         72            a
                       .r    \/6^
                              r!t/.

         13            Q        that email concern the
                              Does                                     New   York City meeting
         74       on September 19, 2016 --
         15            A   Yes.
         1.6           O -- that you just discussed?
         l1            A     Yes, yep.
         18           Q After that meetj-ng what conversations did you
         19      have with Mr. Afptekin about the project?
         20           A    I mean, I think just in general how things were
         27      going, that he was running it at that point. The various
         ))      things that we were tafking about doing, were they moving
                 forward, were things moving in the rlght direction, and was
         24      the cfient -- in this case, was Ekirn satisfied that
         25      everything was moving atong.


                                         Dlverslfled Reportlng Servlces, Inc,
                                                     1426 Duke Street
                                                Alexandria, Yirginia 22314
                                                      (202\ 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                         DOJSCO - 700023448
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 27 of 38

                                                                                            26
           1           Q     How did those conversations take place?
          2            A     Emalls with me. It was erther emai] contact,
          3       phone ca.ILs wi.th Bijan, and then from about that point we
          4       started, you know -- we did these Eriday afternoon, you
          5       know, conference calIs with Ekim.
          6            Q How often were those conference cal-ls?
          1            A     They were, I think we probably had three, you
          I       know, ish. At feast three I think we had usually on a
          9       Eriday afternoon.
         10            Q Who else from FlG participated in these cal-ls?
         11            A    Usually it would be Bijan. He would set j-t up,
         72       myself, and there was somet.imes three or four, or five or
         13       six. It depended on their peopfe's avallability.     f mean,
         1.4      people like Mike Boston, Ryan Mccaul-ey. PauI Becker                was

         15       there a coup.Ie times. So, yeah.
         l6            Q What was the purpose of these calfs?
         71            A    It was an update. Update caf1s.
         18           Q Update about what ?
         l9           A     About the status of the -- of what we were
         20      involved in, what we were doing. You know, we -- there
         2I      would usualJ-y be a set of talking points that Bijan would
         22      prepare. We'd go through the talking points. Ekim woufd
         23      give us feedback from wherever he was at. Somet j-mes he was
         24      overseas it seemed, and he would give us feedback on his
         25      conversations with Turkj-sh government of f j-ciaf s.


                                         Dlverslfled Reportlng Servlces, lnc.
                                                   '1426
                                                        Duke Street
                                              Alexandria, Yirginia 2231 4
                                                   (2O2) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                        DOJSCO - 700023449
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 28 of 38

                                                                                              21
          1               Q      About the proj ect ?
          2               A      l,Im-hmm.

          3               0         the subject matter of the work that EIG
                                 What was
          4      was performing on the project?
          5           A    Primarily it was about Gufen. I mean, .it was
          6      this -- we did a game. There was talk about the video
          1      production that seemed to take, you now, too fong actually,
          I      and then just other things that peopfe had been doing in
          9       their   own areas.
         10                      So each person would provide, you know, if they
         11       had done something j-n that period of time between
         1-2      conference caIfs, they would tafk about what actj.ons they
         13       had ta ken .
         74               Q     aII of that work product about Gulen?
                                 Was
         15               AFor the most part I think, yeah. I'd say yes,
         16       for the most part.
         l1            Q What work product do you know of that was not
         18       about   Gu.l-en?

         19               A I don't think there was anything that we had done
         20       that had anything to do with, you know, anything efse l-ike
         2L       business cLimates or stuff like that.
         22            Q What did Mr. Alptekin say he was doing with the
         23       information you provided him on those cafls?
                       A    He was prov.iding it back to his contacts in the
         25      Turkish government.


                                             Dlverslfled Reportlng Services, Inc.
                                                       1426 Duke Street
                                                  Alexandria, Y nginia 2231 4
                                                       (2O2) 467_9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                            DOJSCO - 700023450
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 29 of 38

                                                                                            28

          1              Q   To which contacts      ?

          2              A   Same ones   we've been talking about. He woufd
          3       mention names or he woul-d mention -- but pretty much the
          4       same set of characters that we've been di-scussing. That
                  seemed to be his conduit backed j-nto basj-cal-Iy the senior
          6       levefs of the Turkish government.
          1            Q What feedback did you receive during those calls?
          I            A    I mean generally, my concern was were we -- you
          9       know, were we moving along, was the project moving aIong,
         10       and were they generally satisfied. And that's what I r,ras
         1t       looking for, because they were paying us.
         1)            Q When you say, "Were they generally satj-sfied,                 "
         13      who do you mean  by "they"?
         l4              A   Primarily Ekim because he was the conduit.                He

         l-5      was the person that was sort of the direct c.Iient, the face
         16       of the client. But I think also the Turkish government.
         l1                  BY MR. GILLlS:
         18            Q He was the conduit for the Turkish government?
         19      Is that what --
         20           A     Yeah, it seemed like that. It seemed fike his
         27      conversations with us, you know, his feedback, his
         22      interact ions were always about how he was tal. king back to
         23      the Turkish, to senior members of the Turkish government,
         24      and then he would give us the j-r SENSE of what they fe1t.
         25      You know?


                                         Dlversifled Reportlng Services, lnc.
                                                   1426 Duke Street
                                              Alexandria, Yirginia 22314
                                                   (2O2) 467_9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                        DOJSCO - 700023451
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 30 of 38

                                                                                                      29
          1                  And I never go the impression that we were moving
          2      in the wrong dj-rection, and that was really my thing was
          3      sort of pop in, get an update, and as long as werre movj-ng
          4      in the right direction and they were happy, then I was
          5      okay.
          6                  BY MR.     TURGEON:

          1              Q   I'm showing you what's been marked as Exhibit                       9.
          I              A   Yep.
          9              Q   Have you seen       that before?
         10              A   I have, yep.
         11              Q   Is that a text        message      that you sent on October
         l2      22nd,   2016?

         13              A   Yep.

         L4              0   In the first      Iine do you see where you said,
         t5      "Overalf a very good cal1"?
         L6          A     t4m-hmm.

         L1              Q   "I   may be meetingwith him early next week during
         18      an Amer i can-Turki sh conference in W.D.C. "?
         19              A   l4m-hmm.

         20              Q Is that a reference to one of the update                    cal.l-s
         2t      you had with Mr. Alptekin about the project?
         22           A    I befieve it is. I befieve that this is                     a

         23      response to, you know, our call.
         24              Q   Do you see     a few l-ines        down    in the text   message
         25     where you state, "1 walked him through the social media


                                           Dlverslfled Repo lng Servlcea, Inc.
                                                     1426 Duke Street
                                                Alexandria, Yirginia 2231 4
                                                      (2O2) 467-9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                         DOJSCO - 700023452
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 31 of 38

                                                                                           30

          1       analysis which he found very interesting and worth talking
          2      to the E.M. about " ?
          3            A    Yep.

          4            Q Who is the E.M.?
          5            A    Eoreign Minister, I believe.
          6            Q Is that an example of Mr. ALptekin telling you
          1      that he was passing j.nformation about the project to
          8      Turkish government of ficia Is ?
          9            A    Yes, yep. Yep.
         10            0    What written opinion pieces, or op-eds, were
         11      publj.shed as part of the project?
         1.2           A     An op-ed that was published on Gulen
         13       specifical Iy.
         l4            Q     r'm showing you what's been marked as Exhibit 10;
         15      do you recogni-ze that    ?

         16            A     Yep.

         I1            o     what is it?
         18            A   It's an op-ed on kind of what the tit.Le says on
         19      cufen, and the crisis going on in Turkey.
         20           o    What was the title of the op-ed?
         2l           A    The title of the op-ed is, "Our a]ly Turkey is in
         22      crisis and needs our support. "
         23           o    Where was that op-ed published?
         2A           A    I mean it was publj-shed in The HiIl here but I
         25      think it also was pubJ-ished in a couple other, you know,


                                         Dlverslfled Reporting Servlces, lnc.
                                                    1426 Duke Street
                                               Alexandria, Vi$inia 223 I 4
                                                    (202\   467 -9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                        DOJSCO - 700023453
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 32 of 38

                                                                                                    31

          1      publications, but principally The HiIl.
          2           Q when was it pubJ.ished?
          3           A    It was published on I be.Iieve November 9th.
          4      Right? Yeah, I think it was November 9th. It was the                         day
          5      of the e.Lection.
          6           Q Do you see the byline of the article?
          7           A    Yep, I do, yeah.
          I           Q What publication date --
          9             A           The 8th, the 8th, yeah.
         10             Q           Whose name   j.s listed as the author of the           op-ed?
         11             A           My name,
         1.2            0           How   did you first find out that this op-ed was in
         13      the   wor ks   ?

         14            A   Bijan had sent me a draft of it a couple of                       days

         15      prior, maybe about a week prior.
         76             Q           How did he send you that draft?
         71             A           He sent it to me in an emai-l I befieve.
         18           Q             What conversations did you and Mr. Rafiekian
                                                                           have

         19      about writ.ing this op-ed before you received that email
         20      with a draft of the op-ed?
         2L           A      We really didn't have any conversations about

         22      this op-ed. We tafked in general that op-eds wou.Id be a
         23      potentj-al- product that we would provide, but we never had
         24      any conversations about this specj-fic one.
         25           Q Did you sketch out specific ideas for this

                                               Dlverslfled Reportlng Servlces, Inc.
                                                         1426 Duke Street
                                                    Alexandria, Yirginia 223 1 4
                                                          (2O2) 467.9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                              DOJSCO - 700023454
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 33 of 38

                                                                                         32

          1      particu.l-ar op-ed with hirn before you saw the draft            ?


          2           A     No.

          3                 BY MR. GILLIS:
          4           Q     And General, was       this op-ed one of the
          5      deliverab.Ies for this proj ect ?
          6           A      I feft it was. I felt it was one of the things
          1      that we needed to show that we had done something, because
          I      we real-J-y hadn't done much by that point.
          9                 BY MR.   TURGEON:

         10           Q     I'm showing you what's been marked as Exhibit              No.

         11      11. Do you recognize that?
         72           A    I do. Yep, I do.
                      Q What is it?
         I4           A    It's a lobbying regj-stration document.
         15           Q ]s that a lobbying regj,stration document under
         16      the Lobbylng Disclosure Act of 1995?
         I1           A    Yeah, yep. Looks fike it, yep, LB1, yeah.
         18           Q on page 2 what is the date of the registratj-on?
         19           A    September 30th, 2016. Is that the date you're
         20      looking for here?
         2L           0    The date the registration was signed.
         22           A    Yeah, so 9-30-2016, yep.
         23           Q How did you first come to see this registration?
         24           A    I be.Iieve that th j.s was sent to me by Bi j an.
         25           Q In line 10 of the registration --

                                        Dlverslfied Reportlng Services, Inc.
                                                  1426 Duke Street
                                             Alexandria, Y irginia 223 I 4
                                                   (202) 467.9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023455
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 34 of 38

                                                                                                         33
           1               A       Okay.
          2                o       Who    is    Ii   sted as the lobbyist for               EIG?

          3                A       Robert Kel1y.
          4                o       Whatrofe did Robe rt KeJ-]y have at EIG ?
          5                A       Robert KeIIy was the lawyer that we used for this
          6      proj ect      .


          1                o       Did Robert Ke1ly ever do any Iobbying on the
          8       proj ect for       EIG   ?


          9                A       None    that f'm aware of.
         10                        BY MR. GILLIS:
         11                O       Bej-ng      as invo1ved in the project as you were, at
         l2       any point did you have any discussion with him about doing
         13       lobbying?
         T4                A       Lobbying Bob Kell-y, no, no, no.
         15                0Did you have any discussion with Rafj-ekian about
         16      Bob Kel-Iy doing any Iobbying j-n connection with this
         11      proj ect ?
         18                A       I don't believe f ever did, nope.                        No.

         19                        BY   MR.    TURGEON:

         20                o                at.Iine 12 which asks about specific
                                   Do you see
         21.      J-   obby ing issues, current and anticipated?
         ')a               A       Yep.

         23                o    is Listed in l-ine 12?
                                   What
         24          A     "The registrant will advise client on U.S
         25      domestic and foreign pol-j-cy, E-1635 and the house


                                                     Dlverslfled Reporting Servlces, lnc,
                                                               1426 Duke Street
                                                          Alexandria, Y irginia 223 1 4
                                                                (202) 467-9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                                      DOJSCO - 700023456
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 35 of 38

                                                                                                       34

          I      counterpart, HR-1735, and the Senate counterpart."
          2                QDo         you know what those bills                are?
          3                ANo         idea.
          4                Q     Did    the project have anything to do with pending
          5      J.egislatj-on?
          6                A   that I'm aware of .
                                 Not
          1           Q Do you recall any d.iscussions with anyone at                            EIG

          8      about pending l-egi s la ti on in relation to the proj ect ?
          9                A     I don't,      no.
         10                      BY MR. GILLIS:
         11          Q General, if I could ask you to take a fook at
         72     Grand Jury Exhibit 13.
         13          A    Okay.
         L4          Q Have you seen that before?
         15                A     I have.
         76                Q      recaff before this meeting with the
                                 Do you
         l7     Turkish officials in New York Bijan Rafiekian sending out
         18     talking points regarding what was to take place there?
         19           A   Yes, yep.
         20           Q By the way, was that typical for him to do j-n
         2I     connection wi.th these calfs or other meetings that he would
         22     have   ?

         23                A     Yeah,     he normally did.            He   normally did.   He

         24     wouJ.d     send, you know, for the calf      that I've taf ked about
                                                                       s

         25     already he        woul-d   have an orange sheet sort of set of bullet


                                               Dlversifled Reportlng Servlces, Inc,
                                                          1426 Duke Street
                                                     Alexandria, Y irginia 2231 4
                                                          (202) 467_9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                               DOJSCO - 700023457
              Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 36 of 38

                                                                                         35

          1      talking points.
          2            0   OkaY. If you'd turn the page there and actuaffy
          3      just look through. I know you've recentfy had a chance to
          4      fook at this but if you would just turn the pages there to
          5      look through those several numbered pa.ragraphs.
          6           A    Okay.
          1           Q Okay. To the best of your recoLlection is that
          I      what that meeting in New York was about ?
          9           A     Yes.
         10          Q If I could show you        I'm going to show you
         11      Exhibit -- I'm going to withdraw that question, general.
         t2           A     Okay.
         13                 MR. GILLIS:      If I could have one moment.
         t4                 BY MR. GILLIS:
         15           Q                              a discussion about the
                            Do you recalL there bej-ng
         T6      Turkish officials' expectations of EIG being higher than
         t1      what you might be able to provide?
         18           A    I do recall an exchange wj-th Bijan about that.
         t9           Q     Te]] us about --
         20           A     This was after this meeting.
         2L           Q     After the New York meeting?
         22           A     Yeah, I beLieve that was.
         23          Q      TeII us what you recal] about that.
         24          A      That I think that they, what they expected us to
         25     do in a   short period of ti.me was unrealistic.

                                        Dlverslfled Reportlng Services, tnc.
                                                  1426 Duke Street
                                             Alexandria, Y irginia 2231 4
                                                   (2O2) 467_9200


SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                       DOJSCO - 700023458
               Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 37 of 38

                                                                                                         35
          1              Q       "They" being the Turkish?
          2              A       They being the Turkish government officials,
          3      yeah.
          4                      MR. GILLIS:      Gener:af    r if we coufd ask you to step
          5      out s ide   .


          6                      THE WITNESS: Okay.

          1                   GILLIS: But before we do let
                                 MR.                                                 me    just have a
          8      fook here. You can come up to the door.
          9                      THE WITNESS: See you.

         10                      (Whereupon,     the witness         was    excused.   )


         11                             at 10:38 a.m., the taking of the
                                 (Whereupon,
         1.2     testimony j-n the presence of a full quorum of the Grand
         13      Jury was conc.Iuded.     )


         74                                             *****
         15

         16

         L1

         18

         l9
         20

         2L

         22

         23

         24




                                              Dlverslfied Reportlng Servlces, tnc.
                                                        1426 Duke Street
                                                   Alexandria, Y irginia 2231 4
                                                         (202) 467 _9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                               DOJSCO - 700023459
          Case 1:17-cr-00232-EGS Document 150-2 Filed 01/07/20 Page 38 of 38



                                   C_E_R_T_I-F- I-C-A-T-E
                       I, Isaac Lewandowski, the reporter for the Unj-ted
             States Attorney's Office, do hereby certify that the
             witness whose testimony appears in the foregoing pages was
             first duly sworn by the Eoreperson or the Deputy Foreperson
             of the Grand Jury when there was a fuff quorum of the Grand
             Jury present; that the testimony of said witness was taken
             by me and thereafter reduced to typewrj-tten form,' and that
             the transcript is a true record of the testimony given               by

             sai-d witness.




                                    lsaac Lewandowski, Official Reporter



                                        te tHo                ranscriber




                                    Diverslfled Reportlng Servlces, Inc.
                                              1426 Duke Street
                                         Alexandria, Yicginia 223 1 4
                                               (202) 467-9200

SUBJECT TO PROTECTIVE ORDER and FRE 6(e)                                   DOJSCO - 700023460
Case 1:17-cr-00232-EGS Document 150-3 Filed 01/07/20 Page 1 of 5




         Attachment 3
           Case 1:17-cr-00232-EGS Document 150-3 Filed 01/07/20 Page 2 of 5




SUBJECT TO PROTECTIVE ORDER                                        DOJSCO - 700023259
                            Case 1:17-cr-00232-EGS Document 150-3 Filed 01/07/20 Page 3 of 5
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 0LFKDHO 7 )O\QQ    2Q       3DJH    RI 


           )/<11 ZDV LQIRUPHG E\ 5$),(.,$1 $/37(.,1 KDG FRQQHFWLRQV WR VHQLRU
           PHPEHUV RI WKH 7XUNLVK JRYHUQPHQW DOO WKH ZD\ XS WR 7XUNLVK 3UHVLGHQW
           (5'2*$1 7KHVH FRQQHFWLRQV ZHUH LQYROYHG ZLWK 3& 5$),(.,$1 NQHZ $/37(.,1
           WR EH KHDG RI WKH $PHULFDQ 7XUNLVK &RXQFLO )/<11 LQIRUPHG DJHQWV LW ZRXOG
           EH IDLU WR VD\ $/37(.,1 ZDV WKH JREHWZHHQ IRU 7XUNH\ DQG WKH )/<11 ,17(/
           *5283 ),* UHODWLRQV ZKLFK SHUWDLQHG WR 3&

           ^1RWH )/<11 ZDV VKRZQ DQ HPDLO VHQW IURP 5$),(.,$1 WR $/37(.,1 DQG )/<11
           RQ  6XEMHFW 7UXWK`

            8)282 )/<11 VWDWHG WKH HPDLO GHPRQVWUDWHG $/37(.,1 DFWHG DV D JR
           EHWZHHQ RQ 3& WR KLJK OHYHO 7XUNLVK JRYHUQPHQW RIILFLDOV VXFK DV WKH
           0LQLVWHU RI )RUHLJQ $IIDLUV 0)$  OLVWHG LQ WKH HPDLO )/<11 HYHQWXDOO\
           PHW WKH 7XUNLVK 0LQLVWHU RI )RUHLJQ $IIDLUV

           ^1RWH )/<11 ZDV VKRZQ DQ HPDLO VHQW IURP $/37(.,1 WR )/<11 DQG 5$),(.,$1
           RQ  6XEMHFW 7UXWK`

             8)282          )/<11 VWDWHG WKH HPDLO GHSLFWHG 7XUNH\¶V LQYROYHPHQW LQ 3&

           ^1RWH )/<11 ZDV VKRZQ DQ HPDLO VHQW IURP $/37(.,1 WR )/<11 DQG 5$),(.,$1
           RQ  6XEMHFW 7UXWK )/<11 ZDV DVNHG DERXW D UHIHUHQFH WR D
           ³*UHHQ /LJKW´`

            8)282 7KH ³*UHHQ /LJKW´ PHQWLRQHG LQ WKH HPDLO UHIHUHQFHG WKH 7XUNLVK
           0)$ DQG 0LQLVWHU RI (FRQRPLFV )/<11 GLG QRW NQRZ GXULQJ WKLV WLPH SHULRG
           LI ),* ZDV KLUHG GLUHFWO\ E\ WKH 7XUNLVK JRYHUQPHQW RU E\ $/37(.,1,1292
           )/<11 GLG NQRZ WKH KLJKHVW OHYHOV RI WKH 7XUNLVK JRYHUQPHQW ZRXOG EH
           LQYROYHG ZLWK 3& )/<11 NQHZ IXQGV ZRXOG FRPH IURP $/37(.,1 RU WKH 7XUNLVK
           JRYHUQPHQW )/<11 NQHZ DW WKLV WLPH 3& ZDV LQ VXSSRUW RI 7XUNH\ ZLWK
           WKHLU XQGHUVWDQGLQJ DQG LQYROYHPHQW )/<11 GLG QRW NQRZ LI 3& ZDV JRLQJ WR
           GLUHFWO\ VXSSRUW 7XUNH\ +RZHYHU )/<11 NQHZ 7XUNH\ ZDV DEVROXWHO\
           LQYROYHG )/<11¶V XQGHUVWRRG WKH ³*UHHQ /LJKW´ PHQWLRQHG LQ WKH HPDLO
           UHIHUUHG WR KLJK OHYHO 7XUNLVK JRYHUQPHQW RIILFLDOV )/<11 GLG QRW FDUH
           ZKR ZDV JRLQJ WR SD\ IRU 3& )/<11 VLPSO\ ZDQWHG WKH FRQWUDFW DQG NQHZ LW
           ZDV RQ EHKDOI RI WKH JRYHUQPHQW RI 7XUNH\ )/<11 GLG QRW JLYH WKRXJKW WR
           ZKHUH WKH PRQH\ IRU 3& ZRXOG FRPH IURP HLWKHU GLUHFWO\ IURP $/37(.,1
           ,1292 RU GLUHFWO\ IURP WKH 7XUNLVK JRYHUQPHQW $IWHU WKH 
           SUHVLGHQWLDO HOHFWLRQ )/<11 UHFDOOHG $/37(.,1 SRVWHG RQOLQH WKH PRQH\ IRU
           3& GLG QRW FRPH IURP WKH 7XUNLVK JRYHUQPHQW ,W ZDV FOHDU WR )/<11 WKURXJK
           HPDLO DQG FRQYHUVDWLRQV ZLWK 5$),(.,$1 3& ZDV RQ EHKDOI RU LQ VXSSRUW RI
           WKH 7XUNLVK JRYHUQPHQW

             8)282          )/<11 GLG QRW UHFDOO D PLG$XJXVW  PHHWLQJ IRU 3&


SUBJECT TO PROTECTIVE ORDER
                         81&/$66,),(')282                                           DOJSCO - 700023260
                            Case 1:17-cr-00232-EGS Document 150-3 Filed 01/07/20 Page 4 of 5
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 0LFKDHO 7 )O\QQ    2Q       3DJH    RI 


            8)282 )/<11 ZDV DZDUH 5$),(.,$1 DQG ),* XWLOL]LQJ 9,5758 DQ L&ORXG
           VHUYLFH SURYLGHU )/<11 FRXOG QRW JHW WKH 9,5758 DSSOLFDWLRQ WR RSHQ RQ
           KLV L3KRQH 5$),(.,$1 LQIRUPHG )/<11 WKDW 9,5758 ZDV D VHFXUH ZD\ RI
           FRPPXQLFDWLQJ

           ^1RWH )/<11 ZDV VKRZQ WZR HPDLOV GDWHG  VXEMHFW 2SHUDWLRQ
           &RQILGHQFH DQG  VXEMHFW 7UXWK`

            8)282 )/<11 LQGLFDWHG WKH WZR HPDLOV GHSLFWHG 2SHUDWLRQ &RQILGHQFH DQG
           WKH 7UXWK &DPSDLJQ ZHUH V\QRQ\PRXV ,W ZDV QRW PDGH FOHDU WR )/<11 GXULQJ
           WKLV WLPHIUDPH LI IXQGLQJ IRU 3& ZDV JRLQJ WR FRPH IURP $/37(.,1¶V 'XWFK
           FRPSDQ\ >,1292@ RU WKH 7XUNLVK JRYHUQPHQW 7KH JRDO DQG GLUHFWLRQ RI 3&
           GLG QRW FKDQJH UHJDUGOHVV RI ZKR IXQGHG 3& 7KH JRDO RI 3& ZDV WR UHVWRUH
           FRQILGHQFH LQ WKH JRYHUQPHQW RI 7XUNH\ DQG LPSURYH UHODWLRQV ZLWK WKH 86
           7KHUH ZDV QR FKDQJH WR 3& RQFH WKH '87&+ FRPSDQ\ EHFDPH LQYROYHG DQG
           7XUNH\ FRQWLQXHG WR EHQHILW IURP 3& )/<11 VWDWHG LW ZDV FOHDU $/37(.,1
           ZDV QRW 'XWFK

            8)282 )HWXOODK *8/(1 ZDV FRQVWDQWO\ GLVFXVVHG WKURXJKRXW 3& $OO
           DVSHFWV RI 3& ZKDW )/<11 ZDV DZDUH RI DQG ZKDW ),* SURYLGHG GHDOW ZLWK
           *8/(1 $V WKH SURMHFW SURJUHVVHG *8/(1 ZDV WKH IRFXV *8/(1 ZDV D
           FRPSRQHQW RI 3& IURP WKH EHJLQQLQJ

           6HSWHPEHU  1HZ <RUN &LW\              1<&   0HHWLQJ

            8)282 'XULQJ WKH 6HSWHPEHU  1<& PHHWLQJ EHWZHHQ ),* DQG PHPEHUV RI
           WKH 7XUNLVK JRYHUQPHQW $/37(.,1 DWWHPSWHG WR GHPRQVWUDWH WR WKH 7XUNLVK
           JRYHUQPHQW RIILFLDOV KH KDG WKH ULJKW SHRSOH LQYROYHG IRU 3& $/37(.,1
           WULHG WR JDLQ WKH VDWLVIDFWLRQ IURP WKH 7XUNLVK JRYHUQPHQW RIILFLDOV
           SUHVHQW DW WKH PHHWLQJ $/37(.,1 DSSHDUHG WR KDYH D JRRG UHODWLRQVKLS ZLWK
           3UHVLGHQW (5'2*$1¶6 VRQLQODZ ZKR ZDV SUHVHQW DW WKH PHHWLQJ 7KH 7XUNLVK
           JRYHUQPHQW RIILFLDOV ZKR ZHUH SUHVHQW DW WKH PHHWLQJ ORRNHG VDWLVILHG DW
           ZKDW ),* ZDV DEOH WR SURYLGH RQ 3& 5$),(.,$1 DQG %ULDQ 0&&$8/(< >HPSOR\HG
           E\ ),*@ WRRN D WUDLQ WR 1<& IRU WKH PHHWLQJ -DPHV :22/6(< ZDV DOUHDG\ LQ
           1<& IRU UHDVRQV RWKHU WKDQ WKH PHHWLQJ 3ULRU WR WKH PHHWLQJ DQG EHIRUH
           WKH 7XUNLVK JRYHUQPHQW RIILFLDOV DUULYHG )/<11 5$),(.,$1 :22/6(< DQG
           0&&$8/(< WDONHG DERXW KRZ WKH PHHWLQJ VKRXOG JR 3& ZDV ),*¶V RSSRUWXQLW\
           WR SUHVHQW 3& WR 7XUNLVK PLQLVWHUV DQG XSGDWH WZR VHQLRU 7XUNLVK
           JRYHUQPHQW RIILFLDOV 7KLV ZDV WKH ILUVW PDMRU SURMHFW IRU ),*

            8)282 )/<11 GLG QRW UHFDOO HYHU KDYLQJ KHDUG DERXW DQ ,VUDHOL FRPSDQ\
           PHQWLRQHG LQ GLVFXVVLRQV UHJDUGLQJ 3&

           ^1RWH )/<11 ZDV VKRZQ KLV 6WDWHPHQW RI WKH 2IIHQVH IRUP`


SUBJECT TO PROTECTIVE ORDER
                         81&/$66,),(')282                                           DOJSCO - 700023261
                            Case 1:17-cr-00232-EGS Document 150-3 Filed 01/07/20 Page 5 of 5
)'D 5HY 


                                                 81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 0LFKDHO 7 )O\QQ    2Q        3DJH    RI 


            8)282 )/<11 LQIRUPHG DJHQWV KH KDG UHDG WKH 6WDWHPHQWV RI 2IIHQVH
           )/<11 DJUHHG WKH LQIRUPDWLRQ KH KDG SURYLGHG WR LQYHVWLJDWRUV UHJDUGLQJ
           ),* DQG ,1292 V FRQWUDFW RQ 3& ZDV WKH EDVLV IRU SDUDJUDSK ILYH RI WKH
           6WDWHPHQWV RI 2IIHQVH

           ^1RWH )/<11 ZDV VKRZQ ),*¶V )RUHLJQ $JHQWV 5HJLVWUDWLRQ $FW                    )$5$      ILOLQJ
           ZKLFK GHSLFWHG WZR SD\PHQWV RI  HDFK WR ,1292 %9`

            8)282 )/<11 ZDV QRW DZDUH RI WKH SD\PHQWV WR ,1292 DV KDYLQJ EHHQ
           DVVRFLDWHG ZLWK SXEOLF UHODWLRQV RU OREE\LQJ

           2SLQLRQ HGLWRULDO             RSHG

            8)282 )/<11 UHFDOOHG ),* VKRXOG SRVW WKH RSHG ZKLOH ³7KH ,URQ ZDV
           KRW´ )/<11 GLG QRW FRQVLGHU KLPVHOI $/37(.,1 RU 5$),(.,$1 WR EH WKH
           ³,URQ´ )/<11 FRQVLGHUHG WKH ³,URQ´ WR EH WKH HQYLURQPHQW )/<11 GLG QRW
           UHPHPEHU EUDLQVWRUPLQJ RU GUDIWLQJ WKH RSHG RQ *8/(1 ZLWK 5$),(.,$1
           )/<11 VWDWHG WKH IRFXV RI 3& ZDV DLPHG DW *8/(1

           )$5$ 6WDWHPHQWV

            8)282 :KHQ DVNHG LI KH LQIRUPHG &RYLQJWRQ WKDW 3& ZDV NHSW LQIRUPHG RI
           RU GRQH RQ EHKDOI RI WKH 7XUNLVK JRYHUQPHQW )/<11 LQIRUPHG LQYHVWLJDWRUV
           KH GLG QRW LQIRUP &RYLQJWRQ LQ WKHVH ZRUGV )/<11 GLG QRW EHOLHYH KH
           LQIRUPHG &RYLQJWRQ WKDW 7XUNH\ SURYLGHG IHHGEDFN RQ 3& )/<11 DQG
           5$),(.,$1 GLG QRW JR RYHU WKH )$5$ ILOLQJ WRJHWKHU )/<11 GLG VHH ),* V
           )$5$ DSSOLFDWLRQ SULRU WR LW EHLQJ ILOHG )/<11 ZDV RQO\ DZDUH RI RQH
           SURMHFW DQG ZDV QRW DZDUH RI D VHFRQG SURMHFW EHLQJ ZRUNHG E\ ),* GXULQJ
           WKLV WLPH




SUBJECT TO PROTECTIVE ORDER
                         81&/$66,),(')282                                           DOJSCO - 700023262
Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 1 of 7




         Attachment 4
Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 2 of 7
FD-302a (Rev. 5-8-10)       Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 3 of 7

                                              UNCLASSIFIED//FOUO


Continuation of FD-302 of   (U//FOUO) Interview of Rob KELNER          , On   07/03/2019   , Page   2 of 6




          (U//FOUO) {Note: KELNER was presented with a document, GEX 24B, email sent
          from RAFIEKIAN to FLYNN and Michael FLYNN Jr. sent on 9/9/2016}

          (U//FOUO) KELNER believed he had asked RAFIEKIAN about this email during the
          second, of his two interviews, conducted of RAFIEKIAN. KELNER recalled
          having asked RAFIEKIAN to describe the part in the email, “As I mentioned,
          the meeting is with high level audience (Cabinet+level) related to
          “CONFIDENCE””. RAFIEKIAN informed KELNER the aforementioned meeting had
          nothing to do with the project FIG worked on for INOVO and it was more of a
          “happenstance” with similar issues FIG/INOVO were having with its project.
          The aforementioned meeting and the FIG/INOVO project had overlapping subject
          matter. This was the impression KELNER got from RAFIEKIAN, although he did
          not remember the exact words RAFIEKIAN used.

          (U//FOUO) OP-ED

          (U//FOUO) KELNER did not recall having asked RAFIEKIAN about the timing of
          the published FLYNN 11/8/2016 Op-Ed.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 43A, email dated
          10/13/2016.}

          (U//FOUO) KELNER had seen the email presented to him and confirmed it was
          related to GEX 43B, Project Confidence Talking Points.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 93B, Letter from
          Arent Fox to ALPTEKIN.}

          (U//FOUO) KELNER did not recall having discussed this letter with RAFIEKIAN.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 22A, email sent
          from RAFIEKIAN to ALPTEKIN and FLYNN on 9/3/2016.}

          (U//FOUO) The email was in reference to the attached FIG/INOVO contract.
          When asked about the statement in the email, “We have been at work on this
          engagement since July 31st”, KELNER thought it was somewhat consistent with
          what RAFIEKIAN informed him of about the timing of the FIG/INOVO contract.
          KELNER did not recall having discussed this email with RAFIEKIAN.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 25C,



                                              UNCLASSIFIED//FOUO
FD-302a (Rev. 5-8-10)       Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 4 of 7

                                              UNCLASSIFIED//FOUO


Continuation of FD-302 of   (U//FOUO) Interview of Rob KELNER          , On   07/03/2019   , Page   3 of 6




          email/attachment sent from RAFIEKIAN to FLYNN and FLYNN Jr on 9/12/2016.}

          (U//FOUO) KELNER described this email as having been associated with the
          FIG/ALPTEKIN contract. KELNER did ask RAFIEKIAN about the Draft Advisory and
          this particular email during the time he interviewed him. After ALPTEKIN and
          FIG agreed on the contract, RAFIEKIAN informed KELNER that ALPTEKIN had
          asked for a refund for public relations and lobbying services which were
          ultimately not going to be conducted as a service provided by FIG to INOVO.
          RAFIEKIAN claimed the audit trail mentioned in the email was necessary for
          the terms of the refund.

          (U//FOUO) Refund vs Kickbacks

          (U//FOUO) {Note: KELNER was presented with a document, GEX 25A, FIG Bank of
          America records (BOA).}

          (U//FOUO) KELNER recalled having previously reviewed the BOA records.
          Regarding the $40,000 payments from FIG to INOVO recorded in FIG’s
          accounting records, labeled as “Consulting Fees”, RAFIEKIAN informed KELNER
          that he, RAFIEKIAN, was not responsible for handling FIG’s accounting
          records and it must have been labeled “Consulting Fees” as a mistake.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 19, email sent
          from RAFIEKIAN to ALPTEKIN and FLYNN on 8/25/2016.}

          (U//FOUO) KELNER believed he asked RAFIEKIAN about this specific email
          during his interview of him. KELNER did not recall RAFIEKIAN’s reaction to
          the email when asked about it. Regarding the 20% of the $150K per month
          going back to ALPTEKIN as the advisory support cost provided to INOVO,
          mentioned in the email, RAFIEKIAN informed KELNER there were discussions of
          ALPTEKIN providing advisory services on an earlier project that did not come
          to fruition. The funds going to ALPTEKIN/INOVO from FIG were for services
          not performed.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 33C, email sent
          from RAFIEKIAN to FLYNN and ALPTEKIN on 10/11/2016.}

          (U//FOUO) KELNER recalled having discussed an email with RAFIEKIAN during
          his interview of him which documented the sending of a payment in the amount
          of $40,000 from FIG to INOVO. KELNER did not recall if it was this specific


                                              UNCLASSIFIED//FOUO
FD-302a (Rev. 5-8-10)       Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 5 of 7

                                              UNCLASSIFIED//FOUO


Continuation of FD-302 of   (U//FOUO) Interview of Rob KELNER          , On   07/03/2019   , Page   4 of 6




          email presented to him which triggered his discussion with RAFIEKIAN.
          RAFIEKIAN informed KELNER he did not always choose the correct words and the
          money sent back to INOVO/ALPTEKIN was supposed to be refunds for services
          not rendered.

          (U//FOUO) Foreign Agents Registration Act (FARA) Filing

          (U//FOUO) KELNER opined RAFIEKIAN was upset that FIG registered under FARA.
          During a late –night phone call RAFIEKIAN made to KELNER, which KELNER said
          he was certain occurred before the 3/7/2017 filing, KELNER described
          RAFIEKIAN as distressed about the upcoming filing and informed KELNER that
          he, RAFIEKIAN, had a heart condition. RAFIEKIAN objected to the term
          “kickback” having been used in the FARA draft in reference to political
          contributions, and he wanted the term removed.

          (U//FOUO) KELNER informed agents the final draft of the FARA filing prepared
          by Covington was sent to FLYNN through his attorney, Kristen VERDERAME.

          (U//FOUO) KELNER may have learned from VERDERAME or ALPTEKIN’s attorney
          [Mathew] Nolan that ALPTEKIN was not happy with FIG having filed under FARA.

          (U//FOUO) {Note: KELNER was presented with a document, GEX 13, email sent
          from RAFIEKIAN to ALPTEKIN and FLYNN on 8/4/2016.}

          (U//FOUO) KELNER did not recall if he discussed this email with RAFIEKIAN
          during one of the interviews he conducted with him. KELNER conducted two
          interviews of RAFIEKIAN and at least one phone call, with the possibility of
          more, which Covington used to obtain information to file the FARA
          application on behalf of FIG. Pertaining to the draft of FIG’s FARA
          application, the Department of Justice (DOJ) FARA unit did review a draft of
          the filing. The DOJ FARA unit did notice the $40,000 payment sent from FIG
          to INOVO. KELNER’s understanding on what the FARA unit informed Covington’s
          Brian SMITH, was that they asked, “What’s that about?” SMITH informed the
          FARA unit he noticed this in FIG’s accounting records.

          (U//FOUO) KELNER recalled having spoken to SMITH about the draft and SMITH
          provided minor comments of it. When asked if anything prevented
          Covington/KELNER from speaking with RAFIEKIAN again before the FARA filing,
          KELNER described he could not answer the question given the potential



                                              UNCLASSIFIED//FOUO
FD-302a (Rev. 5-8-10)       Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 6 of 7

                                              UNCLASSIFIED//FOUO


Continuation of FD-302 of   (U//FOUO) Interview of Rob KELNER          , On   07/03/2019   , Page   5 of 6




          mentioning of work product.

          (U//FOUO) When asked why he, KELNER, listed on the FARA application the
          money sent back to INOVO as “Consulting Fees” after he was informed by
          RAFIEKIAN the money sent back to INOVO were for refunds, KELNER responded by
          saying this was work product information.

          (U//FOUO) An email was sent from Covington/SMITH to VERDERAME, and then from
          VERDERAME to FLYNN which contained the FARA draft. SMITH asked Verderame to
          have FLYNN review the FARA application so Covington could apply his,
          FLYNN’s, electronic signature to it. FLYNN responded, according to KELNER,
          “Yes, approved, this is as discussed” to the email via VERDERAME which she
          then sent to SMITH. To the best of his recollection, KELNER did not recall
          having phone calls with FLYNN regarding feedback on the FARA draft.

          (U//FOUO) Information provided to KELNER by FLYNN prior to the 3/7/2017 FARA
          filing

          (U//FOUO) FLYNN did not inform KELNER of the Turkish officials who were
          involved with the FIG/INOVO project. FLYNN did not indicate to KELNER that
          Turkish officials gave the go-ahead to proceed with the project.

          (U//FOUO) FLYNN informed KELNER the September 2016 meeting in New York City
          which consisted of Turkish officials and members of FIG was organized by
          ALPTEKIN. FLYNN informed KELNER the meeting was late at night and acted as a
          meet-and-greet about the situation in Turkey. FLYNN informed KELNER the
          meeting included a brief reference to the work FIG performed for INOVO but
          FIG’s work for INOVO was not a focus of the meeting, which consisted mainly
          of listening to the Turkish officials.

          (U//FOUO) FLYNN did not inform KELNER that Fethullah GULEN was a focus of
          the FIG/INOVO project. FLYNN did not inform KELNER that ALPTEKIN was a
          conduit or go-between for FIG and Turkish officials during the project.
          FLYNN did not inform KELNER that ALPTEKIN talked to Turkish government
          officials about the FIG/INOVO project. FLYNN described the FIG/INOVO project
          as dealing with improving the economic relations between Turkey and the
          United States. FLYNN never provided inconsistences to KELNER on the work FIG
          provided to INOVO.




                                              UNCLASSIFIED//FOUO
FD-302a (Rev. 5-8-10)       Case 1:17-cr-00232-EGS Document 150-4 Filed 01/07/20 Page 7 of 7

                                              UNCLASSIFIED//FOUO


Continuation of FD-302 of   (U//FOUO) Interview of Rob KELNER          , On   07/03/2019   , Page   6 of 6




          (U//FOUO)          {Note: at approximately 4pm (approximately two hours into the
          interview          of KELNER), Sidney Powell asked Turgeon why KELNER was being asked
          questions          about FLYNN considering RAFIEKIAN was the defendant. Turgeon
          explained          to Powell that KELNER could expect these types of questions during
          his cross          examination by defense attorneys.}

          (U//FOUO) KELNER did not recall having asked FLYNN about what/if any work
          product was completed by FIG for INOVO which pertained to Gulen. KELNER
          understood from FLYNN that FIG’s work for INOVO focused on the business
          environment in Turkey.

          (U//FOUO) KELNER was informed by FLYNN the published 11/8/2016 Op-Ed article
          in The Hill was something he, FLYNN, had wanted to do out of his own
          interest. FLYNN wanted to show how Russia was attempting to create a wedge
          between Turkey and the United States. FLYNN informed KELNER the Op-Ed was
          not on behalf of FIG’s project with INOVO.




                                              UNCLASSIFIED//FOUO
Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 1 of 7




         Attachment 5
Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 2 of 7
                            Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 3 of 7
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI %ULDQ 6PLWK         2Q       3DJH    RI 


           DVVLVWHG &RYLQJWRQ DQG SURFHVVHG HPDLOV SURYLGHG E\ ),* IRU ),*¶V )$5$
           ILOLQJ 60,7+ GLG QRW UHFDOO KDYLQJ RXWVLGH DVVLVWDQFH IRU HQFU\SWHG
           UHODWHG LVVXHV &RYLQJWRQ KDG ZLWK SURFHVVLQJ ),*¶V ZRUN SURGXFWV
           GRFXPHQWV ),* KLUHG 9,5758 DQ L&ORXG VHUYLFH SURYLGHU 9,5758 SURYLGHG
           DQ DSSOLFDWLRQ WR &RYLQJWRQ LQ RUGHU IRU &RYLQJWRQ WR DQDO\]H DQG GHFU\SW
           WKH HQFU\SWHG GRFXPHQWV VXSSOLHG WR &RYLQJWRQ E\ ),* 60,7+ UHFDOOHG KH
           WDONHG WR WZR EURWKHUV WKH &KLHI ([HFXWLYH 2IILFHUV &(2 RI 9,5758
           9,5758¶6 &(2V ZHUH WKH VRQV RI D IRUPHU &RYLQJWRQ SDUWQHU 60,7+ GLG QRW
           UHFDOO KDYLQJ VSRNHQ ZLWK 9,5758¶V OHJDO FRXQVHO 6RPH RI ),*¶V HPDLOV
           GRFXPHQWV SURYLGHG WR &RYLQJWRQ FRXOG QRW EH GHFU\SWHG $W VRPH SRLQW
           GXULQJ &RYLQJWRQ¶V HPDLO DQDO\VLV 9,5758 VWRSSHG FRRSHUDWLQJ DQG
           DVVLVWLQJ &RYLQJWRQ ZLWK WKH GHFU\SWLRQ RI ),* GRFXPHQWVHPDLOV

            8)282 60,7+ DQG &RYLQJWRQ KDG H[WHQVLYH FRQYHUVDWLRQV ZLWK 6SKHUH
           &RQVXOWLQJ DQG 6SKHUH *RYHUQPHQW 5HODWLRQV 6*5 *HQHUDO &RXQVHO %HQMDPLQ
           *,16%(5* DQG *UD\VRQ <($5*,1 RI -RQHV 'D\ 60,7+ GLG QRW VSHDN ZLWK -DPHV
           &25729,&+ >IRXQGHU DQG RSHUDWRU RI 6*5@ RU *UDKDP 0,//(5 >HPSOR\HG E\ 6*5@

            8)282   60,7+ VSRNH ZLWK %ULDQ 0&&$8/(< >HPSOR\HG E\ ),*@ OLNHO\ DIWHU
           WKH )$5$ ILOLQJ 60,7+ GLG QRW LQWHUYLHZ 7LP 1(:%(55< >IRXQGHU RI WKH
           :KLWH &DQYDVV *URXS :&*  ZKR SURYLGHG RSHQ VRXUFH UHVHDUFK IRU ),*@
           9(5'(5$0( SRVVLEO\ VSRNH WR DQG LQWHUYLHZHG 1(:%(55<

            8)282 60,7+ UHFHLYHG D PHPR IURP 12/$1 ZKR VWDWHG WKH PHPR ZDV EDVHG
           RQ IDFWV JLYHQ WR KLP E\ KLV FOLHQW $/37(.,1 12/$1 H[SUHVVHG KH GLG KDYH
           FRQWDFW ZLWK $/37(.,1 $/37(.,1 KRZHYHU KDG PRVW RI KLV FRQWDFW ZLWK
           1RODQ V FRQWUDFW ODZ\HU 60,7+ GLG QRW KDYH D -RLQW 'HIHQVH $JUHHPHQW ZLWK
           12/$1 60,7+ FRPPXQLFDWHG ZLWK 12/$1 SULPDULO\ YLD SKRQH DQG HPDLOV ZHUH
           XVHG IRU VFKHGXOLQJ FRQYHUVDWLRQV 9(5'(5$0( SDUWLFLSDWHG LQ WKH HPDLOV
           DQG SKRQH FDOOV EHWZHHQ 60,7+ DQG 12/$1 'XULQJ &RYLQJWRQ¶V GDWD
           FROOHFWLRQ RI ),* GRFXPHQWV 60,7+ ZDV LQIRUPHG E\ )/<11 -5 DQG 9(5'(5$0(
           FHUWDLQ ),* FRPSXWHU V\VWHPV ZHUH VKXW GRZQ RQFH ),* FORVHG LWV
           RSHUDWLRQV 6RPH RI ),*¶V GDWD DQG HPDLO DFFRXQWV ZHUH DUFKLYHG DQG VRPH
           ZHUH QRW RQFH ),* FORVHG RSHUDWLRQV DQG WKH FRPSXWHU V\VWHPV ZHUH VKXW
           GRZQ 60,7+ UHFHLYHG 5$),(.,$1¶V DUFKLYHG ),* HPDLO PDLOER[ IURP )/<11 -5
           )/<11 -5 VHDUFKHG IRU FHUWDLQ LWHPV LQ )/<11¶V DUFKLYHG HPDLO EHIRUH
           SURYLGLQJ WKHP WR &RYLQJWRQ )/<11 -5 GLG QRW JR WKURXJK 5$),(.,$1¶V HPDLO
           DFFRXQW SULRU WR KDQGLQJ WKH DUFKLYHG UHFRUGV WR &RYLQJWRQ

           ,1292 %9 DQG ),* &RQWUDFW

            8)282 60,7+ ZDV DZDUH IDLUO\ HDUO\ RQ DURXQG  GXULQJ WKH
           SURFHVV RI JDWKHULQJ ),* GRFXPHQWV IRU ),*¶V )$5$ RI D FRQWUDFW EHWZHHQ
           $/37(.,1,1292 DQG ),* 5$),(.,$1 LQIRUPHG 60,7+ DERXW WKLV DJUHHPHQW
           60,7+ GLG QRW WKLQN WKH WRSLF RI KRZ IXQGV WUDQVIHUUHG IURP ),* WR ,1292

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 4 of 7
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI %ULDQ 6PLWK         2Q       3DJH    RI 


           ZDV PHQWLRQHG LQ WKH  PHHWLQJ KH KDG ZLWK 5$),(.,$1 60,7+
           UHFHLYHG LQIRUPDWLRQ IURP HLWKHU 9(5'(5$0( RU IURP WKH PDWHULDOV JLYHQ WR
           &RYLQJWRQ E\ )/<11 -5 ZKLFK GHSLFWHG WKH H[SHQVHV IURP ),* WR ,1292
           60,7+ .(/1(5 )/<11 9(5'(5$0( DQG )/<11 -5 ZHUH SUHVHQW IRU WKH 
           PHHWLQJ DW &RYLQJWRQ 5$),(.,$1 ZDV QRW SUHVHQW IRU WKH  PHHWLQJ
           60,7+ GLG QRW UHFDOO DQ DJUHHPHQW EHWZHHQ ),* DQG ,1292 KDYHQ EHHQ
           PHQWLRQHG DW WKH  PHHWLQJ 9(5'(5$0( GLG H[SODLQ WKUHH PRQH\
           WUDQVIHUV EHWZHHQ ),* DQG ,1292

            8)282 'XULQJ D  LQWHUYLHZ RI 5$),(.,$1 5$),(.,$1 LQIRUPHG
           60,7+ WKH SD\PHQWV VHQW IURP ),* WR ,1292 ZHUH UHIXQGV IRU ),* QRW
           SURYLGLQJ OREE\LQJ RU SXEOLF UHODWLRQV VHUYLFHV IRU 3URMHFW &RQILGHQFH
            3&  5$),(.,$1 RSLQHG WKH VHFRQG FRQWUDFW ZDV QRW IXOO\ H[HFXWHG DV
           DJUHHG XSRQ EHWZHHQ ),* DQG ,1292 WKXV WKH UHDVRQ WR UHIXQG ,1292
           5$),(.,$1 LQIRUPHG 60,7+ WKH UHIXQGV ZHUH H[FKDQJHG EHWZHHQ ),* WR ,1292
           EHFDXVH WKH PDLQ FRQWUDFW EHWZHHQ ),* DQG ,1292 ZDV QRW DPHQGHG WR UHIOHFW
           WKH ODFN RI OREE\LQJ DQG SXEOLF UHODWLRQV VHUYLFHV 5$),(.,$1 GLG QRW
           H[SODLQ ZK\ WKH SD\PHQWV IURP ,1292 WR ),* GHFUHDVHG LQ HDFK WUDQVDFWLRQ

            8)282 5$),(.,$1 GLG QRW H[SODLQ WR 60,7+ ZK\ WKH FRQWUDFW EHWZHHQ
           ,1292 DQG ),* GHSLFWHG D EDFNGDWHG VWDUW GDWH >FRQWUDFW ZDV VLJQHG GDWHG 
            ZLWK D SURMHFW VWDUW GDWH RI @ 60,7+ ZDV DZDUH ),* ZDV
           SULPDULO\ IRFXVHG RQ IRUPLQJ D WHDP IRU 3& LQ -XO\ DQG $XJXVW 

            8)282 12/$1 LQIRUPHG 60,7+ WKDW DFFRUGLQJ WR $/37(.,1 WKH PRQH\ VHQW
           IURP ),* WR ,1292 ZDV IRU UHIXQGV 5$),(.,$1 LQIRUPHG 12/$1 WKH H[SHQVHV
           VKRZQ RQ ),*¶V DFFRXQWLQJ UHFRUGV WR $/37(.,1 ZKLFK ZHUH GHSLFWHG DV
           FRQVXOWLQJ IHHV ZHUH LQDFFXUDWH ),*¶V DFFRXQWLQJ UHFRUGV VKRXOG KDYH
           GHSLFWHG WKH IHHV OLVWHG DV UHIXQGV DQG QRW FRQVXOWLQJ IHHV 60,7+ ZDV
           XQDZDUH RI ZKR XSORDGHG WKH LQIRUPDWLRQ LQWR ),*¶V DFFRXQWLQJ UHFRUGV
           5$),(.,$1 KDG DVNHG )/<11 WR VLJQ WKH DJUHHPHQW EHWZHHQ ),* DQG ,1292
           )/<11 QHYHU PHQWLRQHG WR 60,7+ WKH SD\PHQWV IURP ),* WR ,1292 )/<11 ZDV
           EXV\ ZLWK WKH 7UXPS &DPSDLJQ DQG OHIW D ORW RI WKH GHWDLOV UHJDUGLQJ ),*¶V
           FRQWUDFW ZLWK $/37(.,1,1292 WR 5$),(.,$1

            8)282 60,7+ GLG QRW UHFDOO KDYLQJ VHHQ 5$),(.,$1¶V RU $/37(.,1 6
           HPDLOV ZKLFK UHIHUUHG WR $/37(.,1 KDYLQJ UHFHLYHG WZHQW\ SHUFHQW RI
           FRQWUDFW SD\PHQWV EHWZHHQ ),* DQG ,1292 5$),(.,$1 GLG QRW H[SODLQ WR
           60,7+ ZK\ SD\PHQWV ZHQW WR ,1292 DQG QRW GLUHFWO\ WR $/37(.,1 ,W ZDV
           QHYHU H[SODLQHG WR 60,7+ ZK\ PXOWLSOH SD\PHQWV ZHUH VHQW WR ,1292 IURP ),*

            8)282 60,7+ GLVFXVVHG /REE\LQJ 'LVFORVXUH $FW /'$ ZLWK 5$),(.,$1
           60,7+ UHFDOOHG 5$),(.,$1 KDYLQJ VDLG WKDW &25729,&+ VXJJHVWHG WR KLP KH
           JHW DGYLFH RQ /'$)$5$ 5$),(.,$1 FDOOHG .(/1(5 ZKR UHIHUUHG 5$),(.,$1 WR
           DQRWKHU DWWRUQH\ 5$),(.,$1 KDG QRW UHWDLQHG DQRWKHU ILUP DQG KDG WDONHG

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 5 of 7
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI %ULDQ 6PLWK         2Q       3DJH    RI 


           WR %RE >5REHUW@ .(//< *HQHUDO &RXQVHO IRU ),* DERXW /'$ .(//< LQIRUPHG
           5$),(.,$1 LI WKHUH LV QRW D IRUHLJQ JRYHUQPHQW RU SROLWLFDO SDUW\
           LQYROYHG WKHQ ),* FDQ ILOH XQGHU /'$ 5$),(.,$1 RSLQHG ),* VKRXOG ILOH
           WKH /'$ DV DQ DEXQGDQFH RI FDXWLRQ 5$),(.,$1 ZDQWHG WR WDON WR PHPEHUV RI
           &RQJUHVV DQG ),* ILOHG XQGHU /'$

           'HFODUDWLRQ RI 5REHUW . .HOO\

            8)282 60,7+ ZDV QRW GLUHFWO\ LQYROYHG ZLWK .(//<¶V 'HFODUDWLRQ 60,7+
           GLG QRW NQRZ WKH QDPH RI WKH LQYHVWLJDWRU KLUHG E\ &RYLQJWRQ ZKR KHOSHG
           .(//< SXW WRJHWKHU WKH 'HFODUDWLRQ 60,7+ UHYLHZHG D GUDIW RI WKH
           'HFODUDWLRQ DQG PD\ KDYH SURYLGHG FRPPHQWV WR LW 60,7+ ZDV QRW DZDUH RI
           DQ\ IDFWXDO RXWVLGH IHHGEDFN RQ WKH GUDIW RI WKH 'HFODUDWLRQ

           6HSWHPEHU  1HZ <RUN &LW\ PHHWLQJ

            8)282 60,7+ ZDV DZDUH RI WKH 6HSWHPEHU  PHHWLQJ LQ 1HZ <RUN &LW\
            1<& ZKHUH )/<11 DQG 5$),(.,$1 PHW ZLWK 7XUNLVK JRYHUQPHQW RIILFLDOV
           6HSDUDWHO\ 12/$1 5$),(.,$1 DQG )/<11 LQIRUPHG 60,7+ DERXW WKH PHHWLQJ LQ
           1<& )/<11 GHVFULEHG WKH PHHWLQJ DV EHLQJ VHWXS E\ $/37(.,1 7KH PHHWLQJ
           LQ 1<& ZDV ODWH DW QLJKW DQG YHU\ VKRUW 7KH PHHWLQJ LQYROYHG 7XUNLVK
           JRYHUQPHQW RIILFLDOV )/<11 5$),(.,$1 $/37(.,1 DQG ^-DPHV` :22/6(<
           ^PHPEHU RI ),*¶V DGYLVRU\ ERDUG` 7KH PHHWLQJ SULPDULO\ IRFXVHG RQ UDGLFDO
           ,VODP %ULHIO\ GXULQJ WKH PHHWLQJ ),* GHVFULEHG WKHLU EXVLQHVV IRU
           $/37(.,1,1292 )/<11 GLG QRW WDON DERXW WKH FRQWURO RU GLUHFWLRQ WKH
           7XUNLVK JRYHUQPHQW KDG RQ 3& 7KH WRSLF RI *8/(1 ZDV EURXJKW XS E\ 7XUNLVK
           RIILFLDOV DW WKH PHHWLQJ

            8)282 2WKHU WKDQ WKH 6HSWHPEHU  PHHWLQJ LQ 1<& 5$),(.,$1 LQIRUPHG
           60,7+ WKHUH ZHUH QR RWKHU FRQWDFWV ZLWK 7XUNLVK JRYHUQPHQW RIILFLDOV SULRU
           WR ),*¶V )$5$ ILOLQJ 5$),(.,$1 DQG )/<11 QHYHU WROG 60,7+ DERXW 7XUNH\¶V
           LQYROYHPHQW ZLWK 3& 5$),(.,$1 DQG )/<11 GLG QRW LQGLFDWH WR 60,7+ WKH\
           UHFHLYHG IHHGEDFN IURP WKH 7XUNLVK JRYHUQPHQW RIILFLDOV RQ 3& 12/$1 GLG
           QRW LQGLFDWH WR 60,7+ 7XUNH\ ZDV LQYROYHG ZLWK SURYLGLQJ IHHGEDFN RQ 3& RU
           $/37(.,1 UHFHLYHG IHHGEDFN IURP WKH 7XUNLVK JRYHUQPHQW 12/$1
           FKDUDFWHUL]HG WR 60,7+ 7XUNH\ ZDV QRW LQYROYHG ZLWK 3& 12/$1 LQIRUPHG
           60,7+ $/37(.,1 ZDV DGDPDQW KH GLG QRW UHFHLYH PRQH\ IURP 7XUNH\ RU WKDW
           7XUNH\ ZDV LQYROYHG ZLWK 3&

            8)282 5$),(.,$1 LQIRUPHG 60,7+ WKH 6HSWHPEHU  PHHWLQJ LQ 1<& ZDV
           VLPLODU WR ZKDW )/<11 KDG UHFROOHFWHG DERXW WKH PHHWLQJ 5$),(.,$1 VDLG
           WKH PHHWLQJ KDG QRWKLQJ WR GR ZLWK 3& DQG WKH FRQYHUVDWLRQV GXULQJ WKH
           PHHWLQJ ZHUH SULPDULO\ IRFXVHG RQ UDGLFDO ,VODP 7KH SXUSRVH RI WKH
           PHHWLQJ ZDV IRU HYHU\RQH WR JHW WR NQRZ HDFK RWKHU 7KH FRQYHUVDWLRQ DW
           WKH PHHWLQJ ZDV JHQHUDOL]HG DV EHLQJ RQH ZD\ ZKHUH )/<11 DVNHG PRVW RI

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 6 of 7
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI %ULDQ 6PLWK         2Q       3DJH    RI 


           WKH TXHVWLRQV WR WKH 7XUNLVK RIILFLDOV 7KH PHHWLQJ ZDV QRW WR XSGDWH
           7XUNLVK RIILFLDOV RQ 3& 5$),(.,$1 LQIRUPHG 60,7+ WKH 7UXWK 3URMHFW ZDV
           GLIIHUHQW IURP 3&

            8)282 7KURXJK PXOWLSOH FRQYHUVDWLRQV ZLWK 12/$1 12/$1 GLVFXVVHG ZLWK
           60,7+ ZKHWKHU WKH PHHWLQJ FRQVWLWXWHG D UHDVRQ IRU ),* WR ILOH )$5$
           $/37(.,1 LQIRUPHG 12/$1 WKH PHHWLQJ LQ 1<& ZDV WR EULQJ SHRSOH WRJHWKHU
           DQG WKHUH ZDV QRW DQ DJHQW RI D IRUHLJQ JRYHUQPHQW LQYROYHG 12/$1 GLG QRW
           WKLQN WKLV UHTXLUHG D )$5$ ILOLQJ RQ ),*¶V EHKDOI DFFRUGLQJ WR $/37(.,1¶V
           YLHZV RI WKH PHHWLQJ ,Q DGGLWLRQ WR ZKR LV OLVWHG RQ WKH )$5$ ILOLQJ
           12/$1 LQIRUPHG 60,7+ WKH 7XUNLVK 0LQLVWHU RI )RUHLJQ $IIDLUV ZDV SUHVHQW
           DW WKH PHHWLQJ

           ^1RWH 60,7+ ZDV VKRZQ WKUHH HPDLOV GDWHG   DP DQG
            DP`

            8)282 60,7+ UHFDOOHG KDYLQJ VHHQ WKH  DQG WKH  
           HPDLOV 60,7+ GLG QRW UHFDOO VHHLQJ WKH  DP HPDLO 60,7+
           RQO\ UHFDOOHG WDONLQJ DERXW WKHVH HPDLOV LQWHUQDO WR &RYLQJWRQ

           /REE\LQJ

            8)282 60,7+ UHFHLYHG IURP 5$),(.,$1 LQIRUPDWLRQ DERXW 5$),(.,$1¶V
           OREE\LQJ DFWLYLWLHV ZLWK ),* 7KURXJK HPDLOV 5$),(.,$1 UHOD\HG SDUWLFXODU
           IDFWV DERXW KLV OREE\LQJ GHWDLOV ZKLFK HQGHG XS LQ ),*¶V )$5$ ILOLQJ
           5$),(.,$1 FRQILUPHG GDWHV FRQWDFWV DQG ORFDWLRQV LQ WKH PDWHULDOV
           SURYLGHG WR 60,7+ 7KH FRQWDFWV OLVWHG LQ WKH )$5$ ILOLQJ LQFOXGHG D
           +RPHODQG 6HFXULW\ &RPPLWWHH 6WDIIHU DQG FRQWDFWV IURP ),* DQG 6*5 60,7+
           UHFDOOHG 5$),(.,$1 PHQWLRQHG FRQYHUVDWLRQV KH KDG ZLWK &RQJUHVVPDQ
           52+5$%$&+(5 +RZHYHU 60,7+ GLG QRW UHFDOO WKH VSHFLILFV RI WKH
           FRQYHUVDWLRQV )/<11 KDG LQIRUPHG 60,7+ WKH PHHWLQJV FRQGXFWHG E\
           5$),(.,$1 RQ EHKDOI RI ),* ZHUH FRQVLGHUHG OREE\LQJ HIIRUWV 12/$1 GLG QRW
           LQIRUP 60,7+ RI DQ\ OREE\LQJ DFWLYLWLHV FRQGXFWHG E\ 5$),(.,$1 RQ EHKDOI
           RI ),*

           )XQGLQJ IRU 3&

            8)282 5$),(.,$1 VDLG KH NQHZ $/37(.,1 WR EH VRPHRQH FRPLQJ IURP PHDQV
           DQG ZKR ZDV D VXFFHVVIXO EXVLQHVVPDQ $/37(.,1 ZDV V\QRQ\PRXV ZLWK ,1292
           2WKHU WKDQ $/37(.,1 5$),(.,$1 GLG QRW LQIRUP 60,7+ RI RWKHU VRXUFHV RI
           IXQGLQJ IRU 3& )/<11 GLG QRW PHQWLRQ 3& IXQGLQJ ZLWK 60,7+

            8)282 12/$1 LQIRUPHG 60,7+ RI WKH GHWDLOV ZKLFK SHUWDLQHG WR WKH ),*
           DQG ,1292 FRQWUDFW 12/$1 NQHZ RI GHWDLOV RI WKH FRQWUDFW EXW ZRXOG QRW
           SURYLGH WKH FRQWUDFW WR 60,7+ 12/$1 LPSOLHG WKH PRQH\ IRU 3& FDPH IURP

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-5 Filed 01/07/20 Page 7 of 7
)'D 5HY 


                                                 81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI %ULDQ 6PLWK         2Q       3DJH    RI 


           5DWLR DQG /HYLDWKDQ 5$),(.,$1 LQIRUPHG 60,7+ KH KDG QRW KHDUG DERXW 5DWLR
           XQWLO LW ZDV PHQWLRQHG LQ WKH SUHVV

           2SLQLRQ HGLWRULDO             RSHG

            8)282 5$),(.,$1 LQIRUPHG 60,7+ RQ WKH RULJLQ RI WKH RSHG ,W ZDV
           )/<11¶V LGHD WR ZULWH DQ RSHG )/<11 DQG 5$),(.,$1 WDONHG SHULRGLFDOO\
           DERXW FUHDWLQJ DQ RSHG 5$),(.,$1 KDG ZULWWHQ DQ RSHG SUHYLRXVO\ ZLWK
           :22/6(< 5$),(.,$1 ZRUNHG ZLWK DQ HGLWRU +DQN &2; WR ZULWH WKH RSHG RQ
           *8/(1 5$),(.,$1 H[SUHVVHG WR 60,7+ WKH RSHG ZDV QRW UHODWHG WR 3&

            8)282 )/<11 LQIRUPHG 60,7+ LW ZDV KLV LGHD WR ZULWH DQ RSHG +RZHYHU
           5$),(.,$1 ZURWH WKH ILUVW GUDIW RI WKH RSHG DERXW *8/(1 )/<11 KDG
           ZDQWHG WR ZULWH DQ RSHG IRU D ORQJ WLPH )/<11 WKRXJKW WKH 86 ZDV
           ORVLQJ HIIRUWV LQ 7XUNH\ EHFDXVH RI 5XVVLD

           )$5$ ILOLQJ

            8)282 :KHQ DVNHG ZKR HOVH UHYLHZHG WKH )$5$ ILOLQJ RWKHU WKDQ
           &RYLQJWRQ 60,7+ LGHQWLILHG 9(5'(5$0( DV KDYLQJ VKRZQ WKH GUDIW WR
           5$),(.,$1 IRU UHYLHZ )/<11 WKH *HQHUDO &RXQVHO IRU 6*5 DQG  SHRSOH
           IURP WKH )$5$ SURFHVVLQJ XQLW UHYLHZHG WKH ILOLQJ 5$),(.,$1 SURYLGHG KLV
           OHJDO QDPH QDWLRQDOLW\ VHYHUDO FRPPHQWV FKDUDFWHUL]HG FRQVXOWLQJ
           SD\PHQWV DQG UHIHUHQFHV WR EXVLQHVV FRQIHUHQFHV DV IDFWXDO FRPPHQWV XVHG
           IRU WKH )$5$ ILOLQJ GUDIW 5$),(.,$1 LQIRUPHG 60,7+ KH GLG QRW DWWHQG
           WKHVH EXVLQHVV FRQIHUHQFHV 5$),(.,$1 REMHFWHG WR WKH ODQJXDJH RQ WKH )$5$
           IRUP UHJDUGLQJ ³NLFNEDFNV´ 5$),(.,$1 LQIRUPHG 60,7+ KH UHMHFWHG KLV
           SROLWLFDO FRQWULEXWLRQV WR EH FRQVLGHUHG NLFNEDFNV´ 5$),(.,$1 FRUUHFWHG
           WKH VWDWHPHQW RQ WKH )$5$ ILOLQJ DQG LQGLFDWHG KH ZDV QRW D GXDO FLWL]HQ
           60,7+ GLG QRW UHFDOO )/<11 KDYLQJ KDG HGLWV RU FRUUHFWLRQV IRU ),* V )$5$
           ILOLQJ 6*5 PDGH HGLWV DQG FRUUHFWLRQV WR ),* V )$5$ ILOLQJ DQG D
           VXJJHVWHG WR HGLW WKH WHUPLQRORJ\ UHJDUGLQJ *XOHQRSOR\ ZKLFK &RYLQJWRQ
           GLG QRW FKDQJH




                                                 81&/$66,),(')282
Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 1 of 8




         Attachment 6
Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 2 of 8
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 3 of 8
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           ZDV SRVVLEOH GXULQJ WKLV WLPH &RYLQJWRQ VWDUWHG WR UHYLHZ DQG FROOHFW
           HQFU\SWHG FRPPXQLFDWLRQ IURP ),* ),*¶V HQFU\SWHG FRPPXQLFDWLRQV ZHUH
           VWRUHG YLD DQ L&ORXG VHUYLFH SURYLGHG E\ 9LUWXH 9LUWXH ZDV D VHUYLFH
           SURYLGHU XVHG E\ ),* 9LUWXH¶V VHUYLFHV HQDEOHG ),* HPSOR\HHV WR DFFHVV
           ),* UHFRUGV RQ WKHLU SKRQHV 9LUWXH ZDV UHSUHVHQWHG E\ 0RUULVRQ   )RHUVWHU
           //3 $GGLWLRQDO GRFXPHQWV ZHUH SURGXFHG E\ 9LUWXH DQG JLYHQ WR &RYLQJWRQ
           IRU ),*¶V )$5$ ILOLQJ ),* ZDV SDUWLDOO\ VKXW GRZQ GXULQJ WKH WLPH
           &RYLQJWRQ JDWKHUHG UHFRUGV IRU ),*¶V )$5$ ILOLQJ 7KLV PDGH LW KDUGHU WR
           FROOHFW UHFRUGV IURP ),* DQG 9LUWXH .(/1(5 ZDV QRW DZDUH LI ),*¶V
           FRPSXWHU V\VWHPV ZHUH VWLOO RSHUDWLQJ ZKHQ ),* ZDV VKXW GRZQ .(/1(5 GLG
           QRW NQRZ LI ),*¶V FRPSXWHU V\VWHPV VWLOO H[LVWHG $OO RI ),*¶V UHFRUGV RU
           V\VWHPV DFFHVVHG E\ &RYLQJWRQ ZHUH SUHVHUYHG &RYLQJWRQ SULPDULO\ UHOLHG
           RQ WKH UHFRUGV SURGXFHG E\ )/<11 -5 WR GUDIW ),*¶V )$5$ DSSOLFDWLRQ
           &RYLQJWRQ SRVVLEO\ UHFHLYHG HPDLOV IURP 5$),(.,$1 WR EH XVHG IRU WKH )$5$
           ILOLQJ 0LFKDHO %26721 SURMHFW OHDG IRU WKH ,1292 SURMHFW ZDV
           LQWHUYLHZHG E\ &RYLQJWRQ %RE >5REHUW@ .(//(< *HQHUDO &RXQVHO IRU ),*
           ZDV LQWHUYLHZHG WKH VDPH GD\ DV %26721 &RYLQJWRQ UHFHLYHG DGGLWLRQDO ),*
           UHFRUGV IURP %26721 )/<11 -5 ZDV LQWHUYLHZHG E\ 60,7+ DQG 6WHSKHQ $17+21<
           RI &RYLQJWRQ .(/1(5 GLG QRW SDUWLFLSDWH LQ WKH LQWHUYLHZ RI )/<11 -5
           .(/1(5 VSRNH ZLWK (NLP $/37(.,1¶V DWWRUQH\ 0DWWKHZ 12/$1 RI $UHQW )R[
           //3 12/$1 SURGXFHG HPDLOV WR &RYLQJWRQ RQ EHKDOI RI $/37(.,1 &RYLQJWRQ
           VSRNH ZLWK 6SKHUH &RQVXOWLQJ DQG 6SKHUH *RYHUQPHQW 5HODWLRQV 6*5 *HQHUDO
           &RXQFLO %HQMDPLQ *,16%(5* DQG *UD\VRQ <($5*,1 RI -RQHV 'D\ &RYLQJWRQ
           DOVR LQWHUYLHZHG -DPHV &25729,&+ >IRXQGHU DQG RSHUDWRU RI 6*5@ DQG *UDKDP
           0,//(5 >HPSOR\HG E\ 6*5@ ZKR ZHUH UHSUHVHQWHG E\ -RQHV 'D\ %ULDQ 0&&$8/(<
           >HPSOR\HG E\ ),*@ ZDV LQWHUYLHZHG E\ &RYLQJWRQ SULRU WR ),* )$5$ ILOLQJ
           .(/1(5 GLG QRW UHFDOO DQ LQWHUYLHZ RI 7LP 1(:%(55< >IRXQGHU RI WKH :KLWH
           &DQYDVV *URXS :&* DQG SURYLGHG RSHQ VRXUFH UHVHDUFK IRU ),*@

            8)282 .(/1(5 ZDV WKH SULPDU\ VXSHUYLVRU RI WKH WHDP IRUPHG E\
           &RYLQJWRQ WR ILOH )$5$ RQ ),*¶V EHKDOI 60,7+ DQG /$1*721 ZHUH WKH
           SULQFLSOHV RI WKH WHDP &RYLQJWRQ¶V WHFKQLFDO VWDII SDUWLFLSDWHG LQ DQG
           DVVLVWHG &RYLQJWRQ¶V WHDP ZLWK WKH JDWKHULQJ RI UHFRUGV IRU ),*¶V )$5$
           ILOLQJ

           ,1292 %9 &RQWUDFW

            8)282 :KHQ DVNHG LI KH ZDV DZDUH SULRU WR ),* V )$5$ ILOLQJ DQ
           DJUHHPHQW IRU ),* WR SD\  WR $/37(.,1 .(/1(5 DQG &RYLQJWRQ REVHUYHG
           DFFRXQWLQJ WUDQVDFWLRQV EHWZHHQ ,1292 DQG ),* &RYLQJWRQ KDG D GUDIW
           FRQWUDFW EHWZHHQ ),* DQG $/37(.,1 ZKLFK GHWDLOHG SD\PHQWV WR $/37(.,1
           &RYLQJWRQ PDLQWDLQHG WKLV GUDIW FRQWUDFW SULRU WR ),*¶V )$5$ ILOLQJ
           &RYLQJWRQ GLG QRW SRVVHVV WKH H[HFXWHG FRQWUDFWGRFXPHQWDWLRQ EHWZHHQ ERWK
           SDUWLHV FRQFHUQLQJ WKHVH SD\PHQWV &RYLQJWRQ GLG KDYH LQIRUPDWLRQ IURP
           5$),(.,$1¶V VHFRQG LQWHUYLHZ DERXW WKH FRQWUDFW EHWZHHQ ),* DQG $/37(.,1
                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 4 of 8
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           5$),(.,$1 LQIRUPHG &RYLQJWRQ WKH SD\PHQWV EHLQJ VHQW IURP ),* WR ,1292
           ZHUH UHIXQGV EHFDXVH $/37(.,1 ZDV XSVHW KH GLG QRW UHFHLYH SXEOLF
           UHODWLRQV 35 DQG OREE\LQJ VHUYLFHV IURP ),* 5$),(.,$1 GLG QRW YLHZ WKH
           FRQWUDFW EHWZHHQ ),* DQG ,1292 DV KDYLQJ EHHQ H[HFXWHG E\ ),* ZKLFK
           ZDUUDQWHG WKH UHIXQGV .(/1(5 UHFDOOHG 5$),(.,$1 VWDWHG WKH PRQH\ VHQW
           EDFN WR $/37(.,1 ZHUH UHIXQGV DQG QRW FRQVXOWLQJ IHHV 5$),(.,$1 FRXOG QRW
           H[SODLQ ZK\ ),* KDG ORJJHG WKH WUDQVDFWLRQV WR ,1292 DV D FRQVXOWLQJ IHH
           5$),(.,$1 GLG QRW NHHS WKH DFFRXQWLQJ UHFRUGV IRU ),* .(/1(5 UHFDOOHG
           5$),(.,$1 LQIRUPHG KLP WKDW KH 5$),(.,$1 KDG QRW DOZD\V FKRVHQ WKH
           FRUUHFW ZRUGV WR XVH LQ HPDLOV 5$),(.,$1 PDLQWDLQHG WKDW WKH SD\PHQWV
           ZHUH UHIXQGV DQG QRW FRQVXOWLQJ IHHV WKDW ZHUH SDLG WR $/37(.,1

            8)282 :KHQ DVNHG DERXW ZKDW VWDWHPHQWV 5$),(.,$1 PDGH ZKLFK SHUWDLQHG
           WR SD\PHQWV IURP ),* .(/1(5 GLG QRW UHFDOO 5$),(.,$1 RIIHULQJ DQ
           H[SODQDWLRQ DERXW ZK\ WKH WZR SD\PHQWV IURP ),* WR ,1292 ZHUH LQ FORVH
           SUR[LPLW\ .(/1(5 GLG QRW UHFDOO 5$),(.,$1 KDYLQJ LQIRUPHG KLP DERXW ZK\
           SD\PHQWV ZHUH JRLQJ IURP ),* WR $/37(.,1 DQG QRW WR ,1292 ,Q JHQHUDO DQG
           LQ D ODWHU FRUUHVSRQGHQFH 5$),(.,$1 IRFXVHG RQ WKH SD\PHQWV KDYLQJ EHHQ
           UHIXQGHG IRU WKH FRQWUDFW QRW EHLQJ IXOILOOHG E\ ),* 7KH IHHV DQG
           SD\PHQWV VHQW EDFN WR $/37(.,1 ZHUH IRU SXEOLF UHODWLRQV DQG OREE\LQJ
           VHUYLFHV ZKLFK ZHUH QRW FRPSOHWHG E\ ),* DQG ZKLFK $/37(.,1 H[SHFWHG WKH
           VHUYLFH RI ),* 5$),(.,$1 GHVFULEHG OREE\LQJ RQ ),*¶V 3URMHFW &RQILGHQFH
            3&  WKRXJK KH GLG QRW XVH WKH H[DFW ZRUGLQJ RI ³OREE\LQJ´ 5$),(.,$1 GLG
           KDYH &RQJUHVVLRQDO FRQWDFW ZLWK &RQJUHVVLRQDO VWDIIHU 0LOHV >7$</25@
           GXULQJ WKH WLPH SHULRG RI ),*¶V FRQWUDFW ZLWK ,1292 DQG SULRU WR ILOOLQJ
           WKH ),*¶V )$5$ UHJLVWUDWLRQ 7KH PHHWLQJ ZLWK 7$</25 GLG QRW UHODWH WR
           ,1292 KRZHYHU GXULQJ WKH FRXUVH RI FRPPXQLFDWLRQ WKH WRSLF RI 7XUNH\
           GLG FRPH XS .(/1(5 ZDV QRW DZDUH RI WKH VSHFLILF FRQYHUVDWLRQV 5$),(.,$1
           KDG ZLWK &RQJUHVVPDQ 52+5$%$&+(5 DQG GLG QRW UHFDOO KRZ 52+5$%$&+(5¶V QDPH
           FDPH XS

            8)282 5$),(.,$1 DQG .(/1(5 GLG QRW GLVFXVV WKH WRSLF RI D GUDIW
           FRQVXOWLQJ DJUHHPHQW EHWZHHQ ),* DQG $/37(.,1 5$),(.,$1 GLG QRW LQIRUP
           .(/1(5 RU H[SODLQ WR KLP ZK\ WKHUH ZHUH VHSDUDWH DJUHHPHQWV 3ULRU WR WKH
           )$5$ ILOLQJ )/<11 ZDV QRW DEOH WR JLYH DQ H[SODQDWLRQ RI WKH  LQ
           SD\PHQWV VHQW IURP ),* WR $/37(.,1,1292 7KH WRSLF RI WKH WZR SD\PHQWV
           ZHUH PHQWLRQHG E\ )/<11 DQG QRW H[SODLQHG 5$),(.,$1 GLG QRW H[SODLQ WR
           .(/1(5 ZK\ ),*¶V UHFRUGV LQGLFDWHG WKH SD\PHQWV WR $/37(.,1 ZHUH UHFRUGHG
           DV FRQVXOWLQJ IHHV DQG QRW UHIXQGV .(/1(5 UHFDOOHG ZKHQ SUHSDULQJ ),*¶V
           )$5$ ILOLQJ 5$),(.,$1 REMHFWHG WR ),*¶V DFFRXQWLQJ UHFRUGV ZKLFK
           LQGLFDWHG SD\PHQWV IURPWR $/37(.,1,1292 DV FRQVXOWLQJ IHHV DQG QRW
           UHIXQGV DQG WKDW WKLV ZDV GLVFXVVHG EHWZHHQ 5$),(.,$1 DQG $/37(.,1 .(/1(5
           ZDV DZDUH $/37(.,1 ZRXOG EH XSVHW LI WKH SD\PHQWV ZHUH GHVFULEHG DV
           FRQVXOWLQJ IHHV .(/1(5 GLG QRW UHFDOO ZK\ SD\PHQWV IURP ,1292 WR ),*

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 5 of 8
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           GHFUHDVHG RYHU WLPH DIWHU HDFK SD\PHQW 7KH VXEMHFW RI WKH FRQVXOWLQJ
           DJUHHPHQW DQG ZKHWKHU $/37(.,1 ZRXOG UHFHLYH D FRQVXOWLQJ IHH PD\ KDYH
           FRPH XS LQ RWKHU LQWHUYLHZV FRQGXFWHG E\ .(/1(5&RYLQJWRQ ZLWK )/<11 -5
           )/<11 -5 ZDV LQ FKDUJH RI NHHSLQJ ),*¶V DFFRXQWLQJ UHFRUGV )/<11 -5
           UHFDOOHG 5$),(.,$1 KDG LQIRUPHG KLP WR ZLUH IXQGV WR $/37(.,1 DQG GLG QRW
           JLYH DQ H[SODQDWLRQ ZK\ WKH IXQGV ZHUH JRLQJ WR KLP

            8)282 ,W ZDV IDLU WR VD\ &RYLQJWRQ GLG QRW SURGXFH HPDLOV UHFHLYHG
           IURP ),* HPSOR\HHV WR EH XVHG LQ WKH ),* )$5$ ILOLQJ .(/1(5 ZDV XQFHUWDLQ
           LI &RYLQJWRQ UHFHLYHG DOO WKH HPDLOV IURP 5$),(.,$1 $/37(.,1 DQG )/<11
           ZKLFK FRXOG KDYH EHHQ XVHG IRU ),*¶V )$5$ ILOLQJ &RYLQJWRQ GLG QRW
           UHFHLYH $/37(.,1 6 HPDLOV RU WH[W PHVVDJHV &RYLQJWRQ UHFHLYHG DQVZHUV
           SURSRVHG WR $/37(.,1 IURP KLV JHQHUDO FRXQFLO 12/$1 ZKR SURYLGHG WKH
           LQIRUPDWLRQ YROXQWDULO\ &RYLQJWRQ UHFHLYHG LQIRUPDWLRQ IURP $/37(.,1 6
           DWWRUQH\V DQG QRW GLUHFWO\ IURP KLP

            8)282 .(/1(5 GLG UHYLHZ ),*¶V /REE\LQJ 'LVFORVXUH $JUHHPHQW /'$ 
           5$),(.,$1 LQIRUPHG &RYLQJWRQ KH KDG UHOLHG RQ .(//(< IRU DGYLFH RQ WKH /'$
           ILOLQJ )/<11 XQGHUVWRRG IURP 5$),(.,$1 WKDW KH 5$),(.,$1 KDG ZRUNHG
           ZLWK .(//(< RQ WKH /'$

           ^1RWH .(/1(5 ZDV SUHVHQWHG ZLWK D GRFXPHQW 'HFODUDWLRQ RI 5REHUW .
           .(//(<`

            8)282 .(//(<¶V GHFODUDWLRQ UHIOHFWV ZKDW .(//(< KDG LQIRUPHG
           &RYLQJWRQ ,Q SDUDJUDSK  RI .(//(<¶V GHFODUDWLRQ .(//(< GLG QRW LQIRUP
           .(/1(5 ZK\ KH SXUSRVHO\ SXW D IDOVH VWDWHPHQW LQ WKH )$5$ ILOLQJ
           VSHFLILFDOO\ WKH )$5$ ILOLQJ ZKLFK FRQWDLQHG ZRUGLQJ RQ &RQJUHVVLRQDO +RXVH
            V ELOOV .(/1(5 LQWHUYLHZHG .(//(< SULRU WR .(//(<¶V GHFODUDWLRQ .(/1(5
           GLG QRW SUHSDUH .(//(<¶V GHFODUDWLRQ .(//(<¶V GHFODUDWLRQ ZDV REWDLQHG E\
           DQ LQYHVWLJDWRU RI &RYLQJWRQ DQG KLUHG VSHFLILFDOO\ IRU WKLV SXUSRVH
           .(/1(5 GLG QRW NQRZ ZKR VSHFLILFDOO\ GUDIWHG .(//(<¶V GHFODUDWLRQ
           3DUDJUDSK  RI .(//(<¶V GHFODUDWLRQ VWDWLQJ KH QHYHU SHUIRUPHG OREE\LQJ
           VHUYLFHV IRU ),* UHIOHFWHG DQG ZDV VLPLODU WR ZKDW .(//(< KDG LQIRUPHG
           &RYLQJWRQ .(/1(5 ZDV QRW FHUWDLQ ZKR WKH ODZ\HU IURP -RQHV 'D\ LV
           UHIHUUHG WR LQ SDUDJUDSK  RI .(//(<¶V GHFODUDWLRQ .(/1(5 GLG QRW UHFDOO
           FRQYHUVDWLRQV SHUWDLQLQJ WR +RXVH V ELOOV KDYLQJ EHHQ PHQWLRQHG LQ KLV
           LQWHUYLHZ ZLWK .(//(< .(//(< ZDV IDPLOLDU ZLWK )$5$ DQG KDG H[SHULHQFH
           ZLWK /'$ .(/1(5 GLG QRW UHFDOO LI 5$),(.,$1 VXJJHVWHG WR .(//(< WR ILOH
           )$5$ RQ ),*¶V EHKDOI

            8)282 5$),(.,$1 ZDV UHIHUUHG WR &RYLQJWRQ E\ &25729,&+ 5$),(.,$1
           FRQWDFWHG &RYLQJWRQ DQG VSRNH ZLWK RQH RI .(/1(5 6 SDUWQHUV 5REHUW
           /(1+$5' 5$),(.,$1 LQIRUPHG /(1+$5' RI ),* DQG WKDW KH PD\ KDYH WR ILOH
           )$5$ 5$),(.,$1 LQIRUPHG /(1+$5' WKDW ),* LQWHQGHG WR DFTXLUH D 'XWFK

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 6 of 8
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           FOLHQW 5$),(.,$1 FDOOHG &RYLQJWRQ RQ EHKDOI RI ),* IRU OHJDO DGYLFH
           /(1+$5' LQIRUPHG 5$),(.,$1 KH ZDV D 'HPRFUDW ZKLFK SHU 5$),(.,$1
           GLVTXDOLILHG /(1+$5' IURP EHLQJ DEOH WR DVVLVW ),* ZLWK OHJDO DGYLFH
           /(1+$5' UHIHUUHG 5$),(.,$1 WR .(/1(5 ZKR 5$),(.,$1 WKHQ HPDLOHG DQG
           HYHQWXDOO\ FDOOHG .(/1(5 DVNHG 5$),(.,$1 LI ),* ZDV DVVRFLDWHG ZLWK
           )/<11 .(/1(5 ZDV QRW DZDUH RI ),* WKRXJK KH ZDV DZDUH RI )/<11 .(/1(5
           LQIRUPHG 5$),(.,$1 KH ZDV D 5HSXEOLFDQ KRZHYHU KH KDG EHHQ D ³YHU\ YRFDO
           QHYHU 7UXPSHU´ DQG GLVSOD\HG WKHVH SROLWLFDO YLHZV RQ VRFLDO PHGLD
           5$),(.,$1 LQIRUPHG .(/1(5 KH FRXOG QRW XVH KLP IRU OHJDO DGYLFH EHFDXVH RI
           .(/1(5¶V YLHZ RQ 3UHVLGHQW 'RQDOG - 75803 .(/1(5 UHFRPPHQGHG -DQ %$5$1
           RI :LOH\ 5HLQ //& WR 5$),(.,$1

            8)282 5$),(.,$1 LQIRUPHG .(/1(5 KH KDG KDQGHG WKH /'$ PDWWHU RYHU WR
           .(//(< DQG .(//(< KDQGOHG LW IURP WKHUH .(/1(5 GLG QRW UHFDOO 5$),(.,$1
           KDYLQJ VDLG KH KDG UHYLHZHG WKH VXEVWDQFH RI WKH /'$ ILOLQJ

            8)282 :KHQ DVNHG ZKDW IDFWV KH NQHZ UHJDUGLQJ 7XUNH\¶V LQYROYHPHQW
           ZLWK 3& )/<11 KDG LQIRUPHG &RYLQJWRQ WKH FOLHQW IRU 3& ZDV ,1292 )/<11
           UHFDOOHG D PHHWLQJ KH KDG ZLWK 7XUNLVK PLQLVWHUV LQ 1HZ <RUN &LW\ 1<& LQ
           6HSWHPEHU RI  7KH PHHWLQJ LQ 1<& ZDV D PHHWDQGJUHHW DQG D EULHI
           GLVFXVVLRQ RI 3& 7XUNLVK PLQLVWHUV WDONHG WR )/<11 DQG PHPEHUV RI ),*
           DERXW LVVXHV 7XUNH\ IDFHG

            8)282 5$),(.,$1 LQIRUPHG &RYLQJWRQ WKDW GLVFXVVLRQV EHWZHHQ $/37(.,1
           DQG 7XUNH\ SHUWDLQHG WR HQWHULQJ DQ DJUHHPHQW RQ ³3URMHFW 7UXWK´ 37  7KH
           SXUSRVH IRU 37 ZDV WR GHWHU DQG ILJKW DJDLQVW UDGLFDO ,VODP 7XUNH\
           HYHQWXDOO\ EDFNHG RXW RI 37 DQG HQJDJHG LQ 3& $/37(.,1 GLG QRW JLYH
           5$),(.,$1 DQ H[SODQDWLRQ ZK\ 7XUNH\ EDFNHG RXW RI 37 5$),(.,$1 GLG QRW
           LQGLFDWH 7XUNH\ ZDV JRLQJ WR EH LQYROYHG ZLWK GHDOLQJV ZLWK ,1292
           5$),(.,$1 LQIRUPHG &RYLQJWRQ WKH PHHWLQJ LQ 1<& ZDV XQUHODWHG WR 3& DQG
           ZDV DQ RSSRUWXQLW\ WR WDON WR 7XUNLVK PLQLVWHUV DERXW UDGLFDO ,VODP
           .(/1(5 ZDV QRW FHUWDLQ LI 5$),(.,$1 KDG EURXJKW XS )HWXOODK *8/(1 DW WKH
           1<& PHHWLQJ .(/1(5 IRXQG RXW ODWHU WKURXJK HPDLOV 3& ZDV WKH SXUSRVH RI
           WKH 1<& PHHWLQJ

            8)282 )/<11 LQGLFDWHG WR .(/1(5 KH KDG QR UHFROOHFWLRQ RI EDFNDQG
           IRUWK FRQYHUVDWLRQV UHJDUGLQJ EXVLQHVV GHDOLQJV EHWZHHQ ),* DQG 7XUNH\
           )/<11 LQGLFDWHG KH GLG QRW KDYH D UHFROOHFWLRQ RI HPDLOV DVVRFLDWHG ZLWK
           7XUNH\¶V LQYROYHPHQW ZLWK 3& )/<11 GLG QRW LQGLFDWH WR .(/1(5&RYLQJWRQ
           WKDW $/37(.,1 WDONHG WR 7XUNLVK JRYHUQPHQW RIILFLDOV DERXW 3& )/<11
           5$),(.,$1 DQG 0LFKDHO %26721 LQIRUPHG &RYLQJWRQ WKH ,1292 FRQWUDFW IRU 3&
           ZDV IRU WKH SXUSRVH RI LPSURYLQJ 86 EXVLQHVV FRQILGHQFH LQ 7XUNH\

            8)282 :KHQ DVNHG ZKDW IDFWV ZHUH SURYLGHG WR &RYLQJWRQ DERXW 3& ZKLFK
           FRQWUDGLFW ),*¶V )$5$ ILOLQJ .(/1(5 H[SODLQHG DFFRUGLQJ WR 5$),(.,$1

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 7 of 8
)'D 5HY 


                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           *8/(1 ZDV WKH SUREOHP DQG ZDV GHVWUR\LQJ WKH FRQILGHQFH LQ 7XUNH\ ,Q
           RUGHU WR LQFUHDVH FRQILGHQFH LQ 7XUNH\ *8/(1 KDG WR EH VWRSSHG .(/1(5
           GLG QRW UHFDOO LI 5$),(.,$1 PHQWLRQHG ZK\ *8/(1¶V QDPH ZDV PDVNHG LQ VRPH
           RI ),*¶V GRFXPHQWV

           2SHG

            8)282 )/<11 LQIRUPHG &RYLQJWRQ KH DQG 5$),(.,$1 MRLQWO\ GLVFXVVHG WKH
           SRVVLELOLW\ RI ZULWLQJ DQ RSLQLRQ HGLWRULDO RSHG  )/<11 KDG ZDQWHG WR
           ZULWH DQ RSHG )/<11 WKRXJKW LW ZRXOG EH KHOSIXO WR WKH 75803
           3UHVLGHQWLDO &DPSDLJQ WR SRVW DQ RSHG ZKLFK FRQFHUQHG 7XUNH\ )/<11
           GHVFULEHG WKH RSHG DV KDYLQJ EHHQ FRPSOHWHG RQ KLV RZQ EHKDOI DQG QRW IRU
           3& 5$),(.,$1 LQIRUPHG &RYLQJWRQ WKH RSHG ZDV )/<11¶V LGHD DQG ZDV QRW
           SDUW RI 3& DQG ZDV MXVW VRPHWKLQJ )/<11 ZDQWHG WR GR 5$),(.,$1 KDG VHQW
           WKH RSHG WR +DQN &2; IRU HGLWLQJ 5$),(.,$1 VHQW WKH RSHG WR $/37(.,1 WR
           JHW KLV UHDFWLRQ $/37(.,1 GLG QRW ZDQW WKH RSHG SXEOLVKHG DQG WKRXJKW LW
           ZRXOG KXUW 7XUNLVK 3UHVLGHQW (5'2*$1 $/37(.,1 WKRXJKW WKH RSHG
           PLVUHSUHVHQWHG WKH 0XVOLP %URWKHUKRRG

           ^1RWH .(/1(5 ZDV SUHVHQWHG ZLWK DQ  HPDLO VHQW IURP 5$),(.,$1 WR
           .(//(< DQG $/37(.,1 UHJDUGLQJ D GUDIW GRFXPHQW ZKLFK PLUURUV LQ VXEVWDQFH
           )O\QQ¶V 1RYHPEHU   RSHG`

             8)282          .(/1(5 GLG QRW UHFDOO KDYLQJ GLVFXVVHG WKLV HPDLO ZLWK DQ\RQH

           3URMHFW &RQILGHQFH )XQGLQJ

            8)282 5$),(.,$1 KDG LQIRUPHG &RYLQJWRQ WKDW ,1292 %9 ZDV SD\LQJ IRU 3&
           DQG 5$),(.,$1 ZDV QRW DZDUH RI 7XUNH\ EHLQJ LQYROYHG %26721 LPSOLHG
           7XUNH\ ZDV LQYROYHG ZLWK 3& )/<11 KDG LQIRUPHG &RYLQJWRQ 3& ZDV IXQGHG
           E\ $/37(.,1¶V FRPSDQ\ ,1292

            8)282 .(/1(5 UHFDOOHG D PHHWLQJ ZLWK 'DYLG /DXIPDQ IURP &(6 ZKHUH
           .(/1(5 GLG QRW UHFDOO KDYLQJ VDLG )/<11 GLG QRW KDYH FRQWDFW ZLWK 7XUNLVK
           RIILFLDOV IRU 3& .(/1(5 GLG QRW UHFDOO KDYLQJ VDLG WKDW )/<11 GLG QRW
           UHPHPEHU KDYLQJ KDG FRQYHUVDWLRQV ZLWK 7XUNLVK JRYHUQPHQW RIILFLDOV
           UHJDUGLQJ WKH RSHG SXEOLVKHG E\ )/<11

            8)282 .(/1(5 ZDV QRW DZDUH SULRU WR ),*¶V )$5$ ILOLQJ RI RWKHU
           FRQWDFWV KH .(/1(5 RU ),* PD\ KDYH KDG ZLWK 7XUNLVK RIILFLDOV RWKHU
           WKDQ WKRVH ),* KDG ZLWK $/37(.,1

            8)282 .(/1(5 ZDV RQO\ DZDUH RI 5$),(.,$1 )/<11 DQG WKH VWDII RI WKH
           )$5$ ILOLQJ XQLW WR KDYH UHFHLYHG D GUDIW RI ),*¶V )$5$ ILOLQJ .(/1(5 ZDV
           QRW DZDUH LI .(//(< KDG UHFHLYHG WKH )$5$ ILOLQJ SULRU WR LWV VXEPLVVLRQ

                                               81&/$66,),(')282
                            Case 1:17-cr-00232-EGS Document 150-6 Filed 01/07/20 Page 8 of 8
)'D 5HY 

                                               81&/$66,),(')282


&RQWLQXDWLRQ RI )' RI    8)282   ,QWHUYLHZ RI 5RE .HOQHU          2Q       3DJH    RI 


           WR WKH )$5$ XQLW $ GUDIW RI ),*¶V )$5$ ILOLQJ ZDV JLYHQ WR )/<11 E\ KLV
           DWWRUQH\ 9(5'(5$0( 9(5'(5$0( SURYLGHG ZULWWHQ DQG RUDO IHHGEDFN WR
           &RYLQJWRQ DERXW ),*¶V )$5$ ILOLQJ 9(5'(5$0( SDUWLFLSDWHG LQ ZULWLQJ WKH
           ),* )$5$ ILOLQJ 60,7+ .(/1(5 /$1*721 DQG 6WHSKHQ $17+21< RI &RYLQJWRQ
           ZHUH LQYROYHG ZLWK WKH GUDIWLQJ DQG SURYLGLQJ RI VXEVWDQWLYH LQIRUPDWLRQ
           IRU ),*¶V )$5$ ILOLQJ 1R RQH RXWVLGH RI &RYLQJWRQ ZDV LQYROYHG ZLWK WKH
           GUDIWLQJ RI WKH )$5$ ILOLQJ H[FHSW IRU 5$),(.,$1 9(5'(5$0( DQG WKH )$5$
           XQLW 5$),(.,$1 ZDQWHG WR FKDQJH WKH GUDIW RI ),*¶V )$5$ DSSOLFDWLRQ WR
           LQGLFDWH UHIXQGV ZHUH SDLG WR $/37(.,1 IURP ),* DQG QRW WKDW RI FRQVXOWLQJ
           IHHV 5$),(.,$1 REMHFWHG WR ),*¶V )$5$ ILOLQJ KDYLQJ GLVFORVHG -DPHV
           :22/6(< >PHPEHU RI ),*¶V DGYLVRU\ ERDUG@ DV EHLQJ LQYROYHG ZLWK WKH
           FRQWUDFW EHWZHHQ ),* DQG ,1292 5$),(.,$1 GLG QRW ZDQW WR XSVHW :22/6(<
           :22/6(< ZDV LQYROYHG ZLWK D SKRQH FDOO DQG WKH  PHHWLQJ LQ 1<&
           ZKLFK FRQVLVWHG RI 7XUNLVK JRYHUQPHQW RIILFLDOV )XUWKHU 5$),(.,$1
           REMHFWHG WR WKH ZRUG ³NLFNEDFN´ KDYLQJ EHHQ PHQWLRQHG LQ ),*¶V )$5$ ILOLQJ
           GUDIW 5$),(.,$1 KDG SURYLGHG KLV REMHFWLRQV WR ),*¶V )$5$ ILOLQJ GUDIW
           YLD HPDLO WR &RYLQJWRQ

           ),*¶V )$5$ 5HJLVWUDWLRQ 6WDWHPHQW

            8)282 7KH SULPDU\ SULQFLSDO LQ ),*¶V )$5$ ILOLQJ ZDV ,1292 .(/1(5 GLG
           QRW UHFDOO 5$),(.,$1 KDYLQJ PHQWLRQHG WKH VXEMHFW RI ),* KDYLQJ EHHQ
           HQJDJHG LQ VXSSRUW RI D SULYDWH VHFWRU FRPSDQ\ LQ ,VUDHO )/<11 ZDV QRW
           DZDUH RI ,VUDHO KDYLQJ EHHQ LQYROYHG ZLWK 3& DQG JDYH QR FRPPHQW RU
           REMHFWLRQV WR WKH PDWWHU

            8)282 3ULRU WR ),*¶V )$5$ ILOLQJ RQ  )/<11 LQIRUPHG .(/1(5
           DERXW RQH RU WZR FRQYHUVDWLRQV KH KDG ZLWK $/37(.,1 )/<11 GLG QRW VKDUH
           WKHVH FRQYHUVDWLRQV KH KDG ZLWK $/37(.,1 LQ GHWDLO ZLWK .(/1(5 %26721 KDG
           PHQWLRQHG WR &RYLQJWRQ SKRQH FDOOV ),* KDG ZLWK $/37(.,1 .(/1(5 GLG QRW
           UHFDOO KDYLQJ DVNHG 5$),(.,$1 DERXW WKH ZHHNO\ XSGDWHV JLYHQ WR $/37(.,1
           RQ EHKDOI RI ),* ZKLFK SHUWDLQHG WR 3&




                                               81&/$66,),(')282
